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                             NO. 23-1887

          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FEDERAL CIRCUIT

                          ACUFLOOR, LLC,
                          Plaintiff-Appellant,

                                   v.

                  EVENTILE, INC., FORPAC, LLC
                      Defendants-Appellees.


 OPENING BRIEF OF PLAINTIFF-APPELLANT ACUFLOOR, LLC

 Appeal from the United States District Court for the Middle District of
 Florida, in No. 2:21-cv-00802-SPC-KCD, Judge Sheri Polster Chappell


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      REPRESENTATIVE CLAIMS OF U.S. PATENT NO. 10,704,274

5. A tile leveling device comprising:
        a body defining an open window;
        a base orthogonally coupled to the body, the base extending to the front of the
body and the base extending to the rear of the body;
        a base to body coupling including a frangible breakaway section, the base and
body being integral prior to frangible separation, the frangible breakaway section,
upon breaking, frangibly separating the body from the base;
        a first notch formed at the base extending from proximate the base to body
coupling to the front of the body the first notch providing first tile edge-to-mortar-
to-subfloor contact; and
        a second notch formed at the base extending from proximate the base to body
coupling to the rear of the body the second notch providing first tile edge-to-mortar-
to-subfloor contact; and
        the combination of the first notch and the second notch providing a
majority of an area of tile-to-mortar-to-subfloor contact for the leveling device
within the bounds of the base. Appx123-124 (emphasis added).


8. A tile leveling device comprising:

      a body defining an open window;
      a base orthogonally coupled to the body, the base extending to the front of the
body and the base extending to the rear of the body;
      a base to body coupling including a frangible breakaway section, the base and
body being integral prior to frangible separation, the frangible breakaway section,
upon breaking, frangibly separating the body from the base;
      a first notch formed at the base extending from proximate the base to body
coupling to the front of the body; and
      a second notch formed at the base extending from proximate the base to body
coupling to the rear of the body; and
      the combination of the first notch and the second notch providing a
majority of an area of tile-to-mortar-to-subfloor contact for the leveling device
within the bounds of the base. Appx124 (emphasis added).




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        REPRESENTATIVE CLAIM OF U.S. PATENT NO. 10,513,857

10. A tile leveling device comprising:

        a body defining an open window;
        an I-shaped base orthogonally coupled to the body, the I-shaped base having
spaced first, second, third, and fourth bars extending transversely from the body, the
spaced first and second bars extending to the front and outward of the body and the
spaced third and fourth bars extending to the rear and outward of the body;
        an I-shaped base to body coupling including a frangible breakaway section, the
I-shaped base and body being integral prior to frangible separation, the frangible
breakaway section, upon breaking, frangibly separating the body from the I-shaped
base;
        a first notch formed between the first and second bars;
        a second notch formed between the third and fourth bars;
        a first tile over the first bar, the first tile having a first surface opposite a second
surface, the first tile having a first corner over the first notch, the first corner having
contact with mortar at the first notch with edge-to-subfloor contact of first
corner-to-mortar-to-subfloor at the first notch, wherein the first surface faces the
first bar and the second surface is farther from the first bar than the first surface;
        a second tile over the second bar, the second tile having a third surface
opposite a fourth surface, the second tile having a second corner over the first notch,
the second corner having contact with mortar at the first notch with edge-to-
subfloor contact of second corner-to-mortar-to-subfloor at the first notch,
wherein the third surface faces the second bar and the fourth surface is farther from
the second bar than the third surface; and
        the frangible breakaway section being located between the first and second
surfaces of the first tile and the third and fourth surfaces of the second tile. Appx96
(emphasis added).




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                     CERTIFICATE OF INTEREST
      Case Number 23-1887
 Short Case Caption Acufloor, LLC v. EvenTile, Inc.
 Filing Party/Entity Acufloor, LLC

Instructions:

   1. Complete each section of the form and select none or N/A if appropriate.
   2. Please enter only one item per box; attach additional pages as needed, and
      check the box to indicate such pages are attached.
   3. In answering Sections 2 and 3, be specific as to which represented entities
      the answers apply; lack of specificity may result in non-compliance.
   4. Please do not duplicate entries within Section 5.
   5. Counsel must file an amended Certificate of Interest within seven days after
      any information on this form changes. Fed. Cir. R. 47.4(c).

I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.



Date: October 12, 2023              Signature: /s/ John R. Emerson

                                    Name: John R. Emerson




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 1. Represented Entities.             2. Real Party in                3. Parent Corporations and
  Fed. Cir. R. 47.4(a)(1).                Interest.                     Stockholders. Fed. Cir. R.
                                      Fed. Cir. R. 47.4(a)(2).                  47.4(a)(3).
Provide the full names of all    Provide the full names of all        Provide the full names of all
entities represented by          real parties in interest for the     parent corporations for the
undersigned counsel in this      entities. Do not list the real       entities and all publicly held
case.                            parties if they are the same as      companies that own 10% or
                                 the entities.                        more stock in the entities.

                                 X None/Not Applicable                X None/Not Applicable
Acufloor, LLC




4. Legal Representatives. List all law firms, partners, and associates that (a) appeared for
the entities in the originating court or agency or (b) are expected to appear in this court for
the entities. Do not include those who have already entered an appearance in this court. Fed.
Cir. R. 47.4(a)(4).
   None/Not Applicable                                __ Additional pages attached
     Tiffany M. Cooke                   Nicolette Nunez                      Andrew Drott
  (Haynes and Boone, LLP)           (Haynes and Boone, LLP)             (Haynes and Boone, LLP)
  John N. Muratides (Stearns,
   Weaver, Miller, Weissler,
   Alhadeff & Sitterson, PA)




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5. Related Cases. Other than the originating case(s) for this case, are there related or prior
cases that meet the criteria under Fed. Cir. R. 47.5(a)?
    Yes (file separate notice; see below) X No          N/A (amicus/movant)
If yes, concurrently file a separate Notice of Related Case Information that complies with Fed.
Cir. R. 47.5(b). Please do not duplicate information. This separate Notice must only be filed
with the first Certificate of Interest or, subsequently, if information changes during the
pendency of the appeal. Fed. Cir. R. 47.5(b).




6. Organizational Victims and Bankruptcy Cases. Provide any information required under
Fed. R. App. P. 26.1(b) (organizational victims in criminal cases) and 26.1(c) (bankruptcy case
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X None/Not Applicable                                 __ Additional pages attached




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                     STATEMENT OF RELATED CASES

      No appeal in or from the same proceeding was previously before this Court

or any other appellate court.

      Counsel is not aware of any case that may directly affect or be directly

affected by this Court’s decision in the pending appeal.




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                      JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1338 and

entered final judgment. Acufloor timely appealed. This Court has jurisdiction

under 28 U.S.C. § 1295(a)(1).




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                         STATEMENT OF THE ISSUES

      1. The district court construed the term “the combination of the first notch

and the second notch providing a majority of an area of tile-to-mortar-to-subfloor

contact for the tile leveling device within the bounds of the base” to mean that “the

notches in the base collectively span an area that is larger than the solid portions of

the base.” Did the district court err in holding that the “majority” in the claim

term refers to the majority of the area within the bounds of the base rather than

majority of the area of tile-to-mortar-to-subfloor contact for the tile leveling device

within the bounds of the base, as the claim states?

      2. The district court also construed the term “edge,” when used in the

phrases “edge-to-subfloor contact” and “edge-to-mortar-to-subfloor contact,” to

mean “the line at which a surface of a tile terminates”—a construction that

excludes an example embodiment that the specification expressly states provides

the recited “edge-to-subfloor contact.” Did the district court err in adopting a

construction of “edge” that contradicts the specification based on statements in

the prosecution that do not clearly and unequivocally disclaim a broader

interpretation?




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                           STATEMENT OF THE CASE

      This appeal comes to the Court from a stipulated judgment of non-

infringement entered after the district court issued its claim construction order.

The patents at issue in this appeal, U.S. Patent Nos. 10,704,274 (“the ’274

Patent”) and 10,513,857 (“the ’857 Patent”), claim novel devices for leveling and

spacing tiles that include openings called “notches” in their bases for allowing the

tiles above them to directly contact the mortar below. See Appx83–97; Appx111–

124. The district court’s narrow constructions of (1) tile “edge” in the ’274 and

’857 Patents and (2) “the combination of the first notch and the second notch

providing a majority of an area of tile-to-mortar-to-subfloor contact for the tile

leveling device within the bounds of the base” (the “Majority of an Area Term”)

in the ’274 Patent foreclosed Acufloor’s infringement positions with respect to

both patents. Appx1975–1977.

      The district court based its constructions of both terms solely on the

prosecution histories. Appx6–11. With respect to the Majority of an Area Term,

the district court held that the term requires the claimed notches to take up a

majority of the area of the base as a whole—rather than the majority of the area of

tile-to-mortar-to-subfloor contact within the bounds of the base—because Acufloor

added the phrase to distinguish prior-art devices that had openings that did not



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cover the majority of the base. Appx8–11. But the district court did not cite (and

the intrinsic record does not contain) any statements by Acufloor expressly

distinguishing the asserted art on that basis. Appx9–11. The district court also did

not address that the devices disclosed by the cited prior art had openings other than

“notches”—which the district court construed to be limited to openings that

intersect an edge of the base—that provided the majority of the area of direct tile-

to-mortar-to-subfloor contact within the bounds of their bases. Appx9–11.

      The district court also held that the “tile edge” must refer to a single line on

the border of the tile—as opposed to a region—because Acufloor “repeatedly

distinguished [its] invention from tile spacers in the prior art by showing that only

[its] invention allowed for mortar contact all the way to the very edge of the tile.”

Appx7. But the district court did not cite a single statement by Acufloor that an

“edge” is a single line or that the claims require notches that provide mortar

contact at the “very edge” of the tile. Appx6–8. It also did not address Acufloor’s

express statements during prosecution that its own devices that do not provide

mortar contact along the most extreme border of the tile do provide the requisite

“edge” contact. Appx6–8.




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    I.       The ’274 and ’857 Patents claim novel tile-leveling devices.

      Installers of ceramic tiling often rely on tile-leveling devices to help them

properly space tiles and to prevent a phenomenon called lippage, in which adjacent

tiles have different surface heights. Appx614. The ’274 and ’857 Patents claim

novel tile-leveling devices developed by Clinton and Joshua Bunch, the father-and-

son team that founded Acufloor, a leading company that manufactures, markets,

and distributes high-quality, innovative tools for the tile industry. Appx40–44;

Appx83–97; Appx111–124.

      Figures 11A and 11B1 below illustrate the inventive device:




1
 The ’274 and ’857 Patents are continuations of the same parent patent and share a
common specification. For simplicity, this brief cites only the specification of the
’274 Patent unless otherwise noted.


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Appx117. The device includes both a tile clip (also referred to as a “spacer”),

depicted in Figure 11A, and a wedge, depicted in Figure 11B. Appx122 (5:43–48).

As shown in Figure 11A, the clip comprises two parts: a base portion (122) that lies

on the ground and an upright, u-shaped body portion (114). Appx122 (5:45–50).

       During use, the installer first spreads mortar over the subfloor. Appx615.

The installer then places a tile on the mortar and slides the base of the tile clip

under one side of the tile. Appx121 (4:26–32); Appx615. Next, the installer places

another tile over the other side of the base of the tile clip so that there are tiles over

both sides of the clip base, and the body of the clip extends upward between the

tiles. Appx121 (4:30–41); Appx615–617. The installer then inserts a wedge through

an open window in the clip, putting pressure on the upper surfaces of the tiles to

level them. Appx122 (5:1–11); Appx618–619. Figures 6–8 below illustrate this

process:




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Appx115.

      Once the tiles are set, the installer either removes the wedge, or more

typically, leaves the wedge in place, and breaks the upright body portion of the tile

clip off of the base using either his or her foot or a specialized tool, as shown in

Figure 9 below:




Appx115; Appx122 (5:14–27); Appx619–620.



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      The ’857 and ’274 Patents disclose a novel shape for the clip in which

“notches” in the base of the clip allow the mortar beneath the part of the tile over

the notches to directly contact the subfloor. Appx122 (5:60–62, 6:15–19);

Appx620–621. As shown in annotated Figure 11A below, notches are openings in

the base that intersect an edge of the base:




Appx117; Appx628; see also Appx8 (construing “notch” as an “opening

intersecting an edge of the base through which mortar can penetrate”).

      The direct tile-to-mortar-to-subfloor contact provided by the notches

strengthens the adhesion between the tile and the subfloor, which prevents the tile

from breaking. Appx621; Appx635–636. Notches provide a stronger connection

with the mortar than other types of openings that do not intersect the edge of the

base because they allow the tile to connect with a continuous body of mortar rather




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than only a small area of mortar penetrating through a hole or other opening.

Appx652–653.

      This direct mortar contact is especially important at the corners and edges of

tiles because those regions of the tile are most vulnerable to breaking. Appx621–

622; Appx635–636. Accordingly, claims 1 and 5 of the ’274 Patent recite a tile-

leveling device with two notches that each provide “tile edge-to-mortar-to-subfloor

contact.” Appx123–124; Appx621–622; Appx644.

      The claims of the ’857 Patent relate to an embodiment in which the installer

places the tile-leveling device at the corners of three or four tiles, as shown in

Figures 4 and 5 below:




Appx86. As with the ’274 Patent, each of the independent claims recites a tile-

leveling device that has two notches. Appx95–96. The claims of the ’857 patent

additionally recite two tiles, each placed with one of their corners over one of the

notches, such that each corner has “edge-to-subfloor contact of [] corner-to-

mortar-to-subfloor at the [] notch.” Appx95–96. Placing leveling devices at the




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corners of tiles, as the claims of the ’857 Patent recite, permits the installer to use

fewer leveling devices. Appx634–637.

      The specification does not include any express definition of “edge” or

“corner” but states that the embodiment depicted in Figure 11A has notches that

are spaced to provide corner-to-subfloor contact and edge-to-subfloor contact.

Appx122 (6:18–19). As the specification explains, the tile clip includes spacing

pads 152 that installers can use to place tiles a predetermined distance apart by

placing the tiles directly against the spacing pads. Appx122 (5:10–14, 5:65–67);

Appx640–641; Appx646–647. As shown in the annotated figure below, placing a

tile directly up against the spacing pads on the device depicted in Figure 11A would

result in the lines at which the surfaces of the tile terminate resting over the plastic

portion of the base rather the notches:




Appx117; Appx646–647.




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   II.       The Prosecution Histories of the ’274 and ’857 Patents do not
             include disclaimers relevant to the appealed claim constructions.

             A.    Acufloor did not disclaim the ordinary meaning of “edge” or
                   the Majority of an Area Term during the prosecution of the
                   ’274 Patent.

      The prosecution of the ’274 Patent centered on the claimed notches and the

specific type of mortar contact they provide. Acufloor ultimately overcame an

obviousness rejection by adding the Majority of the Area Term to each of the

independent claims to distinguish the asserted prior art, which disclosed devices

that had openings other than notches in their bases that provided most of the area

of direct mortar contact within the bounds of the base.


                   1.     June 14, 2019 Non-Final Rejection and Response

      The Examiner first made the relevant prior-art rejection in a non-final office

action dated June 14, 2019. The Examiner asserted that each of the then-pending

claims were obvious over the combination of two prior-art patent publications

directed to tile-leveling devices: U.S. Patent Publication No. 2008/0236094 to

Doda (“Doda”) and PCT Application No. WO2013/033761 to Psaila (“Psaila”).

Appx1307. The rejection specifically pointed to the openings 129 in Figure 8 of

Doda and the small notches 28 of Figure 1 of Psaila, shown below:




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            Doda, Figure 8                               Psaila, Figure 1

      Appx1308–1309; Appx835; Appx927. While the Examiner acknowledged

that “Doda fails to disclose said opening is a notch,” he argued that the small

notches 28 in the base of the Psaila device would have made it obvious to make

Doda’s openings notches by “modify[ing] the base of Doda with the configuration

of Psaila by extending the opening 129 all the way to the front portion of 116….”

Appx1309.

      In a response filed September 16, 2019, Acufloor amended each of the

independent claims to recite that the tiles rest over the notches and the notches

provide “edge-to-mortar-to-subfloor contact.” Appx1299–1305. It then argued

that neither Doda nor Psaila discloses the type of tile edge-to-mortar-to-subfloor

contact that the notches of the claimed device provide. Appx1306–1307;

Appx1311–1312.




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      Specifically, Acufloor argued that the openings of Doda “push out mortar

such that the ‘transverse member sections adhere to the subsurface or floor and the

tiles get adhered to the transverse member’ and do not penetrate the base portion

and provide this type of tile edge-to-mortar-to-subfloor contact.” Appx1312. It

further argued that “two side cut-outs 28” of Psaila “are not positioned to provide

the claimed tile edge-to-mortar-to-subfloor contact” at all. Appx1312. Acufloor

did not argue, however, that the openings 129 of Doda were also not positioned to

provide the claimed tile edge-to-mortar-to-subfloor contact. Appx1307–1315.


                   2.      October 25, 2019 Final Rejection

      The Examiner issued a final rejection on October 25, 2019, again rejecting all

pending claims as obvious over Doda and Psaila. Appx795–801. In response to

Acufloor’s arguments, the Examiner reiterated that while Doda failed to disclose

notches “extending to the front and/or rear of the base,” it would have been

obvious “to modify the base of Doda with the configuration of Psalia [sic] by

extending the opening 129 all the way to the front portion of 116” to create notches

providing the claimed contact. Appx799. The Examiner illustrated the proposed

modification as follows and asserted that the illustrated combination satisfied the

claims as amended:




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      Appx799. According to the Examiner, modifying Doda in this manner “is

generally recognized as being within the level of ordinary skill in the art, absent any

showing of unexpected results.” Appx799.


                    3.     February 2020 Examiner Interview

      Following the October 25, 2019 final rejection, Acufloor requested an

examiner interview. Appx750. In advance of the interview, Acufloor sent an

agenda outlining the argument to be presented—that “[i]t is not possible that one

of ordinary skill in the art before the filing date of the instant invention would have

modified the base of Doda with the configuration of Psaila by extending the

opening 129 all the way to the front portion of base 116 for allowing more adhesive

to penetrate the opening and extend over a greater surface area of the tiles as taught

by Psaila.” Appx1285. Acufloor went on to explain that Psaila teaches away from

extending any openings or notches because the Psaila device uses spacing tabs that


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rest on the base of the device itself—as opposed to a separate, upright piece as in

the claimed invention—to ensure the proper spacing of adjacent tiles. Appx1294–

1295.

        The agenda also provided a link to a YouTube video that used a commercial

embodiment of the claimed devices to explain the non-obviousness of the notches

by highlighting their unexpected benefits over other types of openings. Acufloor

also attached screenshots of the video and excerpts from its transcript as an exhibit.

Appx1269–1275; Appx1072–1087. 2 The video explained that the claimed devices

aim to provide “minimal interruption of plastic” at the edges and corner, which

are the most vulnerable portions of the tile. Appx1080 (emphasis added). It

further explained that “[t]here is a tremendous advantage to notches” when they

are inserted correctly—namely, in a manner that “encourages mortar to reach as

close to the edge as possible.” Appx1084–1085.

        The video also expressly stated that the commercial embodiments depicted

in the screenshots below provide the claimed tile edge-to-mortar-to-subfloor




2
 The Examiner’s Interview Summary attaches the black-and-white version of the
screenshots from the file history (Appx1269–1275), and Appx1080–1086 includes a
color copy of the same presentation produced from the prosecuting attorney’s files.
The full-color version of the video is also still publicly available at the address
provided in Acufloor’s pre-interview agenda. Appx1276.


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contact, despite the fact the lines at the most extreme borders of the tiles lie over

the bases of the depicted devices, rather than over the notches:




Appx1080.


                    4.     March 25, 2020 Amendment and Allowance

      Following the interview, Acufloor amended each of the independent claims

to include the Majority of an Area Term: “the combination of the first notch and

the second notch providing a majority of an area of tile-to-mortar-to-subfloor

contact for the tile leveling device within the bounds of the base.” Appx1349–1354.

Acufloor also added a new claim (now claim 8) that included the new Majority of

an Area Term but did not require that the notches provide tile edge-to-mortar-to-

subfloor contact. Appx1355. It also amended claim 5 to remove the recitation of

first and second tiles having tile-edge-to-mortar-to-subfloor contact and to instead

recite that the first and second notches provide tile edge-to-mortar-to-subfloor

contact. Appx1352–1353.


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      In the remarks, Acufloor reiterated its arguments that neither Doda nor

Psaila disclosed the claimed notches and that it would not have been obvious to

modify the openings of Doda to make them notches as proposed. Appx1357–1371.

The remarks did not mention any comparison between the area of the notches and

the area of the base as a whole. Appx1356–1371. Nor did Acufloor assert—in the

March 25, 2020 Amendment or at any point during the prosecution of the ’274

Patent—that the openings 129 of Doda are too far apart to provide the tile edge-to-

mortar-to-subfloor contact recited in claims 1 and 5. Appx1356–1371.

      The Examiner allowed the claims as amended. See Appx123–124.


            B.     Acufloor did not disclaim the ordinary meaning of “edge”
                   during the prosecution of the ’857 Patent.

      The district court and the Appellees only cited one office-action response

from the prosecution of the ’857 Patent in connection with the disputed “edge”

term—a March 2019 response to a non-final rejection dated September 20, 2018.

Appx6–8; Appx977–982. In that office action, the Examiner rejected the claims as

obvious over Doda in view of U.S. Patent Application Publication No.

2013/0247508 to Hoffman (“Hoffman”). Appx710. The Examiner again pointed

to Doda’s openings 129 but acknowledged that Doda does not disclose an “I-

shaped base,” as claimed. Appx712. He argued that Hoffman’s I-shaped base




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would have made it obvious to modify the base of Doda to extend the openings 129

all the way to the front portion of the base to make it I-shaped. Appx712–713.

      Acufloor’s response amended the independent claims to recite that the

notches provide “edge-to-subfloor contact” and argued that the proposed

combination did not render the amended claims obvious for two reasons: (1) the

grooves present in Hoffman’s base “do not penetrate the base” and therefore

cannot provide edge-to-subfloor contact and (2) even if the grooves penetrated the

base, they would not satisfy the claims’ requirements of notches located to the

front and back of the devices because the grooves extend to the sides of the device

rather than to the front and back. Appx713–714. The response further explained

that the grooves’ purpose is to receive adhesive material to bind the tile to the

plate, not to provide mortar-to-subfloor contact. Appx713–714.

      In support of those arguments, Acufloor submitted the below annotated

figure, which it characterized as illustrating “Hoffman’s edge to groove contact”:




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Appx714; Appx1052. 3


    III.     The Proceedings Below

       Acufloor’s Complaint alleged that EvenTile, a competitor of Acufloor,

infringes the ’274 and ’857 Patents by manufacturing, marketing, offering for sale,

and/or selling its wedge-and-clip leveling system. Appx45–46. It further alleged

that FORPAC, another Acufloor competitor, infringes the ’274 and ’857 Patents by




3
 Acufloor originally submitted its response to the relevant office action on March
20, 2019. Appx700–718. That response incorrectly listed amended claim 10 as
“original” despite amendments to that claim and inadvertently omitted Exhibits A
and B referred to in the response. Appx704–705; Appx718. On March 21, 2019,
Acufloor submitted a corrected claim listing that presented the same amendments
but correctly listed claim 10 as “currently amended” and also attached previously
omitted Exhibits A and B. Appx1045–1059.


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marketing, offering for sale, and/or selling a similar, FORPAC-branded wedge-and-

clip system that FORPAC purchases from EvenTile. Appx46–47.


             A.    Claim construction of the Majority of an Area Term

      During claim construction, Acufloor argued that the Majority of an Area

Term in asserted claims 1, 5, and 8 of the ’274 Patent should be construed to mean

“the combination of the first notch and the second notch providing the majority of

the tile-to-mortar-to-subfloor contact that exists within the bounds of the base.”

Appx521. FORPAC and EvenTile, on the other hand, argued that the term should

be construed to mean that “[t]he notches in the base collectively span an area that

is larger than the solid portions of the base.” Appx521–522. 4

      The crux of the parties’ dispute centered around what the claimed

“majority” referred to. Acufloor argued that—consistent with the claim

language—it referred to the majority of the area of tile-to-mortar-to-subfloor

contact within the bounds of the base. Appx587–589. FORPAC and EvenTile, on

the other hand, both maintained that the claimed “majority” instead referred to

the majority of the area within the bounds of the base as a whole—effectively




4
 EvenTile initially proposed and submitted briefing in favor of a slightly different
construction that also required the notches to cover the majority of the base but
agreed to FORPAC’s construction at the Markman Hearing. Appx521; Appx10–11.


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excising the phrase “of tile-to-mortar-to-subfloor contact” from the claims.

Appx1000–1002; Appx1393–1396.

      The district court adopted FORPAC’s construction. Appx10–11. The

Markman order did not address Acufloor’s argument that FORPAC’s construction

contradicted the plain language of the claims. Appx9–11. Instead, the court relied

exclusively on its holding that Acufloor added the Majority of an Area Term to the

claims of the ’274 Patent during prosecution to distinguish the Doda device based

on the size of its openings. Appx10. Specifically, the district court asserted that

Acufloor argued in its March 25, 2020 Amendment that “the claimed design

allowed ‘more adhesive to penetrate the opening and extend over a greater surface

area of the tiles’ than the prior art.” Appx10 (quoting Appx826). The court then

relied on that interpretation of Acufloor’s argument to conclude that the Majority

of an Area Term “distinguishes Acufloor’s device from the prior art because the

Accufloor [sic] design allows a relatively large area of direct contact between

subfloor, mortar, and tile.” Appx10. The district court further opined that “[t]he

applicants gave no indication they contemplated other openings when adding the

‘majority of an area’ phrase.” Appx10.

      The portion of the March 25, 2020 Amendment the district court quoted in

the Markman order came from Acufloor’s response to the Examiner’s argument



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that Psaila would have made it obvious to modify Doda’s openings to make them

notches. Appx817; Appx826. The full text of the sentence the district court cited

reads:

         It is not possible that one of ordinary skill in the art before the filing
         date of the instant invention would have modified the base of Doda
         with the configuration of Psaila by extending the opening 129 all the
         way to the front portion of base 116 for allowing more adhesive to
         penetrate the opening and extend over a greater surface area of the
         tiles as taught by Psaila.

Appx814 (emphasis added).


               B.     Claim construction of “edge”

         Acufloor also argued that the term “tile edge” should be given its plain and

ordinary meaning, while FORPAC and EvenTile both asserted that the term “tile

edge” should be limited to a single line. Appx521. FORPAC specifically proposed

that “tile edge” be construed to mean “[t]he line at which a surface of a tile

terminates,” while EvenTile proposed that “tile edge” be construed as “the line

that is the intersection of two plane faces of a tile.” Appx521.

         In asking the district court to reject Appellees’ narrow constructions,

Acufloor cited, among other things:

   • Expert testimony explaining that Appellees’ constructions contradicted both
     common usage of the term “edge” in the art of tile installation to refer to a
     region of the tile rather than a line and the purpose of the claimed “edge-to-
     mortar-to-subfloor contact,”


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   • An example embodiment of a device (depicted in Fig. 11A) that the
     specification expressly states provides the claimed tile edge-to-subfloor
     contact that would not provide direct mortar contact with the line at the
     extreme edge of the tile,

   • Repeated statements by Acufloor during the prosecution of the Asserted
     Patents that Acufloor’s own device, which also does not provide direct
     mortar contact at the extreme edge of the tile, does provide the claimed edge-
     to-mortar-to-subfloor contact, and

   •    EvenTile’s own dictionary definitions indicating that the plain meaning of
       the word “edge” includes a region.

Appx584–587.

       The district court nevertheless sided with Appellees and construed the term

“edge,” when used in the phrases “edge-to-subfloor contact” in asserted claims 1

and 10 of the ’857 Patent and “edge-to-mortar-to-subfloor contact” in asserted

claims 1 and 5 of the ’274 Patent, to mean “the line at which a surface of a tile

terminates.” Appx7–8. The district court further explained that the term “edge-to-

subfloor contact” in the claims of the ’857 Patent clarifies that mortar reaches the

extreme edge of the tile at the corner and over the notch” and that “edge-to-mortar-

to-subfloor contact” in claims 1 and 5 of the ’274 Patent similarly requires “mortar-

to-tile contact up to the very edge of the tile, rather than an area near the very edge.”

Appx7.

       In reaching that construction, the district court did not address any of

Acufloor’s arguments. Appx6–8. Instead, the district court relied solely on its


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holding that Acufloor had allegedly “repeatedly distinguished [its] invention from

tile spacers in the prior art” during prosecution “by showing that only [Acufloor’s]

invention allowed for mortar contact all the way to the very edge of the tile.”

Appx7.

      In support of that opinion, the district court cited three documents:

      (1) the screenshots from the video Acufloor submitted in connection
      with the February 2020 Examiner Interview that expressly stated that a
      commercial embodiment that does not permit mortar contact with the
      “very edge of the tile” does provide “tile edge-to-mortar-to-subfloor
      contact;

      (2) the claim amendment that Acufloor submitted after that interview
      in March of 2020 that moved the reference to tile edge-to-mortar-to-
      subfloor contact to a different part of claim 5; and

      (3) the March 2019 Amendment from the prosecution of the ’857
      Patent—specifically, the addition of “edge-to-subfloor contact” to the
      claims and the annotated figure of the Hoffman reference used to
      support Acufloor’s argument that Hoffman’s grooves did not provide
      “edge-to-subfloor contact” because they do not penetrate the base.

Appx7 (citing Appx1052; Appx1073–1087; Appx1352).

      Despite asserting that these three documents evidenced Acufloor’s intent to

distinguish prior-art devices that did not permit mortar contact with the “very edge

of the tile,” the district court did not point to any statement by Acufloor in any of

these documents or otherwise that clearly and unequivocally indicated that either

“edge-to-subfloor contact” or “edge-to-mortar-to-subfloor contact” requires

mortar contact at the “the line at which a surface of a tile terminates.” Appx6–8.


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             C.     The stipulated judgment

      After the Markman order issued, the parties entered a stipulated final

judgment of non-infringement. Appx1973–1980. The judgment provided that

“‘[u]nder the Court’s ordered construction of ‘edge,’ the Accused Systems do not

meet the limitations requiring ‘tile edge-to-mortar-to subfloor contact’ in asserted

Claims 1 and 5 of the ’274 Patent or ‘edge-to-subfloor contact’ in asserted Claims 1

and 10 of the ’857 Patent because when the Accused Systems are in use, ‘the line at

which the surface of the tile terminates’ lies over the base of the clip of the Accused

Systems.” Appx1976.

      It further provided that “[t]he Accused Systems do not meet the limitation

of the claims of the ’274 Patent reciting ‘the combination of the first notch and the

second notch providing a majority of an area of tile-to-mortar-to-subfloor contact

for the tile leveling device within the bounds of the base’ under the Court’s

construction ‘because the notches in the Accused Systems do not span an area

larger than the solid portions of the base.’” Appx1977.


                       SUMMARY OF THE ARGUMENT

      The district court committed two errors during claim construction. First, it

erred in construing “the combination of the first notch and the second notch

providing a majority of an area of tile-to-mortar-to-subfloor contact for the tile



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leveling device within the bounds of the base” to require that the notches in the

base collectively span an area that is larger than the solid portions of the base. The

plain language of the claim makes clear that the claimed “majority” is the majority

of the area of the tile-to-mortar-to-subfloor contact within the bounds of the base—

not the majority of the area of the base.

      The district court based its construction solely on its finding that Acufloor

added the Majority of an Area Term to the claims during prosecution to distinguish

the prior art because the claimed devices provide a larger area of uninterrupted

subfloor-to-mortar-to-tile contact than the prior-art devices. But the only

prosecution statement the district court cited addressed an entirely different

point—whether it would have been obvious to modify Doda’s openings to make

them notches. Far from clearly and unequivocally dictating a construction that

contradicts the term’s ordinary meaning, the cited amendment actually confirms

that the Majority of an Area Term distinguished the prior art by requiring that

notches—as opposed to other openings like those in the Doda device—provide the

majority of the area of tile-to-mortar-to-subfloor contact for the tile leveling device

within the bounds of the base.

      The district court also erred in restricting “edge” in the terms “edge-to-

subfloor contact” and “edge-to-mortar-to-subfloor contact” to a single line. The



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district court’s construction contradicts the plain meaning of “edge” to those in

the art, which encompasses and area or region, and contradicts the purpose of the

claimed contact—to prevent breakage in the most vulnerable areas of the tile. The

district court’s construction also excludes the preferred embodiment depicted in

Figure 11A and commercial embodiments that Acufloor expressly characterized as

providing the claimed contact during prosecution.

      The district court did not address Figure 11A, Acufloor’s statements about

its commercial embodiments, or any of Acufloor’s other intrinsic and extrinsic

evidence confirming that the term “edge” in the claims refers to a region. It

instead based its erroneous construction exclusively on its holding that Acufloor

“repeatedly distinguished [its] invention from tile spacers in the prior art by

showing that only [Acufloor’s] invention allowed for mortar contact all the way to

the very edge of the tile.” But none of the statements the district court cited in

support of that holding distinguished the prior art on that basis—let alone in a

manner that clearly and unequivocally restricted the term “edge” to a single line.

Instead, the cited arguments addressed entirely different issues: (1) whether it

would have been obvious to modify Doda’s holes to make them notches and (2)

whether Hoffman’s grooves, which did not penetrate the base, could provide tile-

to-mortar-to-subfloor contact of any kind.



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      The district court’s erroneous constructions of the Majority of an Area

Term and “edge” led to the parties’ stipulated judgment of non-infringement.

The judgment must therefore be vacated and the case remanded for an

infringement determination under the proper constructions of those terms.


                            STANDARD OF REVIEW

      Where a patent holder concedes non-infringement based on claim

constructions, this Court need only review the relevant constructions. Altiris, Inc.

v. Symantec Corp., 318 F.3d 1363, 1368 (Fed. Cir. 2003).

      The Court reviews claim construction de novo and any underlying factual

findings regarding the extrinsic evidence for clear error. Teva Pharms. USA, Inc. v.

Sandoz, Inc., 574 U.S. 318, 332–33 (2015). The meaning of a claim term “in light of

its use in the claims, the disclosure in the specification, and the discussion of the

term in the prosecution history is a question of law.” Teva Pharms. USA, Inc. v.

Sandoz, Inc., 789 F.3d 1335, 1342 (Fed. Cir. 2015). Similarly, the existence and

scope of prosecution disclaimer or disavowal is a legal question, not a factual one.

Id. at 1343. Thus, where, as here, the district court based its constructions solely

“on an intrinsic evidence determination about the meaning of the prosecution

history,” this Court reviews those constructions de novo. Avid Tech., Inc. v.

Harmonic, Inc., 812 F.3d 1040, 1044–45 (Fed. Cir. 2016).


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                                    ARGUMENT

      This appeal arises from the district court’s erroneous constructions of the

Majority of an Area Term and “edge.” Both constructions contradict the claims’

plain meaning and the intrinsic evidence. Despite relying exclusively on the

prosecution histories to support both constructions, the district court failed to cite

any clear and unequivocal disclaimer dictating its adopted constructions—or,

indeed, any evidence supporting those constructions at all.

   Claim language must be given its ordinary and customary meaning in view of the

intrinsic evidence. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005).

The patent specification is the “‘single best guide to the meaning of a disputed

term,’” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996),

and “is, thus, the primary basis for construing the claims.” Phillips, 415 F.3d at

1315 (citation and quotation omitted).

   The full scope of a claim term may be limited only where the patentee clearly

and expressly sets out a different definition in the specification or clearly and

unmistakably disavows the full scope during prosecution. Home Diagnostics, Inc. v.

LifeScan, Inc., 381 F.3d 1352, 1357 (Fed. Cir. 2004); Elbex Video, Ltd. v. Sensormatic

Elecs. Corp., 508 F.3d 1366, 1371 (Fed. Cir. 2007). “[W]hile the prosecution

history can inform whether the inventor limited the claim scope in the course of



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prosecution, it often produces ambiguities created by ongoing negotiations between

the inventor and the PTO.” Grober v. Mako Prods., Inc., 686 F.3d 1335, 1341 (Fed.

Cir. 2012). Accordingly, for a statement during prosecution to qualify as a

disavowal of claim scope, it must be both “so clear as to show reasonable clarity

and deliberateness,” and “so unmistakable as to be unambiguous evidence of

disclaimer.” Omega Eng’g, Inc, v. Raytek Corp., 334 F.3d 1314, 1325 (Fed. Cir.

2003) (citations omitted).


    I.       The district court erred in concluding that the Majority of an Area
             Term describes the majority of the area of the base as a whole rather
             than the majority of an area “of tile-to-mortar-to-subfloor
             contact.”

      The court erred in construing “the combination of the first notch and the

second notch providing a majority of an area of tile-to-mortar-to-subfloor contact for

the tile leveling device within the bounds of the base” to mean “the notches in the

base collectively span an area that is larger than the solid portions of the base.”

Despite holding that the prosecution history dictated a construction of the term that

contradicts its plain meaning, the district court failed to cite any clear and

unequivocal disclaimer supporting that construction. The term should instead be

construed consistent with its plain meaning and the intrinsic record to mean that the

combination of the first notch and the second notch provide the majority of the tile-

to-mortar-to-subfloor contact that exists within the bounds of the base.

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             A.     The district court’s construction contradicts the plain
                    meaning of the claim language.

      The district court’s construction fails to give meaning to the phrase “of the

tile-to-mortar-to-subfloor contact” in the Majority of an Area Term and therefore

contradicts the term’s plain meaning. The parties’ dispute with respect to the

Majority of an Area Term centers around what the claimed “majority” refers to.

Appx587–589; Appx1000–1002. Acufloor argued that—consistent with the plain

language of the claim—the “majority” in the Majority of an Area Term refers to a

majority of the area of tile-to-mortar-to-subfloor contact that exists within the

bounds of the base of the device. Appx587–589. In other words, under Acufloor’s

proposal, the recited first and second notches—as opposed to other openings in the

base—must provide most of the tile-to-mortar-to-subfloor contact for the leveling

device. Appx587–589.

      The district court rejected Acufloor’s construction and adopted FORPAC’s

proposal, which provides that the claimed majority instead refers to the area within

the bounds of the base as a whole. Specifically, the district court’s construction

requires that “[t]he notches in the base collectively span an area that is larger than

the solid portions of the base.” Appx1393–1396.

      The district court’s construction contradicts the most natural reading of the

claim language, which recites that the notches provide “a majority of an area of


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tile-to-mortar-to-subfloor contact for the tile leveling device….” The phrase “of

an area of tile-to-mortar-to-subfloor contact” immediately follows the word

“majority.” Accordingly, the most natural reading is that the phrase “of an area of

tile-to-mortar-to-subfloor contact,” modifies the claimed “majority.” In other

words, the claimed majority is the majority of the “area of tile-to-mortar-to-

subfloor contact.” The phrase “within the bounds of the base” then limits the

area to be evaluated to determine whether this limitation is satisfied. Thus, of the

area of tile-to-mortar-to-subfloor contact within the bounds of the base, the

majority must be provided by the first and second notches. See Appx650.

      The district court’s construction ignores the phrase “of tile-to-mortar-to-

subfloor contact for the tile-leveling device” altogether. If Acufloor had wanted to

claim a device in which the notches covered a majority of the base, there would

have been no need to mention tile-to-mortar-to-subfloor contact at all.

      This Court interprets claims “with an eye toward giving effect to all terms in

the claim.” Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006); see

also Wasica Fin. GmbH v. Cont'l Auto. Sys., Inc., 853 F.3d 1272, 1288 n.10 (Fed. Cir.

2017) (“It is highly disfavored to construe terms in a way that renders them void,

meaningless, or superfluous”). The district court’s construction fails to do that by




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rendering the phrase “of tile-to-mortar-to-subfloor contact for the tile-leveling

device” superfluous.


             B.     The district court erred in holding that the prosecution
                    history dictates a construction that contradicts the Majority
                    of an Area Term’s plain language.

                    1.     The sole prosecution statement the district court cited
                           does not support its conclusion.

      The district court did not address Acufloor’s arguments that FORPAC’s

construction contradicts the plain meaning of the claims. Instead, it based its

construction solely on its holding that Acufloor added the Majority of an Area

Term to the claims of the ’274 Patent during prosecution to distinguish the Doda

device because the claimed devices “allowed for a larger area of uninterrupted

subfloor-to-mortar-to-tile contact” than that device. Appx10.

      But the only prosecution statement the district court cited does not support

its conclusion. The quoted statement came from the March 25, 2020 5 Amendment

in which Acufloor added the Majority of an Area Term to the independent claims

of the ’274 Patent. See Appx10 (quoting Appx826). That amendment responded

to the Examiner’s October 25, 2019 rejection of the pending claims over his



5
 Although the Markman order states that the amendment was dated August 13,
2018, that was the filing date of the application that led to the ’274 Patent, not the
date of the amendment. Appx805; Appx829.


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proposed combination of Doda and Psaila. Appx815. In that office action, the

Examiner reiterated his argument from the previous office action that although

“Doda fails to disclose said opening [129] is a notch,” “[i]t would have been

obvious to one of ordinary skill in the art before the filing date of the instant

invention to modify the base of Doda with the configuration of Psaila by extending

the opening 129 all the way to the front portion of 116 for allowing more adhesive

132 to penetrate the opening and extend over the a greater surface area of the tiles

as taught by Psaila.” Appx817. The Examiner also illustrated the proposed

combination as follows:




      Appx799; Appx835; Appx927.

      In response, Acufloor argued that “it is not possible that one of ordinary skill

in the art before the filing date of the instant invention would have modified the

base of Doda with the configuration of Psaila by extending the opening 129 all the

way to the front portion of base 116 for allowing more adhesive to penetrate the

opening and extend over a greater surface area of the tiles as taught by Psaila.”

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Appx826. The Markman order quoted only a portion of that sentence—in which

Acufloor was essentially quoting the Examiner—to support its conclusion that

Acufloor added the Majority of an Area Term to distinguish the cited art because

“the claimed design allowed ‘more adhesive to penetrate the opening and extend

over a greater surface area of the tiles’ than the prior art.” Appx10.

      But that is not what Acufloor argued. In fact, the portion of the March 25,

2020 Amendment the district court quoted did not specifically relate to the

Majority of an Area Term at all, let alone unambiguously indicate that the term

requires the first and second notches to cover more area than the solid portions of

the base. See Appx823–826. Instead, the quoted argument—which Acufloor had

also made in the February 2020 Examiner Interview before adding the Majority of

an Area Term (Appx1285, Appx1295)—explained that it would not have been

obvious to extend the openings 129 of Doda to make them notches as the examiner

proposed because Psaila taught away from doing so. See Appx814–816, Appx826.

Acufloor’s arguments about the obviousness of different limitations—the presence

of first and second notches that provide edge-to-mortar-to-subfloor contact—

cannot result in a clear and unequivocal disclaimer about the Majority of an Area

Term. See Inline Plastics Corp. v. EasyPak, LLC, 799 F.3d 1364, 1369 (Fed. Cir.




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2015); 01 Communique Laboratory, Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1298–99

(Fed. Cir. 2012).

      Further, even if the statement did relate to the Majority of an Area Term,

nothing in the quoted statement suggests that the term—or the claims generally—

require the notches to cover more area than the plastic portions of the base.

Instead, it simply expresses Acufloor’s contention that Psaila would not have made

it obvious to modify Doda’s openings in the specific way the Examiner had

suggested. Appx817; Appx824–826.

      The district court did not cite any other statements from Acufloor in support

of its claim construction. See Appx10. Thus, despite adopting a construction of the

Majority of an Area Term that contradicts its plain meaning based entirely on its

reading of the prosecution history, the district court failed to cite any clear and

unequivocal disclaimer dictating that construction.

      And no such disclaimer exists. The only other prosecution statements

Appellees relied on to support their construction of the Majority of an Area Term

were statements by the Examiner in his summary of the February 2020 Examiner

Interview. There, the Examiner stated that Acufloor’s YouTube video “shows the

size of the notch is critical to the success of the invention, hence Examiner

suggested Applicant focus on the size of each notch in relation to the size of the



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base.” Appx1267. The Examiner further suggested that “amending the claim

language to better define the size of the notch would further distinguish from the

prior art of record.” Appx1267. According to EvenTile, these statements by the

Examiner indicate that Acufloor “clearly added” the Majority of an Area Term “to

define ‘notch’ size in relation to the size of the base.” Appx1394–1395.

      But Acufloor was under no obligation to follow the Examiner’s suggestion to

“focus on the size of each notch in relation to the size of the base.” And the

language of the Majority of an Area Term itself shows that Acufloor decided to

instead distinguish its claims based on the notches’ size in relation to that of other

openings.

      “Prosecution history cannot be used to limit the scope of a claim unless the

applicant took a position before the PTO.” 3M Innovative Properties Co. v. Avery

Dennison Corp., 350 F.3d 1365, 1373 (Fed. Cir. 2003) (emphasis added, alterations

omitted). Thus, the Examiner’s suggestions about amendments that Acufloor

could have made but did not cannot result in a clear and unequivocal disclaimer

that limits the claims. See id.

      Accordingly, neither the district court nor appellees identified any clear and

unequivocal disclaimer justifying the district court’s departure from the Majority of

an Area Term’s plain meaning.



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                   2.       The prosecution history is consistent with the Majority
                            of an Area Term’s plain meaning.

      In fact, the prosecution history is entirely consistent with the claims’ plain

meaning. Acufloor added the Majority of an Area Term to distinguish prior art

disclosing devices that had openings other than notches that provided the majority

of the area of tile-to-mortar-to-subfloor contact within the bounds of the bases of

those devices. Specifically, as shown below, the Doda device had only the openings

129, which, as the Examiner himself admitted, are not notches:




      Appx817; Appx927. And although the Psaila device had two small notches

(28), it also had four holes (26) that provided far more tile-to-mortar-to-subfloor

contact than the notches:




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Appx835. Thus, the Majority of an Area Term distinguished the claimed devices

because, unlike the Doda and Psaila devices, the claimed devices include first and

second notches that provide the majority of the tile edge-to-mortar-to-subfloor

contact within the bounds of the base.

       The district court discounted the fact that Doda and Psaila had openings

other than notches that provided most of their tile-to-mortar-to-subfloor contact

because Acufloor allegedly “gave no indication that they contemplated other

openings when adding the ‘majority of an area’ phrase.” Appx10. But as an initial

matter, the district court is incorrect that Acufloor “gave no indication that [it]

contemplated openings other than notches” in the remarks accompanying the

amendment. In fact, the only portion of the March 25, 2020 Amendment that the

district court cited expressed that it would not have been obvious to modify Doda’s

openings to make them notches as proposed. See Appx817; Appx826.




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      The video Acufloor presented in the Examiner Interview preceding the

amendment also explained that “[t]here is a tremendous advantage to notches”

and demonstrated their superiority over Doda and Psaila’s holes, which have

plastic in front of them that pushes mortar out of the way when an installer slides

those devices under tiles. Appx1084. And even though Acufloor never expressly

explained that the Majority of an Area Term requires the first and second notches

to provide more mortar contact than any other openings, the claim language itself

makes that clear.

      In any event, disclaimer in the absence of some indication otherwise is not

the correct standard. See SuperGuide Corp. v. DirecTV Enterprises, Inc., 358 F.3d

870, 881 (Fed. Cir. 2004). Instead, disclaimer requires a statement “‘so clear as to

show reasonable clarity and deliberateness,’ and ‘so unmistakable as to be

unambiguous evidence of disclaimer.’” Genuine Enabling Tech. LLC v. Nintendo

Co., 29 F.4th 1365, 1374 (Fed. Cir. 2022) (citations omitted). Where “the record

does not rise to the level of establishing a ‘clear and unmistakable’ disavowal,” a

construction based on prosecution disclaimer is improper. See id. at 1375.

      No such clear and unmistakable disavowal exists here. Accordingly, the

Majority of an Area Term should be construed consistent with its ordinary

meaning to require that the combination of the first notch and the second notch



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provide the majority of the tile-to-mortar-to-subfloor contact that exists within the

bounds of the base.


    II.        The district court erred in limiting “edge” to a single line.

      The district court also erred in concluding that the term “edge,” when used

in the phrases “edge-to-subfloor contact” and “edge-to-mortar-to-subfloor

contact,” must be limited to a single line. As with the Majority of an Area Term,

the district court relied solely on the prosecution history to support its

construction. See Appx6–8. But despite its holding that Acufloor “relied on

mortar-to-tile contact up to the very edge of the tile, rather than an area near the

very edge, to distinguish their invention from the prior art,” it failed to cite any

clear and unequivocal disclaimer to that effect. Appx7.

          The district court also overlooked intrinsic and extrinsic evidence

contradicting its construction, including (1) the specification’s sole example of a

device providing tile edge-to-subfloor contact, (2) the patentee’s statements that

devices the district court’s construction also excludes provide the claimed contact,

and (3) expert testimony explaining that limiting an “edge” to a line contradicts

the purpose of the claimed edge contact and confirming that a person of skill in the

art would instead understand “edge” as used in the claims to refer to the area or

region where two surfaces of a tile meet. See Appx584–587. Because Acufloor did


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not clearly and unequivocally restrict the term “edge” that to a single line during

prosecution, the term should be given that ordinary and customary meaning.


              A.     The intrinsic record and the purpose of the claimed “edge-to-
                     subfloor contact” confirm that the term “edge” is not
                     restricted to a single line.

        The specification, the plain meaning and purpose of the claimed tile edge-to-

mortar-to-subfloor contact, and the prosecution history all support giving the term

“edge” its ordinary and customary meaning rather than narrowing it to a single

line.


                     1.     The specification’s sole example of notches providing
                            “edge-to-subfloor contact” would not provide direct
                            mortar contact at the “very” edge of the tile.

        The specification only gives one example of a tile-leveling device that

provides “edge-to-subfloor contact” via notches: the device depicted in Figure

11A. Appx122 (6:18–19). That device would not provide mortar contact with the

tile’s “very” edge tile because the “very” edge would lie over the center portion of

the device’s base rather than a notch. See Appx117. The specification explains that

the legs of the upright portion of the depicted tile clip includes “spacing pad[s]

152,” which “may be utilized to position the tiles a predetermined distance apart”

by laying the tiles directly against the spacing pads. Appx122 (5:65–67). As shown

in the annotated figure below, the spacing pads 152 of the tile clip in Figure 11A are


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placed so that when an installer uses them correctly, the line at which the bottom

surface of the tile terminates will rest on the dotted line on the center portion of the

clip’s base—not over a notch:




Appx117; see also Appx640–641; Appx646–647. Thus, under the district court’s

construction, the depicted device would not provide edge-to-subfloor or edge-to-

mortar-to-subfloor contact. See Appx646–647.

      This Court has held that “‘[a] claim construction that excludes a preferred

embodiment is rarely, if ever correct and would require highly persuasive

evidentiary support.’” Kaufman v. Microsoft Corp., 34 F.4th 1360, 1372 (Fed. Cir.

2022). The district court’s construction does just that by construing “edge” to

exclude the embodiment depicted in Figure 11A, which is the only embodiment the

specification expressly characterizes as providing claimed edge-to-subfloor contact.

But neither the district court nor Appellees have cited any evidence sufficient to



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meet the “high bar required to conclude that the patent excludes the only

embodiment described” as including this feature. See id.

      The Court has also held that the specification “‘is the single best guide to

the meaning of a disputed term’” and that, as part of the specification, “patent

drawings are highly relevant in construing the limitations of the claims.” Phillips v.

AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir. 2005); Advanced Steel Recovery, LLC v.

X-Body Equip., Inc., 808 F.3d 1313, 1317 (Fed. Cir. 2015) (quoting CVI/Beta

Ventures, Inc. v. Tura LP, 112 F.3d 1146, 1153 (Fed. Cir. 1997)) (internal alterations

omitted). During claim construction, FORPAC attempted to discount the

relevance of Figure 11A by citing Hockerson-Halberstadt, Inc. v. Avia Group

International, Inc. for the proposition that “patent drawings do not define the

precise proportions of the elements and may not be relied on to show particular

sizes if the specification is completely silent on the issue.” See Appx986 (citing 222

F.3d 951, 956 (Fed. Cir. 2000)).

      The district court did not rely on Hockerson-Halberstadt, and it is

distinguishable for several reasons. First, the specification of the ’274 and ’857

Patents is not “completely silent” on the issue of whether Figure 11A is drawn in a

manner that would inform a POSITA of the meaning of “edge-to-subfloor




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contact.” It expressly states that the figure depicts an example of a leveling device

110 that has notches that can provide the claimed contact. Appx122 (6:18-19).

      Second, Acufloor is not relying on Figure 11A to define the “precise

proportions” or “particular sizes” of the claimed devices like the patent holder in

Hockerson-Halberstadt. In Hockerson-Halberstadt, the patent holder attempted to

overcome a prosecution disclaimer by arguing that the figures showed that the

prosecution statement was a “mistake” because it contradicted the specific

quantitative relationship between certain features of the claimed footwear shown in

the figures. 222 F.3d at 956-57. Citing In re Wright, 569 F.2d 1124, 1127 (CCPA

1977), this Court held that the patent holder could not use the “precise

proportions” and “particular sizes” of elements in figures not drawn to scale to

create “a mulligan that would erase from the prosecution history the inventor's

disavowal of a particular aspect of a claim term’s meaning.” Id.

      Unlike the patent holder in Wright, Acufloor is not using measurements of

the figures to derive quantitative values for the measurements of the claimed

device. See 569 F.2d at 1127 (“Absent any written description in the specification

of quantitative values, arguments based on measurement of a drawing are of little

value.”). And unlike the patent holder in Hockerson-Halberstadt, Acufloor is not

attempting to use conclusions drawn from the “quantitative relationship” between



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different parts of the figure to “erase” a clear and unequivocal prosecution

disclaimer. See 222 F.3d at 956-57.

      Instead, Acufloor is simply relying on the figure to interpret a claimed

feature that the specification expressly states the figure depicts. See Appx122

(6:18–19). This Court has repeatedly used patent figures for similar purposes. See,

e.g., Motionless Keyboard Co. v. Microsoft Corp., 486 F.3d 1376, 1380 (Fed. Cir. 2007)

(using figures to construe a claim term requiring “keyboard within said concavity”

to require that “all keys comprising the keyboard must be contained entirely within

the concave area”); Altair Eng’g, Inc. v. LEDdynamics, Inc., 413 F. App’x 251, 254-

55 (Fed. Cir. 2011) (non-precedential) (using the apparent spacing of LEDs in a

figure to construe “closely-spaced” to mean “not spaced-apart, such that adjacent

LEDs are sufficiently close that another LED cannot fit in the space there

between.”).

      The district court erred by failing to address Figure 11A and the

accompanying description and construing “edge” to exclude the preferred

embodiment depicted in that figure. Anchor Wall Sys., Inc. v. Rockwood Retaining

Walls, Inc., 340 F.3d 1298, 1308 (Fed. Cir. 2003) (rejecting a claim construction

that excluded a preferred embodiment shown in one of the figures).




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                     2.     The prosecution history confirms that “edge” cannot
                            be limited to a single line.

       Consistent with the specification, during prosecution, Acufloor expressly

argued that its own device provides tile edge-to-mortar-to-subfloor contact even

though the center portion of the device is thick enough that the outer border of the

tile clearly rests over the base on installation:




Appx1080. The district court’s construction of “edge” would also exclude these

devices because they do not provide direct mortar contact with “the line at which

the surface of the tile terminates.”

       In the same presentation, Acufloor explained that “[c]orners and edges are

the weakest points of any tile installation,” and “[i]f a tile breaks anywhere, it

breaks there….” Appx1080. Acufloor further explained that “[i]nserting plastic

between the subfloor and the tile weakens the assembly, because mortar does not




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adhere to plastic and often when the piece is inserted it completely removes mortar

from the ability to touch the tile, especially at the edge.” Appx1081. Therefore,

Acufloor explained that the claimed notches aim to provide “minimal interruption

of plastic” at these “vulnerable portion[s] of the tile installation.” Appx1080.

      Acufloor’s description of the purpose of the claimed edge-to-mortar-to-

subfloor contact confirms that the claims use the term “edge” to refer to

“portions” or regions of the tile rather than single lines. As Acufloor’s expert

explained, restricting “edge” to a single line—as the district court did—is illogical

in the context of the claims because a line has no area and cannot break. Appx644–

645. It also would do little good to provide direct mortar support along a single line

rather than an area of the tile. Appx644–645. In fact, the district court’s

construction renders the claims non-sensical because a line, having no area, cannot

have “contact” with mortar. See Appx644.

      For all of these reasons, a person of skill in the art would understand that the

term “edge” in the claims must refer to an area or region rather than a line,

particularly in light of Acufloor’s illustration of edge-to-mortar-to-subfloor contact

and its description of the purpose of that contact during prosecution. Appx644–

648. The district court’s construction contradicts that understanding and the

prosecution history.



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                    3.      The district court’s construction also contradicts the
                            plain meaning of “edge.”

       The specification and prosecution history’s uses of “edge” are consistent

with the term’s ordinary and customary meaning. Appellees’ own cited dictionary

definition confirms that “edge” can refer either to a line or a region or area.

Appx1036–1037. Specifically, during claim construction, Appellees cited one of

Merriam-Webster’s twenty definitions of “edge,” which defined “edge” as “the

line where an object or area begins or ends.” Appx977 (citing Appx1036–1037).

But the same dictionary also defines “edge” as “the narrow part adjacent to a

border.” Appx1036.

       Thus, the specification, the prosecution history, and the purpose of the

claimed contact all confirm that the claims use “edge” to refer to a “part” of the

tile, not a line.


               B.   Acufloor did not clearly and unequivocally disclaim any
                    meaning of “edge” that is not restricted to a single line.

       The district court did not address any of Acufloor’s intrinsic or extrinsic

evidence contradicting its construction. Appx6–8. Instead, the court based its

decision to restrict “edge’ to a single line exclusively on its holding that Acufloor

“repeatedly distinguished [its] invention from tile spacers in the prior art” during




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prosecution “by showing that only [its] invention allowed for mortar contact all the

way to the very edge of the tile.” Appx7.

      The district court cited only three documents in support of that opinion: 1)

the agenda Acufloor submitted in advance of the February 2020 Examiner

Interview during the prosecution of the ’274 Patent; 2) the claim amendment

Acufloor submitted following the same interview, and 3) Acufloor’s March 2019

Amendment submitted during the prosecution of the ’857 Patent. See Appx7

(citing Appx1072–1094; Appx1352; Appx1045–1059). None of these documents

includes, nor did the district court cite, any clear and unmistakable disclaimer.


                    1.     Acufloor did not clearly and unequivocally distinguish
                           Doda and Psaila because they do not provide mortar
                           contact at the “very edge” of the tile.

      The district court incorrectly concluded that Acufloor responded to the

Examiner’s rejection of the claims of the ’274 Patent over the combination of Doda

and Psaila by arguing that the claimed devices, unlike those devices, “allowed for

mortar contact all the way to the very edge of the tile.” Appx7. But Acufloor made

no such argument.

      The district court cited the video Acufloor submitted in response to the

Examiner’s assertion that while Doda failed to disclose notches, Psaila’s small

notches 28 would have made it obvious to modify extend Doda’s openings 129 all


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the way to the front portion of its base to create notches that provide tile edge-to-

mortar-to-subfloor contact, as shown below:




Appx7 (citing Appx1045–1068); Appx797–799; Appx835; Appx927.

      Acufloor’s response—including the video—centered around Acufloor’s

assertion that the proposed modification would not have been obvious. See

Appx1284–1296; Appx1080–1086. Specifically, Acufloor argued that Psaila

teaches away from extending its openings because of the spacer tabs resting on its

base. Appx1293–1295. And the video focused on the unexpected benefits of

notches over Doda and Psaila’s holes. Appx1080–1086.

      In particular, the video explained that “[t]here is a tremendous advantage to

notches” when they are inserted correctly. Appx1084. As the video shows, the

plastic in front of the holes of the Doda and Psaila devices pushes mortar out of the

way as the installer slides the devices under the tile during installation, removing

the mortar from under the edge region of the tile. See Appx1080–1086. Notches,


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unlike other openings, also allow the edge region to directly contact a larger,

uninterrupted body of mortar. See Appx652–653. As a result, as shown in the

video and screenshots, the notches allow more mortar to directly contact both the

subfloor below and the edge region of the tile above, creating a stronger bond.

Appx1080–1086.

      Contrary to the district court’s holding, Acufloor did not assert either in the

video or in the accompanying argument that only the claimed devices allow tile-

edge-to-mortar-to-subfloor contact because only the claimed devices allow direct

mortar-to-subfloor contact at the “very edge” of the tile—let alone in a manner

clear and unequivocal enough to result in a disclaimer. See Appx7; Appx1080–

1086. Not once did Acufloor argue that Doda’s openings 129 or Psaila’s circular

holes (which the examiner did not rely on) were spaced too far apart to provide

edge-to-mortar-to-subfloor contact. Appx1080–1087; Appx1284–1296. Nor did

the video compare the spacing of the claimed notches to the spacing of those holes.

Appx1080–1087; Appx1284–1296.

      On the contrary, as the annotated screenshot below demonstrates, Acufloor

could not plausibly have distinguished the claimed device from the Doda and Psaila

devices on that basis. Doda’s and Psaila’s holes are spaced almost exactly as far

apart as the notches of the claimed device:



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Appx1087 (showing the Doda device on the left, the Acufloor device in the middle,

and the Psaila device on the right).

      And as mentioned above, in the very same video, Acufloor stated that its

own device provides tile edge-to-mortar-to-subfloor contact even though the center

portion of the device is thick enough that the outer border of the tile visibly rests

over the base on installation:




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Appx1080. Thus, far from clearly and unmistakably disclaiming any interpretation

of the term “tile edge-to-mortar-to-subfloor contact” that does not require the

extreme edge of the tile to rest directly over mortar, the video directly contradicts

the court’s holding that the term should be so limited.

      The district court also cited Acufloor’s amendment following the examiner

interview as an example of how Acufloor added limitations requiring tile edge-to-

mortar-to-subfloor contact to the claims to distinguish them from prior-art devices

that did not provide mortar contact at the very edge of the tile. Appx7. But

Acufloor did not add that limitation in the cited amendment—it was already in all

of the independent claims. Appx1350–1353. Acufloor simply moved the limitation

to a different part of claim 5. See Appx1352–1353. The amendment instead

overcame the prior-art rejection by adding the Majority of an Area Term to the

claims, which, as discussed above, distinguished Doda and Psaila because those

devices have openings other than notches that provide most of their tile-to-mortar-

to-subfloor contact. See Appx1350–1355. 6




6
 In fact, the same amendment added what is now claim 8 of the ’274 Patent, which
does not recite “edge-to-mortar-to-subfloor contact.” Appx1355. The allowance
of that claim makes clear that the recited “edge-to-mortar-to-subfloor contact” was
not Acufloor’s ultimate basis for overcoming the rejection.


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                    2.     Acufloor did not clearly and unequivocally distinguish
                           Hoffman because it does not provide mortar contact at
                           the “very edge” of the tile.

       The only other part of the prosecution history the district court cited is

Acufloor’s March 2019 Amendment and Response to the Examiner’s rejection of

the claims of the ’857 Patent over the combination of Doda and Hoffman. See

Appx7. Specifically, the district court relied on an annotated figure from Hoffman,

taken out of context, to conclude that Acufloor distinguished Hoffman because the

claimed devices, unlike Hoffman, “allowed for mortar contact all the way to the

very edge of the tile.” Appx7 (citing Appx1052). But again, Acufloor never argued

that Hoffman did not provide tile edge-to-mortar-to-subfloor contact because it did

not allow mortar contact to the very edge of the tile, let alone in a way that clearly

and unequivocally restricted the term “tile edge” to the single line along the tile’s

border.

      In fact, the arguments supported by the annotated figure did not relate to the

thickness of Hoffman’s base at all. 7 Instead, Acufloor submitted the figure to



7
 As explained above, Acufloor originally submitted its response to the relevant
office action on March 20, 2019, but inadvertently omitted the exhibits referred to
in the response. Appx700–718. Acufloor submitted the exhibits in a separate filing
on March 21, 2019. Appx1045–1059. The district court cited only the March 21
submission, but the arguments corresponding to the exhibit the district court relied
on were included in the March 20 Amendment and Response. Appx7; Appx714.


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support its arguments that Hoffman’s “grooves 1618” exist to receive adhesive

that binds the tile to the device and are not notches providing edge-to-subfloor

contact because they (1) do not “penetrate the base portion” and (2) are located to

the sides of, rather than to the front and back of, the leveling device. Appx714.

Neither argument suggests that notches to the front and back of the device that do

penetrate the base must reach the tile’s extreme edge to provide edge-to-mortar-to-

subfloor contact. And the response did not specifically address whether the the

space between Hoffman’s prongs 1610 could constitute a notch providing edge-to-

mortar-to-subfloor contact; it only addressed whether the grooves “1618” satisfied

that requirement. See Appx713–714.

      The annotated figure, which the response specifically characterized as

illustrating “Hoffman’s edge-to-groove contact for the tiles,” demonstrates that

the grooves cannot provide edge-to-subfloor contact—or any tile-to-mortar-to-

subfloor contact—because they do not penetrate the base, meaning that the edge of

the tile would rest above grooves rather than the subfloor, as shown:




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Appx714; Appx1052.

      Appellees argued—and the district court apparently agreed—that Acufloor

instead annotated the figure “to clarify that the ‘edge’ of the tile would rest on a

small strip of plastic, instead of being exposed to the subfloor within the notch,”

and in doing so disclaimed any interpretation of “edge” that is not restricted to a

line. Appx978. But even in isolation, the annotated figure does not clearly and

unequivocally indicate that “edge-to-subfloor contact” requires the line at the

border of the tile to lie over a notch. And properly viewing the figure in the context

of the arguments it supported reveals that it was intended to convey an entirely

different point—that the grooves cannot provide edge-to-mortar-to-subfloor

contact because they do not provide mortar-to-subfloor contact at all. See Elbex

Video, 508 F.3d at 1372 (holding that even if a statement could be read as a




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disclaimer in isolation, its context precluded it from being “a clear and

unmistakable surrender”).

      The standard for prosecution disclaimer is demanding. Avid Tech., 812 F.3d

at 1045. That is especially true where, as here, construing the claims in accordance

with the alleged disclaimer would exclude a preferred embodiment and contradict

the specification. See SEB S.A. v. Montgomery Ward & Co., 594 F.3d 1360, 1369

(Fed. Cir. 2010), aff’d sub nom. Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

754 (2011).

      The district court has not met this standard. None of the arguments it cited

distinguished the prior art based on its inability to provide mortar contact at the

“very edge of the tile,” much less in a way that clearly and unequivocally indicated

that “edge” as used in the claims refers to a single line.

      Accordingly, the term “edge” is entitled to the full scope of its ordinary and

customary meaning in light of the intrinsic record, which includes an area or region

where two surfaces of a tile meet.


                                  CONCLUSION

      For the reasons above, Acufloor respectfully requests that the Court vacate

the district court’s judgment and remand for further proceedings under the correct

constructions of the terms “the combination of the first notch and the second notch


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providing a majority of an area of tile-to-mortar-to-subfloor contact for the tile

leveling device within the bounds of the base” and “edge.”




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Dated: October 12, 2023            Respectfully Submitted,

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                     CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Fed. Cir. R.
32(b)(1) because:

           ■     this brief contains 11,102 words, excluding the parts of the brief
      exempted by Fed. R. App. P. 32(f) and Fed. Cir. R. 32(b)(2).

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Fed. R. App. P. 32(a)(5) and 32(a)(6) because:

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                                      /s/ John R. Emerson
                                      John R. Emerson




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                           ADDENDUM

Tab      Document                                     Appx Pages
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 2       Claim Construction Order                     Appx3 – Appx20
 3       U.S. Patent No. 10,501,947                   Appx70 – Appx81
 4       U.S. Patent No. 10,513,857                   Appx83 – Appx96
 5       U.S. Patent No. 10,704,271                   Appx98 – Appx109
 6       U.S. Patent No. 10,704,274                   Appx111 – Appx124
 7       U.S. Design Patent No. D832,680              Appx126 – Appx128
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

 ACUFLOOR, LLC,

        Plaintiff,

 v.                                                  Case No.: 2:21-cv-802-SPC-KCD

 EVENTILE, INC. and FORPAC, LLC,

       Defendants.
 ___________________________________

                              JUDGMENT IN A CIVIL CASE

 Decision by Court.      This action came before the Court and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that pursuant to the Court's Order (Doc. 109),

 entered on April 11, 2023, it is hereby ORDERED:

        a. Final Judgment of Non-Infringement of all Asserted Patents for Defendant EvenTile,

 Inc. and against Plaintiff Acufloor, LLC on all claims asserted by Acufloor against EvenTile;

        b. Final Judgment of Non-Infringement of the ’857 Patent and the ’274 Patent for

 Defendant FORPAC, LLC and against Plaintiff Acufloor, LLC on all claims asserted by Acufloor

 against FORPAC.

        April 12, 2023

                                               ELIZABETH M. WARREN,
                                               CLERK

                                               s/SH, Deputy Clerk




                                              Appx1
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                         CIVIL APPEALS JURISDICTION CHECKLIST

1.    Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

      (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final orders
                of bankruptcy courts which have been appealed to and fully resolved by a district court under 28 U.S.C. Section 158, generally are
                appealable. A final decision is one that “ends the litigation on the merits and leaves nothing for the court to do but execute the
                judgment.” Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report and recommendation
                is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section 636(c).

      (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
                appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b), Williams
                v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which resolves all issues except matters, such as attorneys’ fees and
                costs, that are collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co., 486 U.S. 196, 201, 108 S.
                Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

      (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting, continuing, modifying, refusing
                or dissolving injunctions or refusing to dissolve or modify injunctions...” and from “[i]nterlocutory decrees...determining the rights
                and liabilities of parties to admiralty cases in which appeals from final decrees are allowed.” Interlocutory appeals from orders
                denying temporary restraining orders are not permitted.

      (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section 1292(b)
                must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s denial of a motion
                for certification is not itself appealable.

      (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are discussed in cases including, but
                not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949); Atlantic
                Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States
                Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir.
      2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

      (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in the
                district court within 30 days after the entry of the order or judgment appealed from. However, if the United States or an officer or
                agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such entry. THE NOTICE
                MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST DAY OF THE APPEAL
                PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are discussed below.

      (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days after
                the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends later.”

      (c)       Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of a type
                specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last such timely
                filed motion.

      (d)       Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice of
                appeal. Under Rule 4(a)(5), the time may be extended if a motion for an extension is filed within 30 days after expiration of the
                time otherwise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the
                time may be extended if the district court finds upon motion that a party did not timely receive notice of the entry of the judgment
                or order, and that no party would be prejudiced by an extension.

      (e)       Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the notice
                of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely filing may
                be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which must set forth the
                date of deposit and state that first-class postage has been prepaid.

3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See also
      Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

4.    Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for actions
      in aid of appellate jurisdiction or to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




                                                                        -2-
                                                                    Appx2
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

 ACUFLOOR, LLC,

        Plaintiff,

 v.                                              Case No.: 2:21-cv-802-SPC-KCD

 EVENTILE, INC. and FORPAC,
 LLC,

        Defendants.

                                            /

                         CLAIM CONSTRUCTION ORDER1

        This is a patent case. Plaintiff Acufloor, LLC manufactures, markets,

 and sells ceramic tiles and tools to aid in tile installation. That includes a

 leveling system that helps tile installers produce flat floors and walls. The

 Acufloor System includes leveling spacers and wedges like these:




 1 Disclaimer: Papers hyperlinked to CM/ECF may be subject to PACER fees. By using
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 or their services or products, nor does it have any agreements with them. The Court is not
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            Case: 23-1887
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 Acufloor accuses Defendants Eventile, Inc. and Forpac, LLC of infringing

 patents it owns relating to the Acufloor System.

       The parties disagree on the meanings of some parts of the patent claims.

 The disputed claims fall into three categories: terms describing the leveling

 spacer, terms describing the wedge, and design patent drawings. The Court

 has carefully considered the parties’ briefs, exhibits, and oral arguments.

                                Legal Standard

       “The purpose of claim construction is to determine the meaning and

 scope of the patent claims asserted to be infringed.” Kaufman v. Microsoft

 Corp., 34 F.4th 1360, 1369 (Fed. Cir. 2022) (cleaned up). “A proper claim

 construction provides a legal standard for the jury to apply[.]” Id. at 1370. But

 “a sound claim construction need not always purge every shred of ambiguity.”

 Bayer Healthcare LLC v. Baxalta Inc., 989 F.3d 964, 977 (Fed. Cir. 2021)

 (citation omitted).

       When construing claims, courts should give terms their “ordinary and

 customary meaning[,]” that is, “the meaning that the term would have to a

 person of ordinary skill in the art in question at the time of the invention[.]”

 Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005). Courts primarily

 look to intrinsic evidence to determine what a person with skill in the art would

 have understood a term to mean. Id. at 1314. That includes the language of

 the claims, the remainder of the specification, and the prosecution history. Id.


                                        2

                                     Appx4
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                            Document 18
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 Extrinsic evidence like expert testimony and dictionary definitions is less

 reliable than intrinsic evidence, so courts should consider extrinsic evidence in

 the context of the intrinsic evidence. Id. at 1319. “If the meaning of a claim

 term is clear from the intrinsic evidence, there is no reason to resort to extrinsic

 evidence.” Seabed Geosolutions (US) Inc. v. Magseis FF LLC, 8 F.4th 1285,

 1287 (Fed. Cir. 2021).

       Courts should not narrow a claim term beyond its plain and ordinary

 meaning unless the intrinsic evidence supports the limitation. Wasica Fin.

 GmbH v. Continental Auto. Sys., Inc., 853 F.3d 1272, 1281 (Fed. Cir. 2017). “If

 the intrinsic record supports several different definitions of a term, the term

 may be construed to encompass all such consistent meanings.” Id.

       I.    Terms describing the leveling spacer

       The parties dispute the proper interpretation of five words or phrases

 used to describe the leveling spacer in U.S. Patent No. 10,513,857 (the ‘857

 Patent) and U.S. Patent 10,704,274 (the ‘274 Patent). The patents claim

 Acufloor’s tile leveling devices and methods of using them. Claim 1 the ‘857

 Patent exemplifies how four of the disputed terms—edge, corner, notch, and I-

 shaped base—are used in the patents, and how they relate to each other:

       A tile leveling device and tile combination comprising:
          a leveling device comprising:
            a body defining an open window,
            an I-shaped base orthogonally coupled to the body, the I-
            shaped base having spaced first, second, third, and fourth


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                                      Appx5
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            bars extending transversely from the body, the spaced first
            and second bars extending to the front and outward of the
            body and the spaced third and fourth bars extending to the
            rear and outward of the body,
            …
            a first notch formed between the first and second bars, and
            a second notch formed between the third and fourth bars;
          a first tile over the first bar, the first tile having a first surface
          opposite a second surface, the first tile having a first corner
          over the first notch, the first corner having contact with
          mortar at the first notch with edge-to-subfloor contact of first
          corner-to-mortar-to-subfloor at the first notch, wherein the
          first surface faces the first bar and the second surface is farther
          from the first bar than the first surface;
          …

 (Doc. 1-2 at 14) (emphasis added).

             a. Edge, corner, and notch

       A single issue underlies the disputes about the meanings of edge, corner,

 and notch. Defendants argue the device claimed in Acufloor’s patents must

 allow tile-to-mortar contact up to the extreme edge of the tile, and they propose

 constructions designed to make that limitation clear. So under Defendants’

 proposed constructions, the “corner” of a tile is a point, the “edge” of a tile is a

 line, and a “notch” must permit edge-to-mortar-to-subfloor contact. Acufloor

 argues “corner” and “edge” are regions of a tile. It urges the Court not to

 construe the terms but to allow the jury to apply the terms’ plain and ordinary

 meanings. Acufloor proposes a construction of “notch” that does not include

 edge-to-mortar-to-subfloor contact.




                                          4

                                       Appx6
            Case: 23-1887
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       Before deciding the proper constructions of the disputed terms, the Court

 will address the larger underlying issue. During prosecution of the ‘857 and

 ‘274 Patents, the applicants repeatedly distinguished their invention from tile

 spacers in the prior art by showing that only their invention allowed for mortar

 contact all the way to the very edge of the tile. (See, e.g., Doc. 93-6 and Doc.

 93-4 at 9). The prior art allowed mortar to reach an area near the edge of the

 tile, but according to the inventors that was not “edge-to-mortar-to-subfloor

 contact.” (Doc. 93-6 at 14-15). In addition to making this distinction during

 prosecution, the inventors amended Claims 1 and 10 of the ‘857 Patent by

 adding the phrase “with edge-to-subfloor contact at the first notch” and “with

 edge-to-subfloor contact at the second notch.” (Doc. 93-4). The inventors made

 similar additions to Claim 5 of the ‘274 Patent. (Doc. 93-16).

       The prosecution history vindicates Defendants on this point.           The

 inventors relied on mortar-to-tile contact up to the very edge of the tile, rather

 than an area near the very edge, to distinguish their invention from the prior

 art. The inventors made this limitation explicit by adding the phrase “edge-to-

 subfloor contact” to its patent claims. For example, Claim 1 of the ‘857 Patent

 states, “the first corner having contact with mortar at the first notch with edge-

 to-subfloor contact of first corner-to-mortar-to-subfloor at the first notch[.]”

 (Doc. 1-2 at 14). Here, “edge-to-subfloor contact” clarifies that mortar reaches

 the extreme edge of the tile at the corner and over the notch. Similarly, Claim


                                         5

                                      Appx7
            Case: 23-1887
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                            Document 18
                                     101 Page:  82 Filed:
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 5 of the ‘274 Patent clarifies that the notches provide “edge-to-mortar-to-

 subfloor contact[.]” (Doc. 1-4 at 14). Thus, the limitation is not inherent in the

 definitions of “corner” or “notch.”

       Having found that the patents use the term “edge” to state the limitation

 at issue, the Court must choose a construction that most clearly communicates

 the limitation to the jury. Eventile proposes, “the line that is the intersection

 of two plane faces of a tile,” while Forpac proposes, “the line at which a surface

 of a tile terminates.”      Both proposals accurately describe the Court’s

 understanding of the term as used in the patents. The Court finds Forpac’s

 proposal simpler and easier to understand. The Court thus construes the term

 “edge,” when used in the phrases “edge-to-subfloor contact” and “edge-to-

 mortar-to-subfloor contact,” to mean “the line at which a surface of a tile

 terminates.” The Court will not construe “corner,” and it adopts Acufloor’s

 proposed construction of “notch”: “opening intersecting an edge of the base

 through which mortar can penetrate.”

             b. I-shaped base

       The ‘857 Patent describes the bottom portion of the levelling spacer as

 an “I-shaped base having spaced first, second, third, and fourth bars extending

 transversely from the body[.]” Defendants propose similar, but not identical,

 constructions—both include a “thin, elongated central member” with shorter

 bars extending from the ends. They argue the Court should construe “I-shaped


                                         6

                                       Appx8
            Case: 23-1887
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 base” because it is imprecise. The Court disagrees. The term, in the context

 of the claims, is precise enough to communicate that aspect of the invention to

 a jury.

       Defendants also argue that because the notches formed by the trunk and

 crossbars of the base must allow for adequate mortar-to-tile contact, the I-

 shape must have certain general dimensional qualities to fulfill its function.

 But the patent separately requires contact between mortar and tile at the

 notches “with edge-to-subfloor contact[.]” (Doc. 1-2 at 14). The Court finds

 that claim language, as construed above, adequate to describe the required

 functionality of the notches. It would be redundant and confusing to include a

 mortar-to-tile-contact limitation in the construction of “I-shaped base.”

       The term “I-shaped” is susceptible to variations. But “absent a clear

 disavowal or alternative lexicography” by the patentees, they were “free to

 choose a broad term and expect to obtain the full scope of its plain and ordinary

 meaning.” Wasica, 853 F.3d at 1282 (quotation marks and citation omitted).

 The Court declines to adopt a narrowing construction of “I-shaped base.”

             c. The “majority of an area” phrase

       The parties offer competing constructions of this phrase from Claims 1,

 5 and 8 of the ‘274 Patent: “the combination of the first notch and the second

 notch providing a majority of an area of tile-to-mortar-to-subfloor contact for

 the tile leveling device within the bounds of the base” (the “majority of an area”


                                         7

                                      Appx9
            Case: 23-1887
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                            Document 18
                                     101 Page:  84 Filed:
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 phrase). (Doc. 1-4 at 14-15). Acufloor argues the phrase describes the size of

 the notches in comparison to other openings, while Defendants assert it

 describes the size of the notches in relation to the solid portions of the base.

       Acufloor points to the prosecution history to support its proposed

 construction. But the document it cites favors Defendants. In an August 13,

 2018 response and request for continued examination, the applicants added

 the “majority of an area” phrase to their claims and used the phrase to

 distinguish their invention from the prior art. The prior art device at issue had

 openings in its base that allowed mortar to spread over the transverse member

 of the base and adhere the tile to the transverse member. The notches in the

 claimed device, on the other hand, allowed for a larger area of uninterrupted

 subfloor-to-mortar-to-tile contact. In the words of the applicants, the claimed

 design allowed “more adhesive to penetrate the opening and extend over a

 greater surface area of the tiles” than the prior art. (Doc. 86-10 at 25). The

 applicants gave no indication they contemplated other openings when adding

 the “majority of an area” phrase.

       The prosecution history thus confirms Defendants’ interpretation of the

 “majority of an area” phrase. The limitation distinguishes Acufloor’s device

 from the prior art because the Accufloor design allows a relatively large area

 of direct contact between subfloor, mortar, and tile. Defendants submitted

 different proposed constructions in their briefs, but at the hearing Eventile


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                                     Appx10
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 accepted Forpac’s construction. The Court thus construes the “majority of an

 area phrase” to mean “the notches in the base collectively span an area that is

 larger than the solid portions of the base.”

       II.   Terms describing the wedge

       The parties have four disputes over the claim language describing

 Acufloor’s wedge device.

             a. “backstop member”

       All four of Acufloor’s utility patents use the phrase “backstop member.”

 The ‘857 and ‘274 Patents claim “a wedge device comprising: a backstop

 member, and a wedge member extending from the backstop member…” (Doc.

 1-2 at 14; Doc. 1-4 at 14). U.S. Patents 10,501,947 (the ‘947 Patent) and

 10,704,271 (the 271 Patent) are a bit more descriptive. They claim as part of

 a wedge device “a backstop member; a body having an attachment end, a

 penetrating end, a top, and a bottom, the attachment end being coupled to the

 backstop member…” (Doc. 1-1 at 13; Doc. 1-3 at 13).

       Acufloor argues the plain and ordinary meaning of “backstop member”

 applies, so the Court need not construe it. Eventile proposes this construction:

 “a structure distinct from the wedge member that extends laterally outward

 from the rear of the wedge member to provide additional surface area for

 pushing the wedge device.”      (Doc. 94 at 26).   Forpac’s proposal is almost

 identical to Eventile’s.


                                         9

                                     Appx11
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        Defendants claim their proposed construction will clarify three

  properties of the backstop member. First, it states the backstop member is a

  distinct structure, not merely the rear face of the wedge. That element of the

  proposed construction is unnecessary. The term “backstop member” itself

  communicates that it is more than just a rear surface. That the claims identify

  the backstop member as an independent component of the wedge device makes

  it even more clear.

        Second, Defendants’ proposed construction expressly includes the

  limitation that the backstop member “extends laterally outward.” Most of the

  embodiments disclosed in the patents include a backstop that increases the

  surface area of the rear of the wedge device, but not all of them do. Figures 11

  and 15 of the ‘947 Patent show backstop members that appear flush with the

  back of the wedge. (Doc. 1-1 at 8-9). Claim 8 of the ‘947 Patent also favors

  Acufloor: “The wedge device as recited in claim 1, wherein the backstop

  member has a larger surface area than the attachment end.” (Id. at 12). If the

  inventors considered a backstop member inherently oversized, Claim 8 would

  have been unnecessary. Defendants have not provided sufficient evidence to

  support this limitation.

        Third, Defendants propose the Court include the function of the backstop

  member—“to      provide    additional   surface   area   for   pushing”—in   the

  construction.   But as established above, the backstop member does not


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                                      Appx12
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  necessarily increase the rear surface area of the wedge device. What is more,

  this explanation is unnecessary. Any juror with a basic understanding of the

  Acufloor system will understand that the user applies force to the backstop

  member.

        The Court will not construe “backstop member.”

              b. The wedge device preamble

        Claims 9 and 10 of the ‘947 Patent and Claim 1 of the ‘271 Patent begin

  with this preamble: “A wedge device for a tile leveling device including a clip

  member, the wedge device comprising…” (Doc. 1-1 at 12-13; Doc. 1-3 at 12).

  Eventile asks the Court to construe the preamble as a limitation that “requires

  a wedge device including a clip member.”      (Doc. 94 at 28).   According to

  Accufloor, the preamble merely states an intended use for the wedge device

  and is not limiting.

        To understand this issue, it is important to understand the terms “clip

  member” and “tile leveling device” as used in the patents. Both patents at

  issue here include the following diagram of an example of a clip member:




                                        11

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  (Doc. 1-1 at 4; Doc. 1-3 at 4). And the patents refer to the clip member and the

  wedge device together as a “tile leveling device.” (See, e.g., Doc. 1-3 at 11).

        Preambles are generally not limiting. Summit 6, LLC v. Samsung Elecs.

  Co., Ltd., 802 F.3d 1283, 1292 (Fed. Cir. 2015). That includes “preamble

  language that merely states the purpose or intended use on an invention.” Id.

  (cleaned up). But there are exceptions. A preamble generally is limiting “if it

  recites essential structure or steps, or if it is necessary to give life, meaning,

  and vitality to the claim.” Proveris Scientific Corp. v. Innovasystems, Inc., 739

  F.3d 1367, 1372 (Fed. Cir. 2014) (quotation marks and citation omitted). And

  “when limitations in the body of the claim rely upon and derive antecedent

  basis from the preamble, then the preamble may act as a necessary component




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  of the claimed invention.” Pacing Techs, LLC v. Garmin Int’l, Inc., 778 F.3d

  1021, 1024 (Fed. Cir. 2015) (quotation marks and citation omitted).

        The patents at issue bear hallmarks of a limiting preamble. The bodies

  of each claim include “the penetrating edge being configured to penetrate the

  clip member.” (See, e.g., Doc. 1-3 at 12). The “clip member” mentioned in the

  body of each claim derives an antecedent basis from the preamble. And the

  specifications emphasize the necessity of a clip member even when broadening

  the scope of the patents: “It should be appreciated that although a particular

  clip member is described and illustrated, the wedge device 10 presented herein

  may work with a variety of clip members and the clip member selected will

  depend on a number of manufacturing and design considerations.” (Doc. 1-1

  at 11; Doc. 1-3 at 11).

        That said, the preamble is not limiting in the way Eventile argues.

  Under Eventile’s proposed construction, the preamble “requires a wedge device

  including a clip member.” But the clip member is not part of the wedge device.

  Rather, the wedge device and clip member are separate components of a tile

  leveling device. The ‘947 and ‘271 Patents claim a wedge device, not a tile

  leveling device. The limiting effect of the clip member lies in the design of the

  wedge—the wedge is designed to penetrate a clip member. The clip member is

  not a part of the wedge device, as Eventile’s proposed construction implies.

  Because the body of each claim includes the limitation “the penetrating edge


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  being configured to penetrate the clip member,” the preamble phrase does not

  provide any additional limitation.2

         Because the limitation stated in the preamble of each claim is duplicative

  of a limitation in the body, the Court will not construe the preamble. See

  Summit 6, 802 F.3d at 1292.

                c. The “line-of-sight opening” phrase

         Claim 10 of the ‘947 Patent includes the following description of an

  opening in the claimed wedge device: “a line-of-sight opening extending along

  the longitudinal axis and intersecting the longitudinal length from one-third

  (1/3) of the longitudinal length measured from the attachment end to one-third

  (1/3) of the longitudinal length measured from the penetrating edge[.]” (Doc.

  1-1 at 13). Eventile purportedly proposes a construction that merely simplifies

  the limitation for the jury: “a line of sight opening that extends one-third (1/3)

  the distance of the longitudinal length of the wedge device measured starting

  from a point that is 1/3 the distance from the attachment end to a point that is

  one-third (1/3) of the distance from the penetrating edge.” (Doc. 94 at 29).

         Eventile’s proposed construction is not significantly easier to understand

  than the claim language.         But it is much more limiting. Both the claim


  2 This conclusion is consistent with the prosecution history cited by Eventile, wherein the

  examiner found: “The combination of all the elements of the claimed wedge device, in
  particular the wedge device including a clip member, wherein a penetrating edge of the wedge
  being configured to penetrate the clip member is not adequately taught or suggested in the
  cited prior art of record.” (Doc. 94-13 at 7) (emphasis added).


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  limitation and the proposed construction describe a line-of-sight opening in

  relation to points 1/3 the length of the wedge measure from either end.

  Eventile’s proposed construction requires the opening to terminate at the 1/3

  points, while the claim teaches an opening that intersects those points.

  Eventile offers no justification for this additional limitation.

        The Court will not construe the “line-of-sight opening” phrase.

                d. “inclined plane”

        The ‘947 and ‘271 Patents use the term “inclined plane” to describe the

  top surface of the wedge device. Acufloor and Eventile offer slightly different

  constructions.    Acufloor proposes “sloped surface,” and Eventile proposes

  “sloped flat surface.”    Acufloor worries that “flat” undercuts the patents’

  explicit claim of embodiments that include teeth along the top surface of the

  wedge. Eventile argues “sloped flat surface” will ensure the jury understands

  the claims.

        The Court finds that inclusion of the term “flat” would more likely

  confuse than clarify. While “flat” does not necessarily mean “smooth,” a juror

  could perhaps interpret it that way. That risk seems small, but the benefit of

  including “flat” is even smaller. Given the figures in the patents and the

  demonstrative evidence likely to be used at trial, a jury will understand that

  the top surface of the claimed wedge device is flat rather than concave or

  convex. The Court construes “inclined plane” as a “sloped surface.”


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        III.   Design patents

        Acufloor accuses Eventile of infringing two design patents, U.S. Design

  Patent No. D832,680 (the ‘680 Design Patent) and U.S. Design Patent No.

  D870,527 (the ‘527 Design Patent). Eventile asks the Court to construe the

  design claims by adopting its proposed written descriptions of the figures.

  Acufloor rejects the need to construe the design claims, and while it contests

  the accuracy of Eventile’s descriptions, it provides no alternative language.

        The Federal Circuit has “proposed that the preferable course ordinarily

  will be for a district court not to attempt to construe a design patent claim” but

  “also emphasized that there are a number of claim scope issues on which a

  court’s guidance would be useful to the fact finder.” Richardson v. Stanley

  Works, Inc., 597 F.3d 1288, 1293 (Fed. Cir. 2010).         Among them “is the

  distinction between the functional and ornamental aspects of a design.” Id.

  That is so because a design patent protects the ornamental design of an article

  and not the functional elements. Id. at 1293-94.

        Acufloor’s design patents claim two designs for wedge devices used in its

  tile leveling system. The wedges are highly functional items, and the patents

  explicitly disclaim certain elements, which are illustrated in the patent with

  broken lines. It would be improper to allow Acufloor to extend the protection

  of its design patents to the functional and disclaimed elements of the wedge

  designs. See id. at 1294. However, the Court declines to adopt Eventile’s list


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  of design elements, might encourage the jury to engage in an improper element

  by element comparison rather than consider the overall design. The Court will

  attempt to avoid that trap by referring the jury to the figures in the patents.

        The Court construes the claim in Design Patent ‘680 as follows: The

  ornamental design for a wedge-shaped device (Fig. 1) with a rectangular

  bottom surface (Fig. 4), right angles where the bottom surface meets the front

  and back surfaces (Fig. 2), a top surface sloped downward from back to front at

  the angle shown in Fig. 2, and smooth areas on the front and back ends of the

  top surface having the sizes and shapes shown in Figs. 1, 2, and 3. The wedge

  has a vertical opening as shown in Fig. 4. The existence of the opening is not

  part of the protected design, but the shape of the opening is. The rectangular

  backstop at the rear of the wedge and the teeth along the top surface—both of

  which are depicted in the figures with broken lines—are not part of the

  protected design.

        Likewise, the Court construes the claim in Design Patent ‘527 as follows:

  The ornamental design for a wedge-shaped device (Fig. 1) with a rectangular

  bottom surface (Fig. 4), right angles where the bottom surface meets the front

  and back surfaces (Fig. 2), a top surface with a smooth and level area at the

  back having the size and shape shown in Figs. 1-3 adjoining a larger area

  sloped downward from back to front at the angle shown in Fig. 2, and a smooth

  front end of the sloped top surface having the size and shape shown in Figs. 1-


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  3. The wedge has a vertical opening as shown in Figs. 3-4. The existence of

  the opening is not part of the protected design, but the shape of the opening is.

  The shelf protruding from the bottom rear part of the wedge and the teeth

  along the top surface—both of which are depicted in the figures with broken

  lines—are not part of the protected design.

        DONE and ORDERED in Fort Myers, Florida on November 21, 2022.




  Copies: All Parties of Record




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 c12)   United States Patent                                                (IO) Patent No.:                                     US 10,501,947 B2
        Bunch et al.                                                        (45) Date of Patent:                                            Dec. 10, 2019

 (54)   WEDGE DEVICE FOR LEVELING TILES                                (56)                                    References Cited
        AND CLIP SET FOR USE OF SAME
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                   Joshua A. Bunch, Keller, TX (US)                            0268,804 S                        5/1983         Bacon
                                                                               0269,495 S                        6/1983         Finn
 (72)   Inventors: Clinton D. Bunch, Keller, TX (US);                          0271,559 S                       11/1983         Reimann et al.
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 (65)                  Prior Publication Data
                                                                                                   FOREIGN PATENT DOCUMENTS
        US 2019/0063084 Al           Feb. 28, 2019
                                                                       CA                             2892352 Al * 11/2016                  .......... E04F 21/0092
                 Related U.S. Application Data
                                                                       FR                             2625244 Al * 6/1989                                E04B 2/821
 (60)   Provisional application No. 62/551,946, filed on Aug.
                                                                      Primary Examiner - Jessie T Fonseca
        30, 2017.
                                                                      (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
 (51)   Int. Cl.                                                      Bergen LLP
        E04F 21100              (2006.01)
        E04F 21118              (2006.01)                              (57)                                            ABSTRACT
        E04F 13/08              (2006.01)                             A wedge device for leveling tiles and a clip set for use of the
        E04F 21122              (2006.01)                             same are disclosed. In one embodiment of the wedge device,
        E04F 15102              (2006.01)                             the wedge device includes a body having an attachment end,
 (52)   U.S. Cl.                                                      a penetrating edge, a top, and a bottom. The attachment end
        CPC ...... E04F 2110092 (2013.01); E04F 13/0892               is coupled to a backstop member and the penetrating edge is
                 (2013.01); E04F 15/02022 (2013.01); E04F             configured to penetrate the clip member. The body includes
                   2111877 (2013.01); E04F 21122 (2013.01)            an inclined plane tapering from the attachment end to the
 (58)   Field of Classification Search                                penetrating edge. A line-of-sight opening extends along a
        CPC . E04F 21/0092; E04F 15/02022; E04F 21/22;                longitudinal axis of the body to provide visibility through
                        E04F 13/0892; E04F 21/1877; E04F              the body from the top to the bottom.
                                                     21/1844
        See application file for complete search history.                                           10 Claims, 6 Drawing Sheets



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                                                                 Fig.1A




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                                      Fig.2A             s




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                                      Fig.2B             s




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                                      Fig.4




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                                      Fig.5



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         177           184
                                      Fig.16




                                        Appx77
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                                                      US 10,501,947 B2
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        WEDGE DEVICE FOR LEVELING TILES                                   FIG. 2A is a side view, in partial cross-section, of the tile
          AND CLIP SET FOR USE OF SAME                                 leveling device with the wedge device presented in FIG. 1
                                                                       during installation of tile;
      PRIORITY STATEMENT & CROSS-REFERENCE                                FIG. 2B is a side view, in partial cross-section, of the tile
                 TO RELATED APPLICATIONS                             5 leveling device with the wedge device presented in FIG. 1
                                                                       during installation of tile as the installation advances beyond
     This application claims the benefit of U.S. Patent Appli-         FIG. 2A;
  cation No. 62/551,946, entitled "Wedge Device for Leveling
                                                                          FIG. 3A is a top plan view of the tile leveling device with
  Tiles and Clip Set for Use of Same" and filed on Aug. 30,
                                                                       the wedge device presented in FIG. 2A during installation of
  2017, in the names of Clinton D. Bunch and Joshua A.
                                                                    10 tile;
  Bunch; which is hereby incorporated by reference for all
  purposes.                                                               FIG. 3B is a top plan view of the tile leveling device with
                                                                       the wedge device presented in FIG. 2B during installation of
          TECHNICAL FIELD OF THE INVENTION                             tile;
                                                                          FIG. 4 is a top perspective view of the tile leveling device
     This invention relates, in general, to tile installation and, 15 with the wedge device presented in FIG. 2B during instal-
  in particular, to a wedge device for leveling tiles and a clip       lation of four tiles;
  set for use of the same that properly levels tiles during the           FIG. 5 is a top perspective view of the tile leveling device
  installation thereof.                                                with the wedge device presented in FIG. 2B during instal-
                                                                       lation of three tile;
            BACKGROUND OF THE INVENTION                             20    FIG. 6 is a right-side elevation view of the wedge device
                                                                       presented in FIG. 1, where the wedge device has left-right
     Tile has become a popular decorative and functional               symmetry;
  article for use in floors, walls, countertops, and the like. Both       FIG. 7 is a top plan view of the wedge device presented
  professional tile installers and do-it-yourselfers spend a           in FIG. 1;
  great deal of time aligning and leveling tiles as they are 25           FIG. 8 is a bottom plan view of the wedge device
  being placed on a substrate's surface. Proper aligmnent and          presented in FIG. 1;
  leveling of each tile is important for a number of reasons.             FIG. 9 is a front elevation view of the wedge device
  Improper installation can cause the need for tiles to be             presented in FIG. 1;
  replaced in order to prevent a spacing error from propagat-             FIG. 10 is a rear elevation view of the wedge device
  ing across the substrate, aesthetic reasons, and in some 30 presented in FIG. 1;
  instances, safety concerns. A need exists for a wedge for               FIG. 11 is a front perspective view of another embodiment
  leveling tiles and clip set for use of the same that properly        of a wedge device, according to the teachings presented
  spaces tiles during the installation thereof.                        herein;
                                                                          FIG. 12 is a top plan view of the wedge device presented
               SUMMARY OF THE INVENTION                             35 in FIG. 11;
                                                                          FIG. 13 is a front perspective view of another embodi-
     It would be advantageous to achieve a device for leveling         ment of a wedge device, according to the teachings pre-
  and aligning tiles and properly spacing tiles. It would also be      sented herein;
  desirable to enable a mechanical-based solution that fur-               FIG. 14 is a top plan view of the wedge device presented
  nishes an inexpensive tool that assists professional tile 40 in FIG. 13;
  installers and do-it-yourselfers. To better address one or              FIG. 15 is a front perspective view of another embodi-
  more of these concerns, in one aspect of the invention, a            ment of a wedge device, according to the teachings pre-
  wedge device for leveling tiles and a clip set for use of the        sented herein; and
  same are disclosed. In one embodiment of the wedge device,              FIG. 16 is a top plan view of the wedge device presented
  the wedge device includes a body having an attachment end, 45 in FIG. 14.
  a penetrating edge, a top, and a bottom. The attachment end
  is coupled to a backstop member and the penetrating edge is                      DETAILED DESCRIPTION OF THE
  configured to penetrate the clip member. The body includes                                     INVENTION
  an inclined plane tapering from the attachment end to the
  penetrating edge. A line-of-sight opening extends along a 50            While the making and using of various embodiments of
  longitudinal axis of the body to provide visibility through          the present invention are discussed in detail below, it should
  the body from the top to the bottom. These and other aspects         be appreciated that the present invention provides many
  of the invention will be apparent from and elucidated with           applicable inventive concepts which can be embodied in a
  reference to the embodiments described hereinafter.                  wide variety of specific contexts. The specific embodiments
                                                                    55 discussed herein are merely illustrative of specific ways to
         BRIEF DESCRIPTION OF THE DRAWINGS                             make and use the invention, and do not delimit the scope of
                                                                       the present invention.
     For a more complete understanding of the features and                Referring initially to FIG. lA and FIG. lB, therein is
  advantages of the present invention, reference is now made           depicted one embodiment of a wedge device schematically
  to the detailed description of the invention along with the 60 illustrated and generally designated 10. The wedge device
  accompanying figures in which corresponding numerals in              10 is utilized with a clip member 12 and the wedge device
  the different figures refer to corresponding parts and in            10 and the clip member 12 are utilized, in combination, as
  which:                                                               part of a tile leveling device 14 to align and level two, three,
     FIGS. lA and lB are front perspective views, when taken           or four tiles, for example. The wedge device 10 includes a
  together, form one embodiment of a wedge device for a tile 65 body 16 having an attachment end 18, a penetrating edge 20,
  leveling device including a clip member, according to the            a top 22, and a bottom 24. The attachment end 18 is coupled
  teachings presented herein;                                          to a backstop member 26 and the penetrating edge 20 is



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  configured to penetrate the clip member 12. The body 16                tion I in FIG. 5. Tile installers need to be able to see the tile
  includes an inclined plane 28 tapering from the attachment             intersections to make sure proper alignment is achieved and
  end 18 to the penetrating edge 20. A line-of-sight opening 30          spacing is even. As shown in FIG. 4 and FIG. 5, the use of
  extends longitudinally along the body 16. Teeth 32 are                 the wedge device 10 having the line-of-sight opening 30
  positioned along the inclined plane 28 in order to latch onto 5 with the tile leveling device 12 creates a window providing
  the clip member 12 as will be described in further detail              the visual contact VC that allows the tile leveling device 12
  hereinbelow.                                                           to be placed at comers or with three or four tiles, for
      In one embodiment, the clip member 12 includes an                  example. Further, as shown, the tile installer is able to
  inverted U-shaped body 40 defining an open window 42                   maintain visual contact with the intersections I.
  between two stems 44, 46 of the inverted U-shaped body 40. 10             It is advantageous to an installer to be able to use only one
  An I-shaped base 48 is orthogonally coupled to the inverted            tile leveling device 12 at the intersection I, instead of three
  U-shaped body 40 such that four spaced bars 50, 52, 54, 56             or four clips, in order to save time and increase productivity.
  extend transversely from the inverted U-shaped body 40.                Additionally, with the use of only one tile leveling device 12
  Two breakaway sections 58, 60 are defined along the respec-            at the intersection I, costs are reduced. The window and
  tive two stems 44, 46 of the inverted U-shaped body 40. The 15 visual contact afforded by the wedge device 10 saves time
  open window 42 includes an upper edge 62. It should be                 and money over existing wedge and clip systems by per-
  appreciated that although a particular clip member is                  mitting a minimum number of components to be utilized and
  described and illustrated, the wedge device 10 presented               permitting continual visual contact at important intersec-
  herein may work with a variety of clip members and the clip            tions.
  member selected will depend on a number of manufacturing 20               Referring now to FIG. 6 through FIG. 10, as previously
  and design considerations.                                             discussed, in one embodiment, the wedge device 10 includes
      Referring now to FIG. 2A, FIG. 2B, FIG. 3A, and FIG.               the body 16 having the attachment end 18, the penetrating
  3B, in one operational implementation, the tile leveling               edge 20, the top 22, and the bottom 24. The attachment end
  device 14 may be used to align two, three or four tiles. As            18 is coupled to the backstop member 26 and the penetration
  shown in FIG. 2A and FIG. 3A, the clip member 12 is 25 edge 20 is configured to penetrate the clip member 12 as
  positioned on a subsurface, such as a floor F having tile              described above. The body 16 includes the inclined plane 28
  mortar Min space S thereon, and four tiles T 1 , T 2 , T 3 , T4 ,      tapering from the attachment end 18 to the penetrating edge
  are placed and positioned thereon. The wedge device 10 is              20. The body 16 may also include a longitudinal axis 70
  aligned to be inserted into the clip member 12. The backstop           from the attachment end 18 to the penetrating edge 20. The
  member 26 of the wedge device 10 provides a push area for 30 longitudinal axis 70 may have a longitudinal length 72 as
  fingers or a thumb and an enhanced sized that furnishes more           indicated by the one-eighth marks 74. In one embodiment,
  leverage during use.                                                   the line-of-sight opening 30 extends along the longitudinal
      As shown in FIG. 2B and FIG. 3B, as the wedge device               axis 70 and intersects the longitudinal length 72 from
  10 is inserted, the inclined plane 28 of the wedge device 10           one-eighth (1/s) of the longitudinal length 72 measured from
  penetrates the open window 42 contacting the upper edge 62 35 the attachment end 18 to one-eighth (1/s) of the longitudinal
  thereof and creating a latch. A finger or a thumb, for                 length 72 measured from the penetrating edge 20. As pre-
  example, presses against the backstop member 26 of the                 viously discussed, the line-of-sight opening 30 provides
  wedge device 10 continually driving the wedge device 10                visibility through the body 16 from the top 22 to the bottom
  deeper into the clip member 12. As the wedge device 10                 24.
  advances, the resulting force is exerted against tiles Ti, T2 , 40        Referring now to FIG. 11 and FIG. 12, in another embodi-
  T 3 , T4 pressing the tiles Ti, T2 , T 3 , T4 against the bars 50, 52, ment, the wedge device 10 includes a body 86 having an
  54, 56 wherein breakaway sections 58, 60 are located                   attachment end 88, a penetrating edge 90, a top 92, and a
  beyond the undersurfaces of the tiles T 1 , T 2 , T 3 , T4 in a        bottom 94. The attachment end 88 is coupled to a backstop
  direction away from the bars 50, 52, 54, 56. The teeth 32              member 96, which is slightly oversized with respect to the
  prevent the wedge device 10 from slipping out of the open 45 attachment end 88, and the penetrating edge 90 is configured
  window 42 of the clip member 12 during penetration                     to penetrate the clip member 12. The body 86 includes an
  thereof. The application of force from the use of the tile             inclined plane 98 tapering from the attachment end 88 to the
  leveling device 14 causes the tiles T 1 , T 2 , T 3 , T4 to be level.  penetrating edge 90. The body 86 may also include a
  Following the leveling, the breakaway sections 58, 60 may              longitudinal axis 100 from the attachment end 88 to the
  be broken to remove the wedge device 10 and a portion of 50 penetrating edge 90. The longitudinal axis 100 may have a
  the clip member 12. During use, the line-of-sight opening 30           longitudinal length 102, which in this embodiment includes
  that extends longitudinally along the body 16 of the wedge             marks 104 indicating one-third increments. A line-of-sight
  device 10 provides visibility and visual contact VC through            opening 106 extends along the longitudinal axis 100 and
  the body 16 from the top 22 to the bottom 24 of the wedge              intersects the longitudinal length 102 from one-third (1/2) of
  device 10. This permits a user of the wedge device 10 and 55 the longitudinal length 102 measured from the attachment
  the tile leveling device 14 to maintain visual contact VC              end 88 to one-third (1/3) of the longitudinal length 102
  with the tiles T 1 , T 2 , T 3 , T4 during the leveling operation,     measured from the penetrating edge 90. As previously
  thereby improving efficiency and performance.                          discussed, the line-of-sight opening 106 provides visibility
      Referring now to FIG. 4 and FIG. 5, the wedge device 10            through the body 86 from the top 92 to the bottom 94. A
  and the tile leveling device 12 presented in FIG. 2B during 60 partition member 108 traverses the line-of-sight opening 106
  installation of four tiles (T 1 , T 2 , T3 , T4 having an intersection defining opening 110 and opening 112. The openings 110
  I in FIG. 4) and three tiles (Ti, T 2 , T3 having the intersection     and 112 form a partition of line-of-sight opening 106.
  I in FIG. 5). One of the main drawbacks of traditional wedge              It should be appreciated that the extension of the line-of-
  and clip systems is the clips cannot be placed in the                  sight opening 106 may vary from application to application.
  intersections without interfering with one of the most impor- 65 By way of example, as illustrated in FIGS. 9 and 10, the
  tant factors to tile installers; namely, visual contact with the       line-of sight opening 106 may extend along the longitudinal
  intersections, such as intersection I in FIG. 4 and intersec-          axis 100 and intersect the longitudinal length 102 from



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  one-eighth of the longitudinal length 102 measured from the           While this invention has been described with reference to
  attachment end 88 to one-eighth (1/s) of the longitudinal         illustrative embodiments, this description is not intended to
  length 102 measured from the penetrating edge 90. By way          be construed in a limiting sense. Various modifications and
  of further example, the line-of sight opening 106 may extend      combinations of the illustrative embodiments as well as
  along the longitudinal axis 100 and intersect the longitudinal 5 other embodiments of the invention, will be apparent to
  length 102 from one-sixth (1/4,) or one-quarter (¼), for          persons skilled in the art upon reference to the description.
  example, of the longitudinal length 102 measured from the         It is, therefore, intended that the appended claims encompass
  attachment end 88 to a respective one-sixth (1/6) or one-         any such modifications or embodiments.
  quarter (¼), for example, of the longitudinal length 102              What is claimed is:
                                                                 10     1. A wedge device for a tile leveling device including a
  measured from the penetrating edge 90.
                                                                    clip member, the wedge device comprising:
     Referring now to FIG. 13 and FIG. 14, in another embodi-
                                                                        a backstop member;
  ment, the wedge device 10 includes a body 116 having an
                                                                        a body having an attachment end, a penetrating edge, a
  attachment end 118, a penetrating edge 120, a top 122, and               top, and a bottom, the attachment end being coupled to
  a bottom 124. The attachment end 118 is coupled to a 15                  the backstop member, the penetrating edge being con-
  backstop member 126, which is substantially flush with the               figured to penetrate the clip member, the penetrating
  attachment end 118, and the penetrating edge 120 is con-                 edge being continuous the entire width of the body;
  figured to penetrate the clip member 12. The body 116                 the body including an inclined plane tapering from the
  includes an inclined plane 128 tapering from the attachment              attachment end to the penetrating edge;
  end 118 to the penetrating edge 120. Wall members 130, 132 20         the body including a longitudinal axis from the attach-
  secure the inclined plane 128, which may include inclined                ment edge to the penetrating edge, the longitudinal axis
  plane member 134 and inclined plane member 136, to the                   having a longitudinal length; and
  body 116. The body 116 may also include a longitudinal axis           a line-of-sight opening extending along the longitudinal
  138 from the attachment end 118 to the penetrating edge                  axis and intersecting the longitudinal length from one-
  120. The longitudinal axis 138 may include a longitudinal 25             eighth (1/s) of the longitudinal length measured from
  length 140 having a midpoint 142 and a mediolateral axis                 the attachment end to one-eighth (1/s) of the longitudi-
  144 bisecting the midpoint 142 creating a longitudinal                   nal length measured from the penetrating edge, the
  length segment 146 and a longitudinal length segment 148.                line-of-sight opening providing visibility through the
  A line-of-sight opening 150 extends along the longitudinal               body from the top to the bottom, the line-of-sight
  axis 138 and intersects the longitudinal length segment 146 30           opening sized to provide a user of the wedge device
  and the longitudinal length segment 148. As previously                   visual contact with tiles during a leveling operation.
  discussed, the line-of-sight opening 150 provides visibility          2. The wedge device as recited in claim 1, further com-
  through the body 116 from the top 122 to the bottom 124.          prising teeth disposed along the inclined plane, the teeth
     Referring now to FIG. 15 and FIG. 16, in another embodi-       latch onto an upper edge of an insertion space in the clip
  ment, the wedge device 10 includes a body 166 having an 35 member.
  attachment end 168, a penetrating edge 170, a top 172, and            3. The wedge device as recited in claim 1, further com-
  a bottom 174. The attachment end 168 is coupled to a              prising a partition member traversing the opening.
  backstop member 176 and the penetrating edge 170 is                   4. The wedge device as recited in claim 1, further com-
  configured to penetrate the clip member 12. The backstop          prising a crossbar member traversing the opening.
  member 176 may include a flange 177 that extends there- 40            5. The wedge device as recited in claim 1, wherein the
  from to provide a contact surface for tool engagement. The        body including the inclined plane tapering from the attach-
  body 166 includes an inclined plane 178 tapering from the         ment end to the penetrating edge further comprises a wall
  attachment end 168 to the penetrating edge 170. Wall              member coupled to the body.
  members 180, 182 secure the inclined plane 178, which may             6. The wedge device as recited in claim 1, wherein the
  include inclined plane member 184 and inclined plane 45 line-of-sight opening intersects the inclined plane.
  member 186, to the body 166. The body 166 may also                    7. The wedge device as recited in claim 1, wherein the
  include a longitudinal axis 188 from the attachment end 168       line-of-sight opening is subjacent to the inclined plane.
  to the penetrating edge 170. The longitudinal axis 188 may            8. The wedge device as recited in claim 1, wherein the
  include a longitudinal length 190 having a midpoint 192 and       backstop member has a larger surface area than the attach-
  a mediolateral axis 194 bisecting the midpoint 192 creating 50 ment end.
  a longitudinal length segment 196 and a longitudinal length           9. A wedge device for a tile leveling device including a
  segment 198. A line-of-sight opening 200 extends along the        clip member, the wedge device comprising:
  longitudinal axis 188 and intersects the longitudinal length          a backstop member;
  segment 196 and the longitudinal length segment 198. As               a body having an attachment end, a penetrating edge, a
  previously discussed, the line-of-sight opening 200 provides 55          top, and a bottom, the attachment end being coupled to
  visibility through the body 166 from the top 172 to the                  the backstop member, the penetrating edge being con-
  bottom 174. Crossbar members 202, 204 traverse the line-                 figured to penetrate the clip member, the penetrating
  of-sight opening 200 within the body 166.                                edge being continuous the entire width of the body;
     The order of execution or performance of the methods and           the body including an inclined plane tapering from the
  techniques illustrated and described herein is not essential, 60         attachment end to the penetrating edge;
  unless otherwise specified. That is, elements of the methods          the body including a longitudinal axis from the attach-
  and techniques may be performed in any order, unless                     ment edge to the penetrating edge, the longitudinal axis
  otherwise specified, and that the methods may include more               having a longitudinal length;
  or less elements than those disclosed herein. For example, it         the longitudinal length including a midpoint and a medio-
  is contemplated that executing or performing a particular 65             lateral axis bisecting the midpoint creating a first lon-
  element before, contemporaneously with, or after another                 gitudinal length segment and a second longitudinal
  element are all possible sequences of execution.                         length segment; and



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     a line-of-sight opening extending along the longitudinal
        axis and intersecting the first longitudinal length seg-
        ment and the second longitudinal length segment, the
        line-of-sight opening providing visibility through the
        body from the top to the bottom, the line-of-sight 5
        opening sized to provide a user of the wedge device
        visual contact with tiles during a leveling operation.
     10. A wedge device for a tile leveling device including a
  clip member, the wedge device comprising:
     a backstop member;                                          10
     a body having an attachment end, a penetrating edge, a
        top, and a bottom, the attachment end being coupled to
        the backstop member, the penetrating edge being con-
        figured to penetrate the clip member, the penetrating
        edge being continuous the entire width of the body;      15
     the body including an inclined plane tapering from the
        attachment end to the penetrating edge;
     the body including a longitudinal axis from the attach-
        ment edge to the penetrating edge, the longitudinal axis
        having a longitudinal length; and                        20
     a line-of-sight opening extending along the longitudinal
        axis and intersecting the longitudinal length from one-
        third (1/3) of the longitudinal length measured from the
        attachment end to one-third (1/2) of the longitudinal
        length measured from the penetrating edge, the line- 25
        of-sight opening providing visibility through the body
        from the top to the bottom, the line-of-sight opening
        sized to provide a user of the wedge device visual
        contact with tiles during a leveling operation.
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                                                           Appx81
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  c12)   United States Patent                                                (IO) Patent No.:                 US 10,513,857 B2
         Bunch et al.                                                        (45) Date of Patent:                       Dec. 24, 2019

  (54)   DEVICE FOR LEVELING AND ALIGNING                               (58)         Field of Classification Search
         TILES AND METHOD FOR LEVELING AND                                           CPC ... E04F 21/0092; E04F 21/22; E04F 21/1844;
         ALIGNING TILES                                                                              E04F 21/1877; E04F 13/0892; E04F
                                                                                                                   15/02005; E04F 21/20
  (71)   Applicants:Clinton D. Bunch, Keller, TX (US);                               See application file for complete search history.
                    Joshua A. Bunch, Keller, TX (US)
                                                                        (56)                      References Cited
  (72)   Inventors: Clinton D. Bunch, Keller, TX (US);
                    Joshua A. Bunch, Keller, TX (US)                                        U.S. PATENT DOCUMENTS

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                                                                                                        (Continued)
  (21)   Appl. No.: 16/102,207
                                                                                         FOREIGN PATENT DOCUMENTS
  (22)   Filed:       Aug. 13, 2018                                     AU                 2012101175          8/2012

  (65)                  Prior Publication Data
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                                                                        Pearl Abrasive Co., Tuscan Leveling System, www.pearlabrasive.
                  Related U.S. Application Data                         com.
  (63)   Continuation of application No. 15/345,802, filed on                                           (Continued)
         Nov. 8, 2016, now Pat. No. 10,047,530, which is a
         continuation of application No. 15/044,907, filed on           Primary Examiner - Babajide A Demuren
         Feb. 16, 2016, now Pat. No. 9,487,959, which is a              (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
         continuation-in-part of application No. 13/859,316,            Bergen LLP
         filed on Apr. 9, 2013, now Pat. No. 9,260,872.
                                                                        (57)                        ABSTRACT
  (51)   Int. Cl.                                                       A device for leveling and aligning tiles and method for
         E04F 21120             (2006.01)                               leveling and aligning tiles are disclosed. In one embodiment,
         E04F 21122             (2006.01)                               the leveling device includes a body and two spaced and
         E04F 21118             (2006.01)                               parallel strip members extending transversely from the body.
         E04F 21100             (2006.01)                               Each of the spaced and parallel strip members extend to the
         E04F 13/08             (2006.01)                               front and rear of the body. Two opposing lateral open
         E04F 15/02             (2006.01)                               windows are formed in the body. A breakaway section is
  (52)   U.S. Cl.                                                       defined along the body. A wedge device is provided for
         CPC .......... E04F 21120 (2013.01); E04F 2110092              penetrating one or more of the two opposing lateral open
                   (2013.01); E04F 2111844 (2013.01); E04F              windows and exerting a force on the tiles for leveling them
                   2111877 (2013.01); E04F 21122 (2013.01);             relative to each other.
                     E04F 13/0892 (2013.01); E04F 15/02005
                                                  (2013.01)                                 17 Claims, 7 Drawing Sheets




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                                                                Fig.4



                                                               Appx83
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        Fig.1B          52




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                                        Fig.2

                                        Appx85
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                               10
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          Fig.6 ®



          92                                           M
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                               10

          Fig.7



                                                       M




          Fig.8




                                                            Fig.9



                               18             M



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                              Fig.10




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                                                           126



    160




                       Fig.11B




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          112<....._




                                          Fig.12

                                          Appx89
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                                      204




                                             ~200




         Fig.13

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                                                     206
   216




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                                                       Fig.14



                                                                        207
                                                       216                  210




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                                                                  Fig.15
                 132

                                                                   130




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                       124                    232                 124


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           122--.._




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                      128                     234                 130
                                             Fig.16



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       DEVICE FOR LEVELING AND ALIGNING                                   In another embodiment, the leveling device includes an
      TILES AND METHOD FOR LEVELING AND                                inverted U-shaped body with an I-shaped base orthogonally
                ALIGNING TILES                                         coupled thereto. An open window is located within the
                                                                       U-shaped body between stems thereof. The I-shaped base
      PRIORITY STATEMENT & CROSS-REFERENCE                           5 has four bars extending transversely from the inverted
                 TO RELATED APPLICATIONS                               U-shaped body and that extend upwards toward the inverted
                                                                       U-shaped body in an arcuate fashion to define respective
     This application is a continuation of co-pending U.S.             four points of contact for two, three, and four tiles. Two
  patent application Ser. No. 15/345,802 entitled "Device for          breakaway sections are respectively defined along the
  Leveling and Aligning Tiles and Method for Leveling and 10 spaced stems of the inverted U-shaped body at the I-shaped
  Aligning Tiles," filed on Nov. 8, 2016, in the names of              bar. In another implementation, a wedge device includes an
  Clinton D. Bunch et al., issued on Aug. 14, 2018 as U.S. Pat.        oversized backstop member and a wedge member extending
  No. 10,047,530; which is a continuation of U.S. patent               from the oversized backstop member. These and other
  application Ser. No.15/044,907 entitled "Device for Level-           aspects of the invention will be apparent from and elucidated
  ing and Aligning Tiles and Method for Leveling and Align- 15 with reference to the embodiments described hereinafter.
  ing Tiles," filed on Feb. 16, 2016, in the names of Clinton D.
  Bunch et al., issued on Nov. 8, 2016 as U.S. Pat. No.                       BRIEF DESCRIPTION OF THE DRAWINGS
  9,487,959; which is a continuation-in-part of U.S. patent
  application Ser. No. 13/859,316 entitled "Device for Level-             For a more complete understanding of the features and
  ing and Aligning Tile and Method for Leveling and Aligning 20 advantages of the present invention, reference is now made
  Tiles," filed on Apr. 9, 2013, in the names of Clinton D.            to the detailed description of the invention along with the
  Bunch and Joshua A. Bunch and issued on Feb. 16, 2016 as             accompanying figures in which corresponding numerals in
  U.S. Pat. No. 9,260,872; all of which are hereby incorpo-            the different figures refer to corresponding parts and in
  rated by reference, in entirety, for all purposes.                   which:
                                                                    25    FIGS. lA and lB are front perspective views of one
          TECHNICAL FIELD OF THE INVENTION                             embodiment of a leveling device with a wedge device
                                                                       according to the teachings presented herein;
     This invention relates, in general, to tile installation and,        FIG. 2 is a side view, in partial cross-section, of the
  in particular to a device for leveling and aligning tiles and        leveling device with the wedge device presented in FIGS.
  properly spacing tiles during the installation thereof.           30 lA and 18;
                                                                          FIGS. 3 through 5 are top plan views showing installa-
            BACKGROUND OF THE INVENTION                                tions of two, three, and four tile using the leveling device
                                                                       and wedge device presented in FIGS. lA, lB, and 2;
     Tile has become a popular decorative and functional                  FIGS. 6 through 8 are side cross-sectional views of one
  article for use in floors, walls, countertops, and the like. Both 35 embodiment of the installation of tile on a floor using the
  professional tile installers and do-it-yourselfers spend a           leveling device and wedge device presented in FIGS. lA,
  great deal of time aligning and leveling tiles as they are           lB, and 2;
  being placed on a substrate's surface. Proper alignment and             FIG. 9 is a front cross-sectional view of the embodiment
  leveling of each tile is important for a number of reasons.          of the installation of tile on a floor or subsurface using the
  Improper installation can cause the need for tiles to be 40 leveling device and wedge device presented in FIGS. lA,
  replaced in order to prevent a spacing error from propagat-          lB, and 2;
  ing across the substrate, aesthetic reasons, and in some                FIG. 10 is a front perspective view of another embodi-
  instances, safety concerns. A need exists for a device for           ment of a leveling device according to the teachings pre-
  leveling and aligning tiles and properly spacing tiles.              sented herein;
                                                                    45    FIGS. llA and llB are front perspective views of one
               SUMMARY OF THE INVENTION                                embodiment of a leveling device with a wedge device
                                                                       according to the teachings presented herein;
     It would be advantageous to achieve a device for leveling            FIG. 12 is a side view, in partial cross-section, of the
  and aligning tiles and properly spacing tiles. It would also be      leveling device with the wedge device presented in FIGS.
  desirable to enable a mechanical-based solution that fur- 50 llAand llB;
  nishes an inexpensive tool that assists professional tile               FIG. 13 is a front perspective view of an alternate
  installers and do-it-yourselfers. To better address one or           embodiment of a leveling device;
  more of these concerns, in one aspect of the invention, a tile          FIG. 14 is a side elevation view of the alternative embodi-
  leveling device and a wedge device for use with tiles are            ment of the leveling device depicted in FIG. 13.
  disclosed. In one embodiment, the leveling device includes 55           FIG. 15 is a front perspective view of a further alternate
  a body and two spaced and parallel strip members extending           embodiment of a leveling device; and
  transversely from the body. Each of the spaced and parallel             FIG. 16 is a bottom plan view of the leveling device
  strip members extend to the front and rear of the body. Two          depicted in FIG. 15.
  opposing lateral open windows are formed in the body. A
  breakaway section is defined along the body.                      60            DETAILED DESCRIPTION OF THE
     In one implementation, a wedge device includes a back-                                     INVENTION
  stop member and a pair of members extending from the
  backstop member. Each of pair of members includes a                     While the making and using of various embodiments of
  tapered surface configured to penetrate the lateral open             the present invention are discussed in detail below, it should
  windows and exerting force against tiles, thereby pressing 65 be appreciated that the present invention provides many
  the tiles against the first and second strip members in order        applicable inventive concepts which can be embodied in a
  to level and align.                                                  wide variety of specific contexts. The specific embodiments



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  discussed herein are merely illustrative of specific ways to         which is indicated by the letter S. By way of example, in the
  make and use the invention, and do not delimit the scope of          two tile installation, the tile 70 is positioned over the front
  the present invention.                                               portions of the strip members 16, 18. The tile 70 has a lower
     Referring initially to FIGS. lA, lB, and 2, therein is            surface 88 opposite an upper surface 90, wherein the lower
  depicted one embodiment of a tile leveling device that is 5 surface 88 faces the strip members 16, 18 and the subsurface
  schematically illustrated and generally designated 10. The           S. The upper surface 90 is farther from the strip members 16,
  tile leveling device 10 and a wedge device 12 are utilized,          18 than the lower surface 88 and faces away from the strip
  in combination, to align and level two, three, or four tiles, for    members 16, 18. The second tile 72 is similarly situated over
  example. The leveling device 10 includes a body 14 and               the rear portions of the strip members 16, 18 and includes a
  spaced and parallel strip members 16, 18 extending trans- 10
                                                                       lower surface 92 and an upper surface 94.
  versely from the body 14. Each of the spaced and parallel
                                                                          Accordingly, a single leveling device 10 and wedge
  strip members 16, 18 extend to the front F and rear R of the
                                                                       device 12 may be utilized to install, align, and level between
  body 14. Lateral open windows 20, 22 having upper edges
  21, 23 are formed in the body 14 and sized to accept a               two and four tiles. The use of the wedge device 12 having
  member having a tapered surface configured to penetrate the 15 two extension members and the two lateral open windows
  respective lateral open windows 20, 22 and exert force               20, 22 provide for utilization at comer tiles; thereby offering
  thereunder. A breakaway section 24 is defined along the              improved efficiency. More particularly, using one leveling
  body 14. The breakaway section 24 may be a frangible                 device for a corner improves efficiency and minimizes the
  section of the body 14 of reduced thickness that would               number of leveling devices required to complete a job.
  promote the breakaway, and thus, separation of the body 14. 20 Additionally, as previously discussed, the arcuate portions of
  An upper bump 26 and a lower bump 28 extend horizontally             the parallel strip members 16, 18 compress and flatten to
  across the body 14. The upper bump 26 being larger and               accommodate different thicknesses of tiles to provide a level
  more pronounced to provide lifting power. A spacing pad 30           surface. In fact, the leveling device and wedge device
  is integral with the body 14 and may vary in thickness               presented herein may simultaneously accommodate between
  depending on the application. The spacing pad 30 contrib- 25 two and four different thicknesses of tiles.
  utes to furnishing a combination of vertical leveling and               Referring now to FIGS. 6 through 9, one example of
  joint spacing within a single product. Moreover, the spacing         installation is shown wherein the tile leveling device 10 is
  pad 30, which may be more generally a spacer, is configured          placed such that one end of the tile 72 sits on the rear
  to position the tiles a predetermined distance apart depend-         portions of the parallel strip members 16, 18 and the tile 72
  ing on the application.                                           30 abuts the body 14 of the leveling device. Such an installation
     The spaced and parallel strip members 16, 18 provide four         methodology may be used for any of the configurations
  points of contact 32, 34, 36, 38 for lift of tiles, while still      shown in FIGS. 3 through 5, for example. By way of
  establishing space for maximum mortar penetration between            illustration, therefore, this example is for the two tile appli-
  the spaced and parallel strip members 16, 18. As shown, the          cation of FIG. 3. The adjacent tile 70 sits on the other side
  spaced and parallel strip members 16, have an arcuate form 35 of the body 14 and across the front portions of the parallel
  wherein the spaced and parallel strip members 16, 18 curve           strip members 16, 18. The extension members, namely
  upwards from the junction with the body 14 to the four               wedge members 52, 54 of the wedge device 12 are then
  points of contact 32, 34, 36, 38. That is, the spaced and            inserted in the respective lateral open windows 20, 22. The
  parallel strip members 16, 18 define convex curvatures 40,           backstop member 50 is then pushed, thereby driving the
  42 that are flexible and compressible for tile installation 40 wedge members 52, 54 to penetrate the respective lateral
  during a leveling and alignment of a tile. The convex                open windows 20, 22.
  curvatures 40, 42 also ensure that tiles of varying thick-              In one embodiment, the wedge device 12 offers an advan-
  nesses may be leveled and aligned. In fact, in the corner            tage over individual wedges as the backstop member 50
  embodiment, four tiles having four varying thicknesses may           provides a wider or broader surface to push. In particular, as
  be leveled and aligned by way of the flexibility and com- 45 shown in FIG. 8, a thumb or finger may be used to drive the
  pressibility of the convex curvatures 40, 42 of the strip            wedge device 12 into the leveling device 10. The ease of
  members 16, 18.                                                      push advantage translates into a more powerful lift because
     The wedge device 12 includes a backstop member 50 and             of the more even distribution of the lifting surface. There-
  two extension members, depicted as wedge members 52, 54              fore, the leveling device 10 and wedge device 12 combina-
  extending from the backstop member 50. The backstop 50 tion provide improved performance, both quantitatively and
  member 50 provides a push area for fingers or a thumb and            qualitatively. With respect to the former, the lateral open
  an enhanced sized that furnishes more leverage during use.           windows 20, 22 in combination with the wedge device 12
  Each of the wedge members 52, 54 include respective                  permit use at corners increasing efficiency and reducing the
  tapered surfaces 56, 58 configured to penetrate the lateral          number of leveling and aligning operations, which leads to
  open windows 20, 22 and exert force against the tiles by 55 faster installation using fewer leveling devices. With respect
  pressing the tiles against the strip members 16, 18. Teeth 60,       to the latter, the improved contact surface provided by the
  62 are located along the tapered surfaces 56, 58 in order to         backstop member 50 minimizes the stress and strain on the
  latch onto the respective upper edges 21, 23 of the opposing         fingers and thumbs.
  lateral open windows 20, 22. In operation, the teeth 60, 62             Additionally, the design of the wedge device 12 discour-
  prevent the respective wedge members 52, 54 from slipping 60 ages the tiles from pivoting by providing two points of
  out of the lateral open windows 20, 22 during penetration            contact with each tile edge. By way of example, on a 12 inch
  thereof. As will be appreciated, the wedge device 12 may             by 12 inch tile, a traditional installation system would
  penetrate the leveling device from the front F or rear R.            require two spacers for each side, for a total of eight spacers,
     Referring now to FIGS. 3 through 5, the tile leveling             in order to stabilize the edges and prevent pivoting. Using
  device may be utilized with two tiles 70, 72 (FIG. 3), three 65 the teachings presented herein, four leveling devices 10 may
  tiles (FIG. 4) 74, 76, 78, or four tiles 80, 82, 84, 86 (FIG. 5)     be used and the optimal eight points of contact would be
  for installation on a substrate, subsurface, or other surface,       maintained.



                                                             Appx93
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     Continuing with the description of FIGS. 6 through 9, in          The wedge device 112 includes an oversized backstop
  one implementation, as these wedge-shaped extension mem-          member 160. A wedge member 162 extends from the
  bers are continually pushed through the lateral open win-         oversized backstop member 160 and includes a tapered
  dows 20, 22 due to the increasing thickness of the wedge          surface 164 that is configured to penetrate the open window
  members 52, 54, the action causes the lower surfaces 88, 92 5 116 and exert force against two, three, or four tiles pressing
  of each of the tiles 70, 72 to be compressed downward             the tiles against the bars 124, 126, 128, 130. The breakaway
  pressing the strip members 16, 18 beneath the tiles 70, 72        sections 140, 142 are located where the ends of the stems
  toward the subsurface S, on which is located mortar M for         118, 120 of the inverted U-shaped body 114 contact the
  bonding the tiles 70, 72 to the subsurface S. As a result, the    I-shaped base 122. Teeth 166 are positioned along the
                                                                 10 tapered surface 164 in order to latch onto the upper edge 148
  tiles 70, 72 are aligned and leveled. The spacing between the
                                                                    of the open window 116.
  tiles is controlled by the thickness of the body and, in one
                                                                       In operation, the leveling device 110 may be used to align
  embodiment, the presence of the spacing pad 30, which may
                                                                    two, three or four tiles and operation is similar to leveling
  more generally be a spacer. Once the tiles 70, 72 are set, the    device 10 and wedge device 12, as previously presented.
  wedge device 12 may be removed and the body 14 is broken 15 Similar to the leveling device presented in FIG. 5, in a
  off by kicking or applying force to the side of the wedge         four-tile embodiment, each tile has corner-to-subfloor con-
  device 12 such that the body 14 is severed at the breakaway       tact due to the notches that provide space for mortar contact
  section 24. As shown in FIG. 9, the application of force by       therein. Similarly, in a two-tile implementation, for example,
  a boot, breaks the body at a break at the breakaway section       each tile has edge-to-subfloor contact due to the notches.
  24. In the illustrated implementation, the breakaway section 20 More particularly, the tapered surface 164 penetrates the
  24 is positioned such that it is located between the surfaces     open window 116 contacting the upper edge 148 thereof and
  88, 90, 92, 94 of the tiles 70, 72. That is, the breakaway        exerting force against both tiles pressing the tiles against the
  section 24 is located at a height within the thickness of the     bars 124, 126, 128, 130, wherein breakaway sections 140,
  installed tiles. In this position, the breakaway section 24 is    142 are located beyond the undersurfaces of the tiles in a
  not exposed to any adhesive that may be used to adhere the 25 direction away from the bars 124, 126, 128, 130. As previ-
  tiles to the subsurface S, which may be a floor or wall, for      ously discussed, the arcuate portions of the parallel strip
  example.                                                          members compress and flatten to accommodate different
     Referring now to FIG. 10, an alternative embodiment of         thicknesses of tiles to provide a level surface. In fact, the
  the tile leveling device 10 includes the body 14 and the          leveling device and wedge device presented herein may
  spaced and parallel strip members 16, 18 extending trans- 30 simultaneously accommodate between two and four differ-
  versely from the body 14. In this embodiment, opposing            ent thicknesses of tiles.
  lateral closed windows 100, 102 are formed in the body 14            Referring now to FIGS. 13 and 14, a tile leveling device
  with each of the opposing lateral closed windows 100, 102         200 for use with a locking subassembly 202 are presented.
  sized to accept a wedge device having wedge members               As shown, the tile leveling device includes a shaft 204 and
  including a tapered surface configured to penetrate the 35 spaced and parallel strip members 206, 208 extend trans-
  respective lateral closed windows 100, 102 and exert force        versely from the shaft 204. The locking subassembly 202 is
  against multiple tiles pressing the tiles against the strip       configured to traverse the shaft and exert force against the
  members 16, 18. Additionally, the breakaway section 24 is         tiles by pressing the tiles against the parallel strip members,
  defined along the body 14. By way of further example, a           similar to the functionality described in previous embodi-
  further embodiment is possible, wherein the leveling device 40 ments. Each of the spaced and parallel strip members extend
  10 would include a lateral open window and a lateral closed       to the front and rear of the shaft 204. As shown, a frangible
  window.                                                           breakaway section is defined along the shaft 204. A spacing
     Referring to FIGS. llA, 11B, and 12, in one embodiment         pad 207, which may be similar to spacing pad 30, may be
  of a tile leveling device 110 and tile combination with a         integral with the shaft 204 and may vary in thickness
  wedge device 112, the tile leveling device 110 includes an 45 depending on the application. The spaced and parallel strip
  inverted U-shaped body 114 defining an open window 116            members 206, 208 provide four points of contact 210, 212,
  between two stems 118, 120 of the inverted U-shaped body          214, 216 for lift of tiles, while still establishing space for
  114. An I-shaped base 122 is orthogonally coupled to the          maximum mortar penetration between the spaced and par-
  inverted U-shaped body 114 such that four spaced bars 124,        allel strip members 206, 208. Convex curvatures 218, 220
  126, 128, 130 extend transversely from the inverted 50 ensure that the tiles of varying thicknesses may be leveled
  U-shaped body 114. In particular, the spaced bars 124, 126        and aligned, including the alignment of up to four tiles of
  extend to the front F of the inverted U-shaped body 114 and       varying thickness.
  the spaced bars 128, 130 extend to the rear R of the inverted        In operation, once the tiles are properly positioned, the
  U-shaped body 114. Each of the bars 124, 126, 128, 130            locking subassembly 202 is secured in its place above the
  extends upward toward the inverted U-shaped body in an 55 tiles and prevented from moving along the shaft 204 before
  arcuate fashion to define respective four points of contact       being driven down to compress the tiles. The shaft 204 may
  132, 134, 136, 138 for two, three, and four tiles.                include a locking surface 222, such as a "zip tie" to enable
     Two breakaway sections 140, 142 are defined along the          movement along the shaft 204 by the locking subassembly
  respective two stems 118, 120 of the inverted U-shaped body       202 in only one direction, i.e., toward the tiles.
  114. Additionally, as shown, a notch 144 is formed between 60        Referring to FIGS. 15 and 16, in one further embodiment
  the bars 124, 126 and a notch 146 is formed between the bars      of the tile leveling device 110 and tile combination with the
  128, 130. The open window 116 includes an upper edge 148.         wedge device 112, the tile leveling device 110 includes the
  An open span 150 is proximally interposed between the             inverted U-shaped body 114 defining the open window 116
  breakaway sections 140, 142 and the open span 150 forms           between two stems 118, 120 of the inverted U-shaped body
  a portion of the open window 116. Spacing pads, such as 65 114. The I-shaped base 122 is orthogonally coupled to the
  spacing pad 152, may be utilized to position the tiles a          inverted U-shaped body 114 such that four spaced bars 124,
  predetermined distance apart, depending on the application.       126, 128, 130 extend transversely from the inverted



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  U-shaped body 114. In particular, the spaced bars 124, 126               an I-shaped base to body coupling including a frangible
  extend to the front F of the inverted U-shaped body 114 and                 breakaway section, the I-shaped base and body being
  the spaced bars 128, 130 extend to the rear R of the inverted               integral prior to frangible separation, the frangible
  U-shaped body 114. Each of the bars 124, 126, 128, 130                      breakaway section, upon breaking, frangibly sepa-
  extends upward toward the inverted U-shaped body in an 5                    rating the body from the I-shaped base,
  arcuate fashion to define respective four points of contact              a first notch formed between the first and second bars,
  132, 134, 136, 138 for two, three, and four tiles.                          and
      As shown, the I-shaped base is intersected by a crossbar             a second notch formed between the third and fourth
  230, which is located between the bars 124, 126 and the bars                bars;
  128, 130. The crossbar 230 may take any shape or form and 10          a first tile over the first bar, the first tile having a first
  may be considered a bi-directional projection, for example.              surface opposite a second surface, the first tile having
  As illustrated, the crossbar 230 includes a bar 232 extending            a first comer over the first notch, the first corner having
  to the front F of the inverted U-shaped body 114 and a bar               contact with mortar at the first notch with edge-to-
  234 extends to the rear R of the inverted U-shaped body 114.             subfloor contact of first comer-to-mortar-to-subfloor at
  The bars 232, 234 may have outwardly extending arcuate 15                the first notch, wherein the first surface faces the first
  portions 236, 238 at the respective ends that compress and               bar and the second surface is farther from the first bar
  flatten to accommodate the thickness. Moreover the bars                  than the first surface;
  232, 234 may be substantially equal to the length of the bars         a second tile over the second bar, the second tile having
  124, 126, 128, 130. In another embodiment, the bars 232,                 a third surface opposite a fourth surface, the second tile
  234 may be greater than or less than the length of the bars 20           having a second corner over the first notch, the second
  124,126,128,130.                                                         corner having contact with mortar at the first notch with
      Two breakaway sections 140, 142 are defined along the                edge-to-subfloor contact of second comer-to-mortar-to-
  respective two stems 118, 120 of the inverted U-shaped body              subfloor at the first notch, wherein the third surface
  114. Additionally, as shown, the notch 144 is formed                     faces the second bar and the fourth surface is farther
  between the bars 124, 126 and the notch 146 is formed 25                 from the second bar than the third surface;
  between the bars 128, 130. The open window 116 includes               the frangible breakaway section being located between
  an upper edge 148. The open span 150 is proximally                       the first and second surfaces of the first tile and the third
  interposed between the breakaway sections 140, 142 and the               and fourth surfaces of the second tile; and
  open span 150 forms a portion of the open window 116. As              a wedge device comprising:
  shown, the crossbar 230 intersects the notch 144 forming 30              a backstop member, and
  subnotches 240, 242 between the bars 124, 126 and the                    a wedge member extending from the backstop member,
  crossbar 230. Similarly, subnotches 244, 246 are formed                     the wedge member having a tapered surface pen-
  between the bars 128, 130 and the crossbar 230. It should be                etrating the open window and exerting force against
  appreciated that although the I-shaped base 122 with the                    both tiles pressing the tiles against the first and
  crossbar 230 is depicted with a particular U-shaped body 35                 second bars.
  114, it should be appreciated that the I-shaped base 122 with         2. The tile leveling device and tile combination as recited
  the crossbar 230 may be utilized with any of the leveling          in claim 1, wherein the I-shaped based having spaced first,
  devices 10 presented herein, including the leveling devices        second, third, and fourth bars extending transversely from
  10 of FIG. lA, FIG. 10, FIG. 13, and FIG. 14, for example.         the body further comprises first, second, third, and fourth
      The order of execution or performance of the methods and 40 bars that extend upwards toward the body in an arcuate
  techniques illustrated and described herein is not essential,      fashion to define a respective four points of contact for two,
  unless otherwise specified. That is, elements of the methods       three, and four tiles.
  and techniques may be performed in any order, unless                  3. The tile leveling device and tile combination as recited
  otherwise specified, and that the methods may include more         in claim 1, wherein the body further comprises a spacer
  or less elements than those disclosed herein. For example, it 45 extending transversely from the front and rear of the body,
  is contemplated that executing or performing a particular          the spacer configured to position the first and second tiles a
  element before, contemporaneously with, or after another           predetermined distance apart.
  element are all possible sequences of execution.                      4. The tile leveling device and tile combination as recited
      While this invention has been described with reference to      in claim 1, wherein the wedge member further comprises
  illustrative embodiments, this description is not intended to 50 teeth along the tapered surface, the teeth latch onto an upper
  be construed in a limiting sense. Various modifications and        edge of the open window.
  combinations of the illustrative embodiments as well as               5. The tile leveling device and tile combination as recited
  other embodiments of the invention, will be apparent to            in claim 1, wherein the I-shaped base further comprises an
  persons skilled in the art upon reference to the description.      intersection with a crossbar located between the first and
  It is, therefore, intended that the appended claims encompass 55 third bars and the second and fourth bars.
  any such modifications or embodiments.                                6. The tile leveling device and tile combination as recited
      What is claimed is:                                            in claim 5, wherein the crossbar further comprises a fifth bar
      1. A tile leveling device and tile combination comprising:     extending to the front of the body and a sixth bar extending
      a leveling device comprising:                                  to the rear of the body.
         a body defining an open window,                          60    7. The tile leveling device and tile combination as recited
         an I-shaped base orthogonally coupled to the body, the      in claim 5, wherein the crossbar intersects the first notch
            I-shaped base having spaced first, second, third, and    forming first and second subnotches between the first and
            fourth bars extending transversely from the body, the    second bars and the crossbar, and wherein the crossbar
            spaced first and second bars extending to the front      intersects the second notch forming third and fourth sub-
            and outward of the body and the spaced third and 65 notches between the third and fourth bars and the crossbar.
            fourth bars extending to the rear and outward of the        8. The tile leveling device and tile combination as recited
            body,                                                    in claim 1, wherein the first, second, third, and fourth bars



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  each further comprise respective outwardly extending arcu-              the frangible breakaway section being located between
  ate portions at the respective ends that compress and flatten.             the first and second surfaces of the first tile and the third
     9. The tile leveling device and tile combination as recited             and fourth surfaces of the second tile.
  in claim 1, further comprising an open span proximally                  11. The tile leveling device and tile combination as recited
  interposed between the first and second breakaway sections, 5 in claim 1~, wherein the I-shaped base having spaced first,
                                                                       second, thJrd, and fourth bars extending transversely from
  the open span forming a portion of the open window.
                                                                       the body further comprises first, second, third, and fourth
     10. A tile leveling device comprising:                            bars that extend upwards toward the body in an arcuate
     a body defining an open window;                                   fashion to define a respective four points of contact for two
     an I-shaped base orthogonally coupled to the body, the            three, and four tiles.                                             '
                                                                    10
        I-shaped base having spaced first, second, third, and             12. The tile leveling device and tile combination as recited
        fourth bars extending transversely from the body, the          in claim 10, wherein the body further comprises a spacer
        spaced first and second bars extending to the front and        extending transversely from the front and rear of the body,
        outward of the body and the spaced third and fourth            the spacer configured to position the first and second tiles a
        bars extending to the rear and outward of the body;            predetermined distance apart.
                                                                    15    13. The tile leveling device and tile combination as recited
     an I-shaped base to body coupling including a frangible
        breakaway section, the I-shaped base and body being            in claim 10, wherein the I-shaped base further comprises an
        integral prior to frangible separation, the frangible          intersection with a crossbar located between the first and
        breakaway section, upon breaking, frangibly separating         third bars and the second and fourth bars.
        the body from the I-shaped base;                                  14. The tile leveling device and tile combination as recited
                                                                    20 in claim 13, wherein the crossbar further comprises a fifth
     a first notch formed between the first and second bars·
     a second notch formed between the third and fourth ba;s·          bar extending to the front of the body and a sixth bar
     a first tile over the first bar, the first tile having a firs~    extending to the rear of the body.
        surface opposite a second surface, the first tile having          15. The tile leveling device and tile combination as recited
        a first comer over the first notch, the first corner having 25 in claim 13, wherein the crossbar intersects the first notch
        contact with mortar at the first notch with edge-to-           forming first and second subnotches between the first and
        subfloor contact of first comer-to-mortar-to-subfloor at       second bars and the crossbar, and wherein the crossbar
        the first notch, wherein the first surface faces the first     intersects   the second notch forming third and fourth sub-
        bar and the second surface is farther from the first bar       notches between the third and fourth bars and the crossbar.
        than the first surface;                                           16. The tile leveling device and tile combination as recited
                                                                    30 in claim 10, wherein the first, second, third, and fourth bars
     a second tile over the second bar, the second tile having
        a third surface opposite a fourth surface, the second tile     each further comprise respective outwardly extending arcu-
        having a second comer over the first notch, the second         ate portions at the respective ends that compress and flatten.
        corner having contact with mortar at the first notch with         17. The tile leveling device and tile combination as recited
        edge-to-sub floor contact of second comer-to-mortar-to- 35 in claim 10, further comprises an open span proximally
        subfloor at the first notch, wherein the third surface         interposed between the first and second breakaway sections,
        faces the second bar and the fourth surface is farther         the open span forming a portion of the open window.
        from the second bar than the third surface; and                                        * * * * *




                                                               Appx96
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 c12)   United States Patent                                               (IO) Patent No.:                         US 10,704,271 B2
        Bunch et al.                                                       (45) Date of Patent:                                  *Jul. 7, 2020

 (54)   WEDGE DEVICE FOR LEVELING TILES                                (58)    Field of Classification Search
        AND CLIP SET FOR USE OF SAME                                           CPC . E04F 21/0092; E04F 15/02022; E04F 21/22;
                                                                                               E04F 13/0892; E04F 21/1877; E04F
 (71)   Applicants:Clinton D. Bunch, Keller, TX (US);                                                                       21/1844
                   Joshua A. Bunch, Keller, TX (US)                            See application file for complete search history.
                                                                       (56)                      References Cited
 (72)   Inventors: Clinton D. Bunch, Keller, TX (US);
                   Joshua A. Bunch, Keller, TX (US)                                      U.S. PATENT DOCUMENTS

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 (65)                  Prior Publication Data                                                        (Continued)
        US 2020/0123789 Al          Apr. 23, 2020                                    FOREIGN PATENT DOCUMENTS

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                 Related U.S. Application Data                        FR                   2625244                     6/1989
 (63)   Continuation of application No. 16/051,079, filed on          Primary Examiner - Jessie T Fonseca
        Jul. 31, 2018, now Pat. No. 10,501,947.                       (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
                                                                      Bergen LLP
 (60)   Provisional application No. 62/551,946, filed on Aug.         (57)                    ABSTRACT
        30, 2017.
                                                                      A wedge device for leveling tiles and a clip set for use of the
 (51)   Int. Cl.                                                      same are disclosed. In one embodiment of the wedge device,
        E04F 21100             (2006.01)                              the wedge device includes a body having an attachment end,
        E04F 21118             (2006.01)                              a penetrating edge, a top, and a bottom. The attachment end
        E04F 15102             (2006.01)                              is coupled to a backstop member and the penetrating edge is
        E04F 13/08             (2006.01)                              configured to penetrate the clip member. The body includes
        E04F 21122             (2006.01)                              an inclined plane tapering from the attachment end to the
 (52)   U.S. Cl.                                                      penetrating edge. A line-of-sight opening extends along a
        CPC ...... E04F 2110092 (2013.01); E04F 13/0892               longitudinal axis of the body to provide visibility through
                 (2013.01); E04F 15/02022 (2013.01); E04F             the body from the top to the bottom.
                   2111877 (2013.01); E04F 21122 (2013.01)                               10 Claims, 6 Drawing Sheets




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                                                                      Fig.1A

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                       26                                   52    ~14




                       Fig.1B




                                      Appx100
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                                  Fig.2A                    s


                                                 14




                                  Fig.2B                    s




                                         26




                                                       T2   Fig.3B

                                      Appx101
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                                      Fig.4




                                      Fig.5

                                      Appx102
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                                                  16           Fig.6                                                24


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                              16                               Fig.8                                                                24


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                20        Fig.9                                                                    Fig.10

                                                                    Appx103
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         177           184
                                  Fig.16




                                      Appx105
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                                                      US 10,704,271 B2
                                 1                                                                   2
        WEDGE DEVICE FOR LEVELING TILES                                accompanying figures in which corresponding numerals in
          AND CLIP SET FOR USE OF SAME                                 the different figures refer to corresponding parts and in
                                                                       which:
      PRIORITY STATEMENT & CROSS-REFERENCE                                FIGS. lA and lB are front perspective views, when taken
                 TO RELATED APPLICATIONS                             5 together, form one embodiment of a wedge device for a tile
                                                                       leveling device including a clip member, according to the
     This application is a continuation of U.S. patent applica-        teachings presented herein;
  tion Ser. No. 16/051,079 entitled "Wedge Device for Lev-                FIG. 2A is a side view, in partial cross-section, of the tile
  eling Tiles and Clip Set for Use of Same" filed on Jul. 31,          leveling device with the wedge device presented in FIG. 1
  2018 in the names of Clinton D. Bunch et al., now U.S. Pat. 10 during installation of tile;
  No. 10,501,947 issued on Dec. 10, 2019; which claims the                FIG. 2B is a side view, in partial cross-section, of the tile
                                                                       leveling device with the wedge device presented in FIG. 1
  benefit of U.S. patent application Ser. No. 62/551,946
                                                                       during installation of tile as the installation advances beyond
  entitled "Wedge Device for Leveling Tiles and Clip Set for
                                                                       FIG. 2A;
  Use of Same" and filed on Aug. 30, 2017, in the names of 15
                                                                          FIG. 3A is a top plan view of the tile leveling device with
  Clinton D. Bunch and Joshua A. Bunch; both of which are              the wedge device presented in FIG. 2A during installation of
  hereby incorporated, in their entirety, by reference for all         tile;
  purposes.                                                               FIG. 3B is a top plan view of the tile leveling device with
                                                                       the wedge device presented in FIG. 2B during installation of
          TECHNICAL FIELD OF THE INVENTION                          20 tile;
                                                                          FIG. 4 is a top perspective view of the tile leveling device
     This invention relates, in general, to tile installation and,     with the wedge device presented in FIG. 2B during instal-
  in particular, to a wedge device for leveling tiles and a clip       lation of four tiles;
  set for use of the same that properly levels tiles during the           FIG. 5 is a top perspective view of the tile leveling device
  installation thereof.                                             25 with the wedge device presented in FIG. 2B during instal-
                                                                       lation of three tile;
            BACKGROUND OF THE INVENTION                                   FIG. 6 is a right-side elevation view of the wedge device
                                                                       presented in FIG. 1, where the wedge device has left-right
     Tile has become a popular decorative and functional               symmetry;
  article for use in floors, walls, countertops, and the like. Both 30    FIG. 7 is a top plan view of the wedge device presented
  professional tile installers and do-it-yourselfers spend a           in FIG. 1;
  great deal of time aligning and leveling tiles as they are              FIG. 8 is a bottom plan view of the wedge device
  being placed on a substrate's surface. Proper aligmnent and          presented in FIG. 1;
  leveling of each tile is important for a number of reasons.             FIG. 9 is a front elevation view of the wedge device
  Improper installation can cause the need for tiles to be 35 presented in FIG. 1;
  replaced in order to prevent a spacing error from propagat-             FIG. 10 is a rear elevation view of the wedge device
  ing across the substrate, aesthetic reasons, and in some             presented in FIG. 1;
  instances, safety concerns. A need exists for a wedge for               FIG. 11 is a front perspective view of another embodiment
  leveling tiles and clip set for use of the same that properly        of a wedge device, according to the teachings presented
  spaces tiles during the installation thereof.                     40 herein;
                                                                          FIG. 12 is a top plan view of the wedge device presented
               SUMMARY OF THE INVENTION                                in FIG. 11;
                                                                          FIG. 13 is a front perspective view of another embodi-
     It would be advantageous to achieve a device for leveling         ment of a wedge device, according to the teachings pre-
  and aligning tiles and properly spacing tiles. It would also be 45 sented herein;
  desirable to enable a mechanical-based solution that fur-               FIG. 14 is a top plan view of the wedge device presented
  nishes an inexpensive tool that assists professional tile            in FIG. 13;
  installers and do-it-yourselfers. To better address one or              FIG. 15 is a front perspective view of another embodi-
  more of these concerns, in one aspect of the invention, a            ment of a wedge device, according to the teachings pre-
  wedge device for leveling tiles and a clip set for use of the 50 sented herein; and
  same are disclosed. In one embodiment of the wedge device,              FIG. 16 is a top plan view of the wedge device presented
  the wedge device includes a body having an attachment end,           in FIG. 15.
  a penetrating edge, a top, and a bottom. The attachment end
  is coupled to a backstop member and the penetrating edge is                      DETAILED DESCRIPTION OF THE
  configured to penetrate the clip member. The body includes 55                                  INVENTION
  an inclined plane tapering from the attachment end to the
  penetrating edge. A line-of-sight opening extends along a               While the making and using of various embodiments of
  longitudinal axis of the body to provide visibility through          the present invention are discussed in detail below, it should
  the body from the top to the bottom. These and other aspects         be appreciated that the present invention provides many
  of the invention will be apparent from and elucidated with 60 applicable inventive concepts which can be embodied in a
  reference to the embodiments described hereinafter.                  wide variety of specific contexts. The specific embodiments
                                                                       discussed herein are merely illustrative of specific ways to
         BRIEF DESCRIPTION OF THE DRAWINGS                             make and use the invention, and do not delimit the scope of
                                                                       the present invention.
     For a more complete understanding of the features and 65             Referring initially to FIG. lA and FIG. lB, therein is
  advantages of the present invention, reference is now made           depicted one embodiment of a wedge device schematically
  to the detailed description of the invention along with the          illustrated and generally designated 10. The wedge device



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  10 is utilized with a clip member 12 and the wedge device                 installation of four tiles (Ti, T 2 , T 3 , T4 having an intersection
  10 and the clip member 12 are utilized, in combination, as                I in FIG. 4) and three tiles (T 1 , T 2 , T 3 having the intersection
  part of a tile leveling device 14 to align and level two, three,          I in FIG. 5). One of the main drawbacks of traditional wedge
  or four tiles, for example. The wedge device 10 includes a                and clip systems is the clips cannot be placed in the
  body 16 having an attachment end 18, a penetrating edge 20, 5 intersections without interfering with one of the most impor-
  a top 22, and a bottom 24. The attachment end 18 is coupled               tant factors to tile installers; namely, visual contact with the
  to a backstop member 26 and the penetrating edge 20 is                    intersections, such as intersection I in FIG. 4 and intersec-
  configured to penetrate the clip member 12. The body 16                   tion I in FIG. 5. Tile installers need to be able to see the tile
  includes an inclined plane 28 tapering from the attachment                intersections to make sure proper alignment is achieved and
  end 18 to the penetrating edge 20. A line-of-sight opening 30 10 spacing is even. As shown in FIG. 4 and FIG. 5, the use of
  extends longitudinally along the body 16. Teeth 32 are                    the wedge device 10 having the line-of-sight opening 30
  positioned along the inclined plane 28 in order to latch onto             with the tile leveling device 12 creates a window providing
  the clip member 12 as will be described in further detail                 the visual contact VC that allows the tile leveling device 12
  hereinbelow.                                                              to be placed at comers or with three or four tiles, for
      In one embodiment, the clip member 12 includes an 15 example. Further, as shown, the tile installer is able to
  inverted U-shaped body 40 defining an open window 42                      maintain visual contact with the intersections I.
  between two stems 44, 46 of the inverted U-shaped body 40.                   It is advantageous to an installer to be able to use only one
  An I-shaped base 48 is orthogonally coupled to the inverted               tile leveling device 12 at the intersection I, instead of three
  U-shaped body 40 such that four spaced bars 50, 52, 54, 56                or four clips, in order to save time and increase productivity.
  extend transversely from the inverted U-shaped body 40. 20 Additionally, with the use of only one tile leveling device 12
  Two breakaway sections 58, 60 are defined along the respec-               at the intersection I, costs are reduced. The window and
  tive two stems 44, 46 of the inverted U-shaped body 40. The               visual contact afforded by the wedge device 10 saves time
  open window 42 includes an upper edge 62. It should be                    and money over existing wedge and clip systems by per-
  appreciated that although a particular clip member is                     mitting a minimum number of components to be utilized and
  described and illustrated, the wedge device 10 presented 25 permitting continual visual contact at important intersec-
  herein may work with a variety of clip members and the clip               tions.
  member selected will depend on a number of manufacturing                     Referring now to FIG. 6 through FIG. 10, as previously
  and design considerations.                                                discussed, in one embodiment, the wedge device 10 includes
      Referring now to FIG. 2A, FIG. 2B, FIG. 3A, and FIG.                  the body 16 having the attachment end 18, the penetrating
  3B, in one operational implementation, the tile leveling 30 edge 20, the top 22, and the bottom 24. The attachment end
  device 14 may be used to align two, three or four tiles. As               18 is coupled to the backstop member 26 and the penetration
  shown in FIG. 2A and FIG. 3A, the clip member 12 is                       edge 20 is configured to penetrate the clip member 12 as
  positioned on a subsurface, such as a floor F having tile                 described above. The body 16 includes the inclined plane 28
  mortar Min space S thereon, and four tiles T 1 , T 2 , T 3 , T4 ,         tapering from the attachment end 18 to the penetrating edge
  are placed and positioned thereon. The wedge device 10 is 35 20. The body 16 may also include a longitudinal axis 70
  aligned to be inserted into the clip member 12. The backstop              from the attachment end 18 to the penetrating edge 20. The
  member 26 of the wedge device 10 provides a push area for                 longitudinal axis 70 may have a longitudinal length 72 as
  fingers or a thumb and an enhanced sized that furnishes more              indicated by the one-eighth marks 74. In one embodiment,
  leverage during use.                                                      the line-of-sight opening 30 extends along the longitudinal
      As shown in FIG. 2B and FIG. 3B, as the wedge device 40 axis 70 and intersects the longitudinal length 72 from
  10 is inserted, the inclined plane 28 of the wedge device 10              one-eighth (1/s) of the longitudinal length 72 measured from
  penetrates the open window 42 contacting the upper edge 62                the attachment end 18 to one-eighth (1/s) of the longitudinal
  thereof and creating a latch. A finger or a thumb, for                    length 72 measured from the penetrating edge 20. As pre-
  example, presses against the backstop member 26 of the                    viously discussed, the line-of-sight opening 30 provides
  wedge device 10 continually driving the wedge device 10 45 visibility through the body 16 from the top 22 to the bottom
  deeper into the clip member 12. As the wedge device 10                    24.
  advances, the resulting force is exerted against tiles Ti, T2 ,              Referring now to FIG. 11 and FIG. 12, in another embodi-
  T 3 , T4 pressing the tiles Ti, T2 , T 3 , T4 against the bars 50, 52,    ment, the wedge device 10 includes a body 86 having an
  54, 56 wherein breakaway sections 58, 60 are located                      attachment end 88, a penetrating edge 90, a top 92, and a
  beyond the undersurfaces of the tiles T 1 , T 2 , T 3 , T4 in a 50 bottom 94. The attachment end 88 is coupled to a backstop
  direction away from the bars 50, 52, 54, 56. The teeth 32                 member 96, which is slightly oversized with respect to the
  prevent the wedge device 10 from slipping out of the open                 attachment end 88, and the penetrating edge 90 is configured
  window 42 of the clip member 12 during penetration                        to penetrate the clip member 12. The body 86 includes an
  thereof. The application of force from the use of the tile                inclined plane 98 tapering from the attachment end 88 to the
  leveling device 14 causes the tiles T 1 , T 2 , T 3 , T4 to be level. 55 penetrating edge 90. The body 86 may also include a
  Following the leveling, the breakaway sections 58, 60 may                 longitudinal axis 100 from the attachment end 88 to the
  be broken to remove the wedge device 10 and a portion of                  penetrating edge 90. The longitudinal axis 100 may have a
  the clip member 12. During use, the line-of-sight opening 30              longitudinal length 102, which in this embodiment includes
  that extends longitudinally along the body 16 of the wedge                marks 104 indicating one-third increments. A line-of-sight
  device 10 provides visibility and visual contact VC through 60 opening 106 extends along the longitudinal axis 100 and
  the body 16 from the top 22 to the bottom 24 of the wedge                 intersects the longitudinal length 102 from one-third (1/2) of
  device 10. This permits a user of the wedge device 10 and                 the longitudinal length 102 measured from the attachment
  the tile leveling device 14 to maintain visual contact VC                 end 88 to one-third (1/3) of the longitudinal length 102
  with the tiles T 1 , T 2 , T 3 , T4 during the leveling operation,        measured from the penetrating edge 90. As previously
  thereby improving efficiency and performance.                          65 discussed, the line-of-sight opening 106 provides visibility
      Referring now to FIG. 4 and FIG. 5, the wedge device 10               through the body 86 from the top 92 to the bottom 94. A
  and the tile leveling device 12 presented in FIG. 2B during               partition member 108 traverses the line-of-sight opening 106



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  defining opening 110 and opening 112. The openings 110         and techniques may be performed in any order, unless
  and 112 form a partition of line-of-sight opening 106.         otherwise specified, and that the methods may include more
     It should be appreciated that the extension of the line-of- or less elements than those disclosed herein. For example, it
  sight opening 106 may vary from application to application.    is contemplated that executing or performing a particular
  By way of example, as illustrated in FIGS. 9 and 10, the 5 element before, contemporaneously with, or after another
  line-of sight opening 106 may extend along the longitudinal    element are all possible sequences of execution.
  axis 100 and intersect the longitudinal length 102 from            While this invention has been described with reference to
  one-eighth of the longitudinal length 102 measured from the    illustrative embodiments, this description is not intended to
  attachment end 88 to one-eighth (1/s) of the longitudinal      be construed in a limiting sense. Various modifications and
  length 102 measured from the penetrating edge 90. By way 10
                                                                 combinations of the illustrative embodiments as well as
  of further example, the line-of sight opening 106 may extend
                                                                 other embodiments of the invention, will be apparent to
  along the longitudinal axis 100 and intersect the longitudinal
                                                                 persons skilled in the art upon reference to the description.
  length 102 from one-sixth (1/4,) or one-quarter (¼), for
  example, of the longitudinal length 102 measured from the      It is, therefore, intended that the appended claims encompass
  attachment end 88 to a respective one-sixth (1/6) or one- 15 any such modifications or embodiments.
  quarter (¼), for example, of the longitudinal length 102
  measured from the penetrating edge 90.                             What is claimed is:
     Referring now to FIG. 13 and FIG. 14, in another embodi-        1. A wedge device for a tile leveling device including a
  ment, the wedge device 10 includes a body 116 having an        clip member, the wedge device comprising:
  attachment end 118, a penetrating edge 120, a top 122, and 20      a backstop member;
  a bottom 124. The attachment end 118 is coupled to a               a body having an attachment end, a penetrating edge, a
  backstop member 126, which is substantially flush with the            top, and a bottom, the attachment end being coupled to
  attachment end 118, and the penetrating edge 120 is con-              the backstop member, the penetrating edge being con-
  figured to penetrate the clip member 12. The body 116                 figured to penetrate the clip member, the penetrating
  includes an inclined plane 128 tapering from the attachment 25        edge being continuous the entire width of the body;
  end 118 to the penetrating edge 120. Wall members 130, 132         the body including an inclined plane tapering from the
  secure the inclined plane 128, which may include inclined             attachment end to the penetrating edge;
  plane member 134 and inclined plane member 136, to the             the body including a longitudinal axis from the attach-
  body 116. The body 116 may also include a longitudinal axis           ment end to the penetrating edge, the longitudinal axis
  138 from the attachment end 118 to the penetrating edge 30            having a longitudinal length; and
  120. The longitudinal axis 138 may include a longitudinal          a line-of-sight opening extending along the longitudinal
  length 140 having a midpoint 142 and a mediolateral axis              axis and intersecting the longitudinal length, the line-
  144 bisecting the midpoint 142 creating a longitudinal                of-sight opening providing visibility through the body
  length segment 146 and a longitudinal length segment 148.             from the top to the bottom, the line-of-sight opening
  A line-of-sight opening 150 extends along the longitudinal 35         sized to provide a user of the wedge device visual
  axis 138 and intersects the longitudinal length segment 146           contact with tiles during a leveling operation.
  and the longitudinal length segment 148. As previously             2. The wedge device as recited in claim 1, further com-
  discussed, the line-of-sight opening 150 provides visibility   prising teeth disposed along the inclined plane, the teeth
  through the body 116 from the top 122 to the bottom 124.       latch onto an upper edge of an insertion space in the clip
     Referring now to FIG. 15 and FIG. 16, in another embodi- 40 member.
  ment, the wedge device 10 includes a body 166 having an            3. The wedge device as recited in claim 1, further com-
  attachment end 168, a penetrating edge 170, a top 172, and     prising a partition member traversing the line-of-sight open-
  a bottom 174. The attachment end 168 is coupled to a           ing.
  backstop member 176 and the penetrating edge 170 is                4. The wedge device as recited in claim 1, further com-
  configured to penetrate the clip member 12. The backstop 45 prising a crossbar member traversing the line-of-sight open-
  member 176 may include a flange 177 that extends there-        ing.
  from to provide a contact surface for tool engagement. The         5. The wedge device as recited in claim 1, wherein the
  body 166 includes an inclined plane 178 tapering from the      body including the inclined plane tapering from the attach-
  attachment end 168 to the penetrating edge 170. Wall           ment end to the penetrating edge further comprises a wall
  members 180, 182 secure the inclined plane 178, which may 50 member coupled to the body.
  include inclined plane member 184 and inclined plane               6. The wedge device as recited in claim 1, wherein the
  member 186, to the body 166. The body 166 may also             line-of-sight opening intersects the inclined plane.
  include a longitudinal axis 188 from the attachment end 168        7. The wedge device as recited in claim 1, wherein the
  to the penetrating edge 170. The longitudinal axis 188 may     line-of-sight opening is subjacent to the inclined plane.
  include a longitudinal length 190 having a midpoint 192 and 55     8. The wedge device as recited in claim 1, wherein the
  a mediolateral axis 194 bisecting the midpoint 192 creating    backstop member has a larger surface area than the attach-
  a longitudinal length segment 196 and a longitudinal length    ment end.
  segment 198. A line-of-sight opening 200 extends along the         9. A wedge device for a tile leveling device including a
  longitudinal axis 188 and intersects the longitudinal length   clip member, the wedge device comprising:
  segment 196 and the longitudinal length segment 198. As 60         a backstop member;
  previously discussed, the line-of-sight opening 200 provides       a body having an attachment end, a penetrating edge, a
  visibility through the body 166 from the top 172 to the               top, and a bottom, the attachment end being coupled to
  bottom 174. Crossbar members 202, 204 traverse the line-              the backstop member, the penetrating edge being con-
  of-sight opening 200 within the body 166.                             figured to penetrate the clip member, the penetrating
     The order of execution or performance of the methods and 65        edge being continuous the entire width of the body;
  techniques illustrated and described herein is not essential,      the body including an inclined plane tapering from the
  unless otherwise specified. That is, elements of the methods          attachment end to the penetrating edge;



                                                         Appx108
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                                                     US 10,704,271 B2
                                7                                       8
     the body including a longitudinal axis from the attach-
        ment end to the penetrating edge, the longitudinal axis
        having a longitudinal length; and
     a line-of-sight opening extending along the longitudinal
        axis and intersecting the longitudinal length, the line- 5
        of-sight opening sized to provide a user of the wedge
        device visual contact with tiles during a leveling opera-
        tion.
     10. A wedge device for a tile leveling device including a
  clip member, the wedge device comprising:                       10
     a backstop member;
     a body having an attachment end, a penetrating edge, a
        top, and a bottom, the attachment end being coupled to
        the backstop member, the penetrating edge being con-
        figured to penetrate the clip member, the penetrating 15
        edge being continuous the entire width of the body;
     the body including an inclined plane tapering from the
        attachment end to the penetrating edge;
     the body including a longitudinal axis from the attach-
        ment end to the penetrating edge, the longitudinal axis 20
        having a longitudinal length; and
     a line-of-sight opening extending along the longitudinal
        axis and intersecting the longitudinal length between
        the attachment edge and the penetrating edge, the
        line-of-sight opening providing visibility through the 25
        body from the top to the bottom, the line-of-sight
        opening sized to provide a user of the wedge device
        visual contact with tiles during a leveling operation.

                        * * * * *




                                                           Appx109
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  c12)   United States Patent                                           (IO) Patent No.:           US 10,704,274 B2
         Bunch et al.                                                   (45) Date of Patent:                    Jul. 7, 2020

  (54)   DEVICE FOR LEVELING AND ALIGNING                          (58)    Field of Classification Search
         TILES AND METHOD FOR LEVELING AND                                 CPC ... E04F 21/0092; E04F 21/22; E04F 21/1844;
         ALIGNING TILES                                                                    E04F 21/1877; E04F 13/0892; E04F
                                                                                                                       15/02005
  (71)   Applicants:Clinton D. Bunch, Keller, TX (US);                     See application file for complete search history.
                    Joshua A. Bunch, Keller, TX (US)
                                                                   (56)                   References Cited
  (72)   Inventors: Clinton D. Bunch, Keller, TX (US);
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  ( *)   Notice:      Subject to any disclaimer, the term ofthis          7,603,825 B2    10/2009 Dohren
                      patent is extended or adjusted under 35                               (Continued)
                      U.S.C. 154(b) by O days.
                                                                               FOREIGN PATENT DOCUMENTS
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                                                                   com.
                  Related U.S. Application Data                                             (Continued)
  (63)   Continuation of application No. 15/345,802, filed on      Primary Examiner - Babajide A Demuren
         Nov. 8, 2016, now Pat. No. 10,047,530, which is a         (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
                          (Continued)                              Bergen LLP
                                                                   (57)                     ABSTRACT
  (51)   Int. Cl.
         E04F 21120             (2006.01)                          A device for leveling and aligning tiles and method for
         E04F 21122             (2006.01)                          leveling and aligning tiles are disclosed. In one embodiment,
         E04F 21118             (2006.01)                          the leveling device includes a body and two spaced and
         E04F 21100             (2006.01)                          parallel strip members extending transversely from the body.
         E04F 13/08             (2006.01)                          Each of the spaced and parallel strip members extend to the
         E04F 15/02             (2006.01)                          front and rear of the body. Two opposing lateral open
  (52)   U.S. Cl.                                                  windows are formed in the body. A breakaway section is
                                                                   defined along the body. A wedge device is provided for
         CPC .......... E04F 21120 (2013.01); E04F 2110092
                   (2013.01); E04F 2111844 (2013.01); E04F         penetrating one or more of the two opposing lateral open
                                                                   windows and exerting a force on the tiles for leveling them
                   2111877 (2013.01); E04F 21122 (2013.01);
                                                                   relative to each other.
                     E04F 13/0892 (2013.01); E04F 15/02005
                                                  (2013.01)                          8 Claims, 7 Drawing Sheets

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                                                           Appx111
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          continuation-in-part of application No. 13/859,316,                 2012/0144773 Al*     6/2012 Mauro               E04F 21/0092
          filed on Apr. 9, 2013, now Pat. No. 9,260,872.                                                                         52/747.11
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        Fig.1B       s2




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                                      Fig.2

                                      Appx113
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                                10
                                                  ®
          Fig.6 ®



          92                                           M
                                                                       50


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          Fig.7



                                                       M




          Fig.8




                                                            Fig.9



                                18            M



                                      Appx115
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                                Fig.10




                                      Appx116
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    160




                       Fig.11B




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                                          Fig.12

                                          Appx117
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                                      204




                                             ~200




         Fig.13

                                                                              202

                                                     206
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                                                       Fig.14



                                                                        207
                                                       216                  210




                                       Appx118
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                                                                 Fig.15
                 132

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                       124                   232                 124


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           122--.._




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                      128                    234                 130
                                            Fig.16



                                            Appx119
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                                                      US 10,704,274 B2
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       DEVICE FOR LEVELING AND ALIGNING                                   In another embodiment, the leveling device includes an
      TILES AND METHOD FOR LEVELING AND                                inverted U-shaped body with an I-shaped base orthogonally
                ALIGNING TILES                                         coupled thereto. An open window is located within the
                                                                       U-shaped body between stems thereof. The I-shaped base
      PRIORITY STATEMENT & CROSS-REFERENCE                           5 has four bars extending transversely from the inverted
                 TO RELATED APPLICATIONS                               U-shaped body and that extend upwards toward the inverted
                                                                       U-shaped body in an arcuate fashion to define respective
     This application is a continuation of co-pending U.S.             four points of contact for two, three, and four tiles. Two
  patent application Ser. No. 15/345,802, entitled "Device for         breakaway sections are respectively defined along the
  Leveling and Aligning Tiles and Method for Leveling and 10 spaced stems of the inverted U-shaped body at the I-shaped
  Aligning Tiles" filed on Nov. 8, 2016, in the names of               bar. In another implementation, a wedge device includes an
  Clinton D. Bunch et al., issued on Aug. 14, 2018 as U.S. Pat.        oversized backstop member and a wedge member extending
  No. 10,047,530; which is a continuation of U.S. patent               from the oversized backstop member. These and other
  application Ser. No. 15/044,907 entitled "Device for Level-          aspects of the invention will be apparent from and elucidated
  ing and Aligning Tiles and Method for Leveling and Align- 15 with reference to the embodiments described hereinafter.
  ing Tiles" filed on Feb. 16, 2016, in the names of Clinton D.
  Bunch and Joshua A. Bunch, issued on Nov. 8, 2016 as U.S.                   BRIEF DESCRIPTION OF THE DRAWINGS
  Pat. No. 9,487,959; which is a continuation-in-part of U.S.
  patent application Ser. No. 13/859,316 entitled "Device for             For a more complete understanding of the features and
  Leveling and Aligning Tile and Method for Leveling and 20 advantages of the present invention, reference is now made
  Aligning Tiles" filed on Apr. 9, 2013, in the names of Clinton       to the detailed description of the invention along with the
  D. Bunch and Joshua A. Bunch and issued on Feb. 16, 2016             accompanying figures in which corresponding numerals in
  as U.S. Pat. No. 9,260,872; all of which are hereby incor-           the different figures refer to corresponding parts and in
  porated by reference, in entirety, for all purposes.                 which:
                                                                    25    FIGS. lA and lB are front perspective views of one
          TECHNICAL FIELD OF THE INVENTION                             embodiment of a leveling device with a wedge device
                                                                       according to the teachings presented herein;
     This invention relates, in general, to tile installation and,        FIG. 2 is a side view, in partial cross-section, of the
  in particular to a device for leveling and aligning tiles and        leveling device with the wedge device presented in FIGS.
  properly spacing tiles during the installation thereof.           30 lA and 18;
                                                                          FIGS. 3 through 5 are top plan views showing installa-
            BACKGROUND OF THE INVENTION                                tions of two, three, and four tile using the leveling device
                                                                       and wedge device presented in FIGS. lA, lB, and 2;
     Tile has become a popular decorative and functional                  FIGS. 6 through 8 are side cross-sectional views of one
  article for use in floors, walls, countertops, and the like. Both 35 embodiment of the installation of tile on a floor using the
  professional tile installers and do-it-yourselfers spend a           leveling device and wedge device presented in FIGS. lA,
  great deal of time aligning and leveling tiles as they are           lB, and 2;
  being placed on a substrate's surface. Proper alignment and             FIG. 9 is a front cross-sectional view of the embodiment
  leveling of each tile is important for a number of reasons.          of the installation of tile on a floor or subsurface using the
  Improper installation can cause the need for tiles to be 40 leveling device and wedge device presented in FIGS. lA,
  replaced in order to prevent a spacing error from propagat-          lB, and 2;
  ing across the substrate, aesthetic reasons, and in some                FIG. 10 is a front perspective view of another embodi-
  instances, safety concerns. A need exists for a device for           ment of a leveling device according to the teachings pre-
  leveling and aligning tiles and properly spacing tiles.              sented herein;
                                                                    45    FIGS. llA and llB are front perspective views of one
               SUMMARY OF THE INVENTION                                embodiment of a leveling device with a wedge device
                                                                       according to the teachings presented herein;
     It would be advantageous to achieve a device for leveling            FIG. 12 is a side view, in partial cross-section, of the
  and aligning tiles and properly spacing tiles. It would also be      leveling device with the wedge device presented in FIGS.
  desirable to enable a mechanical-based solution that fur- 50 llAand llB;
  nishes an inexpensive tool that assists professional tile               FIG. 13 is a front perspective view of an alternate
  installers and do-it-yourselfers. To better address one or           embodiment of a leveling device;
  more of these concerns, in one aspect of the invention, a tile          FIG. 14 is a side elevation view of the alternative embodi-
  leveling device and a wedge device for use with tiles are            ment of the leveling device depicted in FIG. 13.
  disclosed. In one embodiment, the leveling device includes 55           FIG. 15 is a front perspective view of a further alternate
  a body and two spaced and parallel strip members extending           embodiment of a leveling device; and
  transversely from the body. Each of the spaced and parallel             FIG. 16 is a bottom plan view of the leveling device
  strip members extend to the front and rear of the body. Two          depicted in FIG. 15.
  opposing lateral open windows are formed in the body. A
  breakaway section is defined along the body.                      60            DETAILED DESCRIPTION OF THE
     In one implementation, a wedge device includes a back-                                     INVENTION
  stop member and a pair of members extending from the
  backstop member. Each of pair of members includes a                     While the making and using of various embodiments of
  tapered surface configured to penetrate the lateral open             the present invention are discussed in detail below, it should
  windows and exerting force against tiles, thereby pressing 65 be appreciated that the present invention provides many
  the tiles against the first and second strip members in order        applicable inventive concepts which can be embodied in a
  to level and align.                                                  wide variety of specific contexts. The specific embodiments



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  discussed herein are merely illustrative of specific ways to         which is indicated by the letter S. By way of example, in the
  make and use the invention, and do not delimit the scope of          two tile installation, the tile 70 is positioned over the front
  the present invention.                                               portions of the strip members 16, 18. The tile 70 has a lower
     Referring initially to FIGS. lA, lB, and 2, therein is            surface 88 opposite an upper surface 90, wherein the lower
  depicted one embodiment of a tile leveling device that is 5 surface 88 faces the strip members 16, 18 and the subsurface
  schematically illustrated and generally designated 10. The           S. The upper surface 90 is farther from the strip members 16,
  tile leveling device 10 and a wedge device 12 are utilized,          18 than the lower surface 88 and faces away from the strip
  in combination, to align and level two, three, or four tiles, for    members 16, 18. The second tile 72 is similarly situated over
  example. The leveling device 10 includes a body 14 and               the rear portions of the strip members 16, 18 and includes a
  spaced and parallel strip members 16, 18 extending trans- 10
                                                                       lower surface 92 and an upper surface 94.
  versely from the body 14. Each of the spaced and parallel
                                                                          Accordingly, a single leveling device 10 and wedge
  strip members 16, 18 extend to the front F and rear R of the
                                                                       device 12 may be utilized to install, align, and level between
  body 14. Lateral open windows 20, 22 having upper edges
  21, 23 are formed in the body 14 and sized to accept a               two and four tiles. The use of the wedge device 12 having
  member having a tapered surface configured to penetrate the 15 two extension members and the two lateral open windows
  respective lateral open windows 20, 22 and exert force               20, 22 provide for utilization at comer tiles; thereby offering
  thereunder. A breakaway section 24 is defined along the              improved efficiency. More particularly, using one leveling
  body 14. The breakaway section 24 may be a frangible                 device for a corner improves efficiency and minimizes the
  section of the body 14 of reduced thickness that would               number of leveling devices required to complete a job.
  promote the breakaway, and thus, separation of the body 14. 20 Additionally, as previously discussed, the arcuate portions of
  An upper bump 26 and a lower bump 28 extend horizontally             the parallel strip members 16, 18 compress and flatten to
  across the body 14. The upper bump 26 being larger and               accommodate different thicknesses of tiles to provide a level
  more pronounced to provide lifting power. A spacing pad 30           surface. In fact, the leveling device and wedge device
  is integral with the body 14 and may vary in thickness               presented herein may simultaneously accommodate between
  depending on the application. The spacing pad 30 contrib- 25 two and four different thicknesses of tiles.
  utes to furnishing a combination of vertical leveling and               Referring now to FIGS. 6 through 9, one example of
  joint spacing within a single product. Moreover, the spacing         installation is shown wherein the tile leveling device 10 is
  pad 30, which may be more generally a spacer, is configured          placed such that one end of the tile 72 sits on the rear
  to position the tiles a predetermined distance apart depend-         portions of the parallel strip members 16, 18 and the tile 72
  ing on the application.                                           30 abuts the body 14 of the leveling device. Such an installation
     The spaced and parallel strip members 16, 18 provide four         methodology may be used for any of the configurations
  points of contact 32, 34, 36, 38 for lift of tiles, while still      shown in FIGS. 3 through 5, for example. By way of
  establishing space for maximum mortar penetration between            illustration, therefore, this example is for the two tile appli-
  the spaced and parallel strip members 16, 18. As shown, the          cation of FIG. 3. The adjacent tile 70 sits on the other side
  spaced and parallel strip members 16, 18 have an arcuate 35 of the body 14 and across the front portions of the parallel
  form wherein the spaced and parallel strip members 16, 18            strip members 16, 18. The extension members, namely
  curve upwards from the junction with the body 14 to the four         wedge members 52, 54 of the wedge device 12 are then
  points of contact 32, 34, 36, 38. That is, the spaced and            inserted in the respective lateral open windows 20, 22. The
  parallel strip members 16, 18 define convex curvatures 40,           backstop member 50 is then pushed, thereby driving the
  42 that are flexible and compressible for tile installation 40 wedge members 52, 54 to penetrate the respective lateral
  during a leveling and alignment of a tile. The convex                open windows 20, 22.
  curvatures 40, 42 also ensure that tiles of varying thick-              In one embodiment, the wedge device 12 offers an advan-
  nesses may be leveled and aligned. In fact, in the corner            tage over individual wedges as the backstop member 50
  embodiment, four tiles having four varying thicknesses may           provides a wider or broader surface to push. In particular, as
  be leveled and aligned by way of the flexibility and com- 45 shown in FIG. 8, a thumb or finger may be used to drive the
  pressibility of the convex curvatures 40, 42 of the strip            wedge device 12 into the leveling device 10. The ease of
  members 16, 18.                                                      push advantage translates into a more powerful lift because
     The wedge device 12 includes a backstop member 50 and             of the more even distribution of the lifting surface. There-
  two extension members, depicted as wedge members 52, 54              fore, the leveling device 10 and wedge device 12 combina-
  extending from the backstop member 50. The backstop 50 tion provide improved performance, both quantitatively and
  member 50 provides a push area for fingers or a thumb and            qualitatively. With respect to the former, the lateral open
  an enhanced sized that furnishes more leverage during use.           windows 20, 22 in combination with the wedge device 12
  Each of the wedge members 52, 54 include respective                  permit use at corners increasing efficiency and reducing the
  tapered surfaces 56, 58 configured to penetrate the lateral          number of leveling and aligning operations, which leads to
  open windows 20, 22 and exert force against the tiles by 55 faster installation using fewer leveling devices. With respect
  pressing the tiles against the strip members 16, 18. Teeth 60,       to the latter, the improved contact surface provided by the
  62 are located along the tapered surfaces 56, 58 in order to         backstop member 50 minimizes the stress and strain on the
  latch onto the respective upper edges 21, 23 of the opposing         fingers and thumbs.
  lateral open windows 20, 22. In operation, the teeth 60, 62             Additionally, the design of the wedge device 12 discour-
  prevent the respective wedge members 52, 54 from slipping 60 ages the tiles from pivoting by providing two points of
  out of the lateral open windows 20, 22 during penetration            contact with each tile edge. By way of example, on a 12 inch
  thereof. As will be appreciated, the wedge device 12 may             by 12 inch tile, a traditional installation system would
  penetrate the leveling device from the front F or rear R.            require two spacers for each side, for a total of eight spacers,
     Referring now to FIGS. 3 through 5, the tile leveling             in order to stabilize the edges and prevent pivoting. Using
  device may be utilized with two tiles 70, 72 (FIG. 3), three 65 the teachings presented herein, four leveling devices 10 may
  tiles (FIG. 4) 74, 76, 78, or four tiles 80, 82, 84, 86 (FIG. 5)     be used and the optimal eight points of contact would be
  for installation on a substrate, subsurface, or other surface,       maintained.



                                                            Appx121
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     Continuing with the description of FIGS. 6 through 9, in          The wedge device 112 includes an oversized backstop
  one implementation, as these wedge-shaped extension mem-          member 160. A wedge member 162 extends from the
  bers are continually pushed through the lateral open win-         oversized backstop member 160 and includes a tapered
  dows 20, 22 due to the increasing thickness of the wedge          surface 164 that is configured to penetrate the open window
  members 52, 54, the action causes the lower surfaces 88, 92 5 116 and exert force against two, three, or four tiles pressing
  of each of the tiles 70, 72 to be compressed downward             the tiles against the bars 124, 126, 128, 130. The breakaway
  pressing the strip members 16, 18 beneath the tiles 70, 72        sections 140, 142 are located where the ends of the stems
  toward the subsurface S, on which is located mortar M for         118, 120 of the inverted U-shaped body 114 contact the
  bonding the tiles 70, 72 to the subsurface S. As a result, the    I-shaped base 122. Teeth 166 are positioned along the
                                                                 10 tapered surface 164 in order to latch onto the upper edge 148
  tiles 70, 72 are aligned and leveled. The spacing between the
                                                                    of the open window 116.
  tiles is controlled by the thickness of the body and, in one
                                                                       In operation, the leveling device 110 may be used to align
  embodiment, the presence of the spacing pad 30, which may
                                                                    two, three or four tiles and operation is similar to leveling
  more generally be a spacer. Once the tiles 70, 72 are set, the    device 10 and wedge device 12, as previously presented.
  wedge device 12 may be removed and the body 14 is broken 15 Similar to the leveling device presented in FIG. 5, in a
  off by kicking or applying force to the side of the wedge         four-tile embodiment, each tile has corner-to-subfloor con-
  device 12 such that the body 14 is severed at the breakaway       tact due to the notches that provide space for mortar contact
  section 24. As shown in FIG. 9, the application of force by       therein. Similarly, in a two-tile implementation, for example,
  a boot, breaks the body at a break at the breakaway section       each tile has edge-to-subfloor contact due to the notches.
  24. In the illustrated implementation, the breakaway section 20 More particularly, the tapered surface 164 penetrates the
  24 is positioned such that it is located between the surfaces     open window 116 contacting the upper edge 148 thereof and
  88, 90, 92, 94 of the tiles 70, 72. That is, the breakaway        exerting force against both tiles pressing the tiles against the
  section 24 is located at a height within the thickness of the     bars 124, 126, 128, 130, wherein breakaway sections 140,
  installed tiles. In this position, the breakaway section 24 is    142 are located beyond the undersurfaces of the tiles in a
  not exposed to any adhesive that may be used to adhere the 25 direction away from the bars 124, 126, 128, 130. As previ-
  tiles to the subsurface S, which may be a floor or wall, for      ously discussed, the arcuate portions of the parallel strip
  example.                                                          members compress and flatten to accommodate different
     Referring now to FIG. 10, an alternative embodiment of         thicknesses of tiles to provide a level surface. In fact, the
  the tile leveling device 10 includes the body 14 and the          leveling device and wedge device presented herein may
  spaced and parallel strip members 16, 18 extending trans- 30 simultaneously accommodate between two and four differ-
  versely from the body 14. In this embodiment, opposing            ent thicknesses of tiles.
  lateral closed windows 100, 102 are formed in the body 14            Referring now to FIGS. 13 and 14, a tile leveling device
  with each of the opposing lateral closed windows 100, 102         200 for use with a locking subassembly 202 are presented.
  sized to accept a wedge device having wedge members               As shown, the tile leveling device includes a shaft 204 and
  including a tapered surface configured to penetrate the 35 spaced and parallel strip members 206, 208 extend trans-
  respective lateral closed windows 100, 102 and exert force        versely from the shaft 204. The locking subassembly 202 is
  against multiple tiles pressing the tiles against the strip       configured to traverse the shaft and exert force against the
  members 16, 18. Additionally, the breakaway section 24 is         tiles by pressing the tiles against the parallel strip members,
  defined along the body 14. By way of further example, a           similar to the functionality described in previous embodi-
  further embodiment is possible, wherein the leveling device 40 ments. Each of the spaced and parallel strip members extend
  10 would include a lateral open window and a lateral closed       to the front and rear of the shaft 204. As shown, a frangible
  window.                                                           breakaway section is defined along the shaft 204. A spacing
     Referring to FIGS. llA, 11B, and 12, in one embodiment         pad 207, which may be similar to spacing pad 30, may be
  of a tile leveling device 110 and tile combination with a         integral with the shaft 204 and may vary in thickness
  wedge device 112, the tile leveling device 110 includes an 45 depending on the application. The spaced and parallel strip
  inverted U-shaped body 114 defining an open window 116            members 206, 208 provide four points of contact 210, 212,
  between two stems 118, 120 of the inverted U-shaped body          214, 216 for lift of tiles, while still establishing space for
  114. An I-shaped base 122 is orthogonally coupled to the          maximum mortar penetration between the spaced and par-
  inverted U-shaped body 114 such that four spaced bars 124,        allel strip members 206, 208. Convex curvatures 218, 220
  126, 128, 130 extend transversely from the inverted 50 ensure that the tiles of varying thicknesses may be leveled
  U-shaped body 114. In particular, the spaced bars 124, 126        and aligned, including the alignment of up to four tiles of
  extend to the front F of the inverted U-shaped body 114 and       varying thickness.
  the spaced bars 128, 130 extend to the rear R of the inverted        In operation, once the tiles are properly positioned, the
  U-shaped body 114. Each of the bars 124, 126, 128, 130            locking subassembly 202 is secured in its place above the
  extends upward toward the inverted U-shaped body in an 55 tiles and prevented from moving along the shaft 204 before
  arcuate fashion to define respective four points of contact       being driven down to compress the tiles. The shaft 204 may
  132, 134, 136, 138 for two, three, and four tiles.                include a locking surface 222, such as a "zip tie" to enable
     Two breakaway sections 140, 142 are defined along the          movement along the shaft 204 by the locking subassembly
  respective two stems 118, 120 of the inverted U-shaped body       202 in only one direction, i.e., toward the tiles.
  114. Additionally, as shown, a notch 144 is formed between 60        Referring to FIGS. 15 and 16, in one further embodiment
  the bars 124, 126 and a notch 146 is formed between the bars      of the tile leveling device 110 and tile combination with the
  128, 130. The open window 116 includes an upper edge 148.         wedge device 112, the tile leveling device 110 includes the
  An open span 150 is proximally interposed between the             inverted U-shaped body 114 defining the open window 116
  breakaway sections 140, 142 and the open span 150 forms           between two stems 118, 120 of the inverted U-shaped body
  a portion of the open window 116. Spacing pads, such as 65 114. The I-shaped base 122 is orthogonally coupled to the
  spacing pad 152, may be utilized to position the tiles a          inverted U-shaped body 114 such that four spaced bars 124,
  predetermined distance apart, depending on the application.       126, 128, 130 extend transversely from the inverted



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  U-shaped body 114. In particular, the spaced bars 124, 126                 to frangible separation, the frangible breakaway sec-
  extend to the front F of the inverted U-shaped body 114 and                tion, upon breaking, frangibly separating the body
  the spaced bars 128, 130 extend to the rear R of the inverted              from the base,
  U-shaped body 114. Each of the bars 124, 126, 128, 130                  a first notch formed at the base extending to the front
  extends upward toward the inverted U-shaped body in an 5                   of the body, and
  arcuate fashion to define respective four points of contact             a second notch formed at the base extending to the rear
  132, 134, 136, 138 for two, three, and four tiles.                         of the body;
      As shown, the I-shaped base is intersected by a crossbar         a first tile over the base to the front of the body, the first
  230, which is located between the bars 124, 126 and the bars            tile having a first surface opposite a second surface, the
                                                                 10
  128, 130. The crossbar 230 may take any shape or form and               first tile over the first notch having contact with mortar
  may be considered a bi-directional projection, for example.             at the first notch to provide first tile edge-to-mortar-to-
  As illustrated, the crossbar 230 includes a bar 232 extending           subfloor contact, wherein the first surface faces the base
  to the front F of the inverted U-shaped body 114 and a bar              and the second surface is farther from the base than the
  234 extends to the rear R of the inverted U-shaped body 114. 15         first surface;
  The bars 232, 234 may have outwardly extending arcuate               a second tile over the base at the rear of the body, the
  portions 236, 238 at the respective ends that compress and              second tile over the second notch having a third surface
  flatten to accommodate the thickness. Moreover the bars                 opposite a fourth surface, the second tile having contact
  232, 234 may be substantially equal to the length of the bars           with mortar at the second notch to provide second tile
  124, 126, 128, 130. In another embodiment, the bars 232, 20             edge-to-mortar-to-subfloor contact, wherein the third
  234 may be greater than or less than the length of the bars             surface faces the base and the fourth surface is farther
  124,126,128,130.                                                        from the base than the third surface;
      Two breakaway sections 140, 142 are defined along the            the combination of the first notch and the second notch
  respective two stems 118, 120 of the inverted U-shaped body             providing a majority of an area of tile-to-mortar-to-
  114. Additionally, as shown, the notch 144 is formed 25                 subfloor contact for the tile leveling device within the
  between the bars 124, 126 and the notch 146 is formed                   bounds of the base; and
  between the bars 128, 130. The open window 116 includes
                                                                       the frangible breakaway section being located between
  an upper edge 148. The open span 150 is proximally
                                                                          the first and second surfaces of the first tile and the third
  interposed between the breakaway sections 140, 142 and the
                                                                          and fourth surfaces of the second tile; and
  open span 150 forms a portion of the open window 116. As 30
  shown, the crossbar 230 intersects the notch 144 forming             a wedge     device comprising:
  subnotches 240, 242 between the bars 124, 126 and the                   a backstop member, and
  crossbar 230. Similarly, subnotches 244, 246 are formed                 a wedge member extending from the backstop member,
  between the bars 128, 130 and the crossbar 230. It should be               the wedge member having a tapered surface pen-
  appreciated that although the I-shaped base 122 with the 35                etrating the open window and exerting force against
  crossbar 230 is depicted with a particular U-shaped body                   the first and second tiles.
  114, it should be appreciated that the I-shaped base 122 with        2. The tile leveling device and tile combination as recited
  the crossbar 230 may be utilized with any of the leveling         in claim 1, wherein the body further comprises a spacer
  devices 10 presented herein, including the leveling devices       extending transversely from the front and rear of the body,
  10 of FIG. lA, FIG. 10, FIG. 13, and FIG. 14, for example. 40 the spacer configured to position the first and second tiles a
      The order of execution or performance of the methods and      predetermined distance apart.
  techniques illustrated and described herein is not essential,        3. The tile leveling device and tile combination as recited
  unless otherwise specified. That is, elements of the methods      in claim 1, wherein the wedge member further comprises
  and techniques may be performed in any order, unless              teeth along the tapered surface, the teeth latch onto an upper
  otherwise specified, and that the methods may include more 45 edge of the open window.
  or less elements than those disclosed herein. For example, it        4. The tile leveling device and tile combination as recited
  is contemplated that executing or performing a particular         in claim 1, further comprises proximate to the frangible
  element before, contemporaneously with, or after another          breakaway section, the open span forming a portion of the
  element are all possible sequences of execution.                  open window.
      While this invention has been described with reference to 50     5. A tile leveling device comprising:
  illustrative embodiments, this description is not intended to        a body defining an open window;
  be construed in a limiting sense. Various modifications and          a base orthogonally coupled to the body, the base extend-
  combinations of the illustrative embodiments as well as                 ing to the front of the body and the base extending to
  other embodiments of the invention, will be apparent to                 the rear of the body;
  persons skilled in the art upon reference to the description. 55     a base to body coupling including a frangible breakaway
  It is, therefore, intended that the appended claims encompass           section, the base and body being integral prior to
  any such modifications or embodiments.                                  frangible separation, the frangible breakaway section,
                                                                          upon breaking, frangibly separating the body from the
      What is claimed is:                                                 base;
      1. A tile leveling device and tile combination comprising: 60    a first notch formed at the base extending from proximate
      a leveling device comprising:                                       the base to body coupling to the front of the body the
         a body defining an open window,                                  first notch providing first tile edge-to-mortar-to-sub-
         a base orthogonally coupled to the body, the base                floor contact; and
            extending to the front of the body and the base            a second notch formed at the base extending from proxi-
            extending to the rear of the body,                   65       mate the base to body coupling to the rear of the body
         a base to body coupling including a frangible break-             the second notch providing first tile edge-to-mortar-to-
            away section, the base and body being integral prior          subfloor contact; and



                                                            Appx123
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     the combination of the first notch and the second notch
        providing a majority of an area of tile-to-mortar-to-
        subfloor contact for the leveling device within the
        bounds of the base.
     6. The tile leveling device as recited in claim 5, wherein 5
  the body further comprises a spacer extending transversely
  from the front and rear of the body, the spacer configured to
  position the first and second tiles a predetermined distance
  apart.
     7. The tile leveling device as recited in claim 5, further 10
  comprising an open span proximate to the frangible break-
  away section, the open span forming a portion of the open
  window.
     8. A tile leveling device comprising:
     a body defining an open window;                            15
     a base orthogonally coupled to the body, the base extend-
        ing to the front of the body and the base extending to
        the rear of the body;
     a base to body coupling including a frangible breakaway
        section, the base and body being integral prior to 20
        frangible separation, the frangible breakaway section,
        upon breaking, frangibly separating the body from the
        base;
     a first notch formed at the base extending from proximate
        the base to body coupling to the front of the body; and 25
     a second notch formed at the base extending from proxi-
        mate the base to body coupling to the rear of the body;
        and
     the combination of the first notch and the second notch
        providing a majority of an area of tile-to-mortar-to- 30
        subfloor contact for the leveling device within the
        bounds of the base.

                        * * * * *




                                                         Appx124
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 c12)   United States Design Patent c10) Patent No.:                                                                            US D832,680 S
        Bunch et al.                                                                     (45) Date of Patent:                   ** Nov. 6, 2018

 (54)    WEDGE FOR TILE INSTALLATION DEVICE                                                D441,587 S      * 5/2001 Cameron ....................... D6/601
                                                                                           D452,404 S      * 12/2001 Cameron ....................... D6/601
 (71)    Applicants:Clinton D. Bunch, Sunnyvale, TX
                                                                                           D493,408 S      * 7/2004 Chrisco ........................ D12/217
                    (US); Joshua A. Bunch, North                                                                   (Continued)
                    Richland Hills, TX (US)
                                                                                                   FOREIGN PATENT DOCUMENTS
 (72)    Inventors: Clinton D. Bunch, Sunnyvale, TX                                 AU               2012101175              8/2012
                    (US); Joshua A. Bunch, North
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 (**)    Term:         15 Years                                                     Pearl Abrasive Co., Tuscan Leveling System, www.pearlabrasive.
                                                                                    com.
 (21)    Appl. No.: 29/595,790                                                                                     (Continued)

 (22)    Filed:        Mar. 2, 2017                                                 Primary Examiner - Sandra S Snapp
 (51)    LOC (11) Cl. ............................................... 08-05         Assistant Examiner - Ieisha N Price
 (52)    U.S. Cl.                                                                   (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
                                                                                    Bergen LLP
         USPC ............................................... DS/354; D8/47
 (58)    Field of Classification Search                                             (57)                    CLAIM
         USPC .................... D8/47, 389, 354, 349, 374, 499                   The ornamental design for a wedge for tile installation
         CPC ... E04F 21/22; E04F 21/1877; E04F 21/1844;                            device, as shown and described.
                               E04F 21/0092; E04F 21/20; E04F                                                  DESCRIPTION
                        15/02005; E04F 13/0892; E04F 15/02;
                    E04F 2015/02094; Yl0T 403/553; Yl0T                             FIG. 1 is a front perspective view of a wedge for tile
                                                                     403/75         installation device;
         See application file for complete search history.                          FIG. 2 is a right side elevation view of the wedge for tile
                                                                                    installation device shown in FIG. 1, which includes left-right
 (56)                      References Cited                                         symmetry;
                                                                                    FIG. 3 is a top plan view of the wedge for tile installation
                  U.S. PATENT DOCUMENTS                                             device shown in FIG. 1;
                                                                                    FIG. 4 is a bottom plan view of the wedge for tile installation
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                                                                                    device shown in FIG. 1;
                                                                   16/DIG. 6
        3,836,118 A    *    9/1974 Meyer ...................... B60J 1/005          FIG. 5 is a front elevation view of the wedge for tile
                                                                      254/104       installation device as shown in FIG. 1; and,
        0238,745 s     *    2/1976 Bedard ............................ D8/47        FIG. 6 is a rear elevation view of the wedge for tile
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                                                                                    The broken lines in the drawings illustrate portions of the
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                                                                                    wedge for tile installation device and form no part of the
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                                                                   248/188.2                             1 Claim, 1 Drawing Sheet




                                                                      Appx126
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                                                                     Appx127
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       Fig.2
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       Fig.3                                                                                  I
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       Fig.4,
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                                                                                                                  US00D870527S


 c12)   United States Design Patent c10) Patent No.:                                                                                  US D870,527 S
        Bunch et al.                                                                         (45) Date of Patent:                     ** Dec. 24, 2019

 (54)    WEDGE FOR TILE INSTALLATION DEVICE                                                   D720,588 S     1/2015 Pugh
                                                                                              D731,273 S     6/2015 McPeak Ford et al.
                                                                                              D760,566 S     7/2016 Biec
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                                                                                              D829,532 S * 10/2018 Bunch ............................ D8/354
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                                                                                          2008/0236094 Al * 10/2008 Doda                    E04F 13/0892
                                                                                                                                                   52/749.11
 (**)    Term:          15 Years                                                          2014/0116001 Al* 5/2014 Ghelfi .                  E04F 21/0092
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 (21)    Appl. No.: 29/658,508                                                            2016/0222679 Al * 8/2016 Bunch.                   E04F 21/1844

 (22)    Filed:         Jul. 31, 2018                                                    * cited by examiner
 (51)    LOC (12) Cl. ............................................... 08-05             Primary Examiner - Philip S Hyder
 (52)    U.S. Cl.                                                                       (74) Attorney, Agent, or Firm - Scott T. Griggs; Griggs
         USPC ............................................................. D8/47       Bergen LLP
 (58)    Field of Classification Search
         USPC ............................................... D8/14, 47, 354             (57)                             CLAIM
         CPC . E04F 21/00; E04F 21/18; E04F 21/22; E04F                                 The ornamental design for a wedge for tile installation
                        21/1877; E04F 21/844; E04F 13/0092;                             device, as shown and described.
                                                                E04F 13/0892
         See application file for complete search history.                                                          DESCRIPTION

 (56)                       References Cited                                            FIG. 1 is a front perspective view of a wedge for a tile
                                                                                        installation device;
                   U.S. PATENT DOCUMENTS                                                FIG. 2 is a right side elevation view of the wedge for tile
                                                                                        installation device shown in FIG. 1, which includes left-right
        3,185,442 A    5/ 1965 Hemphill
        0268,804 S     5/ 1983 Bacon                                                    symmetry;
        0269,495 S     6/1983 Finn                                                      FIG. 3 is a top plan view of the wedge for tile installation
        0271,559 S    11/1983 Reimann et al.                                            device shown in FIG. 1;
        0286,008 S    10/ 1986 Hillinger                                                FIG. 4 is a bottom plan view of the wedge for tile installation
        4,830,320 A * 5/ 1989 Bellows .                           A47B 91/12
                                                                                        device shown in FIG. 1;
                                                                   248/188.2
        D336,224 S      6/1993 Terry                                                    FIG. 5 is a front elevation view of the wedge for tile
        D421,374 S      3/2000 Montgomery                                               installation device as shown in FIG. 1; and,
        6,041,473 A     3/2000 Johnson                                                  FIG. 6 is a rear elevation view of the wedge for tile
        D481,625 S     11/2003 Ellsworth                                                installation device as shown in FIG. 1.
        6,793,041 Bl* 9/2004 Taylor ....................... E06C 7/44
                                                                                        The dashed and dotted lines in the drawings illustrate
                                                                182/121
        D538, 150 S * 3/2007 Burns ............................ D8/402                  portions of the wedge for tile installation device that form no
        D590,676 S      4/2009 Pickard                                                  part of the claimed design.
        8,887,475 B2 * 11/2014 Ghelfi .                E04F 21/0092
                                                             52/749.11                                       1 Claim, 1 Drawing Sheet




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                                    Fig.4


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